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                                                                       UNITED STATES BANKRUPTCY COURT
                                        7
                                                                                  DISTRICT OF NEVADA
                                        8
                                            In re                                                  Case No. BK-S-20-12814-mkn
                                        9
                                       10           RED ROSE, INC.,                                Jointly Administered with
                                                                                                   Case No. BK-S-20-12815-mkn
                                       11             Affects Beachhead Roofing and Supply, Inc.   Case No. BK-S-20-12816-mkn
                                                      Affects California Equipment Leasing         Case No. BK-S-20-12818-mkn
1980 Festival Plaza Drive, Suite 700




                                       12              Association, Inc.                           Case No. BK-S-20-12819-mkn
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                                                      Affects Fences 4 America, Inc.               Case No. BK-S-20-12820-mkn
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                                       13             Affects James Petersen Industries, Inc.      Case No. BK-S-20-12821-mkn
                                       14             Affects PD Solar, Inc.                       Case No. BK-S-20-12822-mkn
                                                      Affects Petersen Roofing and Solar LLC       Case No. BK-S-20-12823-mkn
                                       15             Affects Petersen-Dean, Inc.                  Case No. BK-S-20-12824-mkn
                                                      Affects PetersenDean Hawaii LLC              Case No. BK-S-20-12825-mkn
                                       16             Affects PetersenDean Roofing and Solar       Case No. BK-S-20-12826-mkn
                                       17              Systems, Inc.                               Case No. BK-S-20-12827-mkn
                                                      Affects PetersenDean Texas, Inc.             Case No. BK-S-20-12829-mkn
                                       18             Affects Red Rose, Inc.                       Case No. BK-S-20-12831-mkn
                                                      Affects Roofs 4 America, Inc.                Case No. BK-S-20-12833-mkn
                                       19             Affects Solar 4 America, Inc.
                                                      Affects Sonoma Roofing Services, Inc.        Chapter 11
                                       20             Affects TD Venture Fund, LLC
                                       21             Affects Tri-Valley Supply, Inc.              AMENDED SCHEDULES OF ASSETS
                                                      Affects All Debtors                          AND LIABILITIES
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      GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODOLOGY
         AND DISCLAIMER REGARDING THE DEBTORS’ SCHEDULES OF
      ASSETS AND LIABILITIES, AND STATEMENTS OF FINANCIAL AFFAIRS

         Petersen-Dean, Inc., Beachhead Roofing & Supply, Inc., California Equipment Leasing

Association, Inc., Fences 4 America, Inc., James Petersen Industries, Inc., PD Solar, Inc., Petersen

Roofing and Solar LLC, PetersenDean Hawaii LLC, PetersenDean Roofing and Solar Systems,

Inc., PetersenDean Texas, Inc., Red Rose, Inc., Roofs 4 America, Inc., Solar 4 America, Inc.,

Sonoma Roofing Services, Inc., TD Venture Fund, LLC, and Tri-Valley Supply, Inc., debtors and

debtors in possession (collectively, the “Debtors”), in the above captioned chapter 11 cases (the

“Chapter 11 Cases”), by and through their proposed undersigned counsel, Fox Rothschild LLP

(“Counsel”), are filing their respective Schedules of Assets and Liabilities (collectively, the

“Schedules”) and Statements of Financial Affairs (collectively, the “Statements,” and together with

the Schedules, collectively, the “Schedules and Statements”)1 in the United States Bankruptcy

Court for the District of Nevada (the “Court”). The Debtors, which were assisted by their

professional advisors, prepared the Schedules and Statements in accordance with section 521 of

title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”), and Rule

1007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

         These Global Notes and Statement of Limitations, Methodology and Disclaimer regarding

the Schedules and Statements (collectively, the “Global Notes”) pertain to, are incorporated by

reference in, and comprise an integral part of, all of the Schedules and Statements. These Global

Notes should be referred to, and reviewed in connection with, any review of the Schedules and

Statements.


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 These Global Notes are in addition to any specific notes that may be contained in each of the Schedules or Statements.
The fact that the Debtors have prepared a general note herein with respect to any of the Schedules and Statements and
not to others should not be interpreted as a decision by the Debtors to exclude the applicability of such general note
to any of the Debtors’ remaining Schedules and Statements, as appropriate.



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          The Schedules and Statements have been prepared based on information provided by the

Debtors’ management and are unaudited and subject to potential adjustment. In preparing the

Schedules and Statements, the Debtors relied on financial data derived from their books and

records that was available at the time of preparation. The Debtors have used commercially

reasonable efforts to ensure the accuracy and completeness of such financial information; however,

subsequent information or discovery may result in material changes to the Schedules and

Statements and inadvertent errors, omissions or inaccuracies may exist. The Debtors and their

estates reserve all rights to amend or supplement their Schedules and Statements.

          Reservation of Rights. Nothing contained in the Schedules and Statements or these

Global Notes shall constitute a waiver of any of the Debtors’ rights or an admission with respect

to their chapter 11 cases, including, but not limited to, any issues involving objections to claims,

setoff    or   recoupment,   substantive   consolidation,   equitable    subordination,   defenses,

characterization or re-characterization of contracts, leases and claims, assumption or rejection of

contracts and leases and/or causes of action arising under the Bankruptcy Code or any other

applicable laws to recover assets or avoid transfers.

          Description of the Cases and “As of” Information Date. On June 11, 2020 (the “Petition

Date”), each of the Debtors filed a voluntary petition for relief with the Court under chapter 11 of

the Bankruptcy Code. The Debtors are operating their business and managing their properties as

debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. On June 23,

2020, the Court entered an order [ECF No. 94] jointly administering the Debtors’ chapter 11 cases

pursuant to Bankruptcy Rule 1015(b). All financial information for the Debtors in the Schedules

and Statements and these Global Notes is provided as of the Petition Date unless otherwise

indicated herein or in the Schedules and Statements.


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        Basis of Presentation. The Schedules and Statements do not purport to represent financial

statements prepared in accordance with Generally Accepted Accounting Principles (“GAAP”), nor

are they intended to fully reconcile to any financial statements prepared by the Debtors. Therefore,

combining the assets and liabilities set forth in the Schedules and Statements could result in

amounts that could be substantially different from any financial information regarding the Debtors

prepared on a consolidated basis under GAAP. Unlike any consolidated financial statements, the

Schedules and Statements, except where otherwise indicated herein or in the Schedules and

Statements, reflect the assets and liabilities of each Debtor on a non-consolidated basis, where

possible.

        Recharacterization.     Notwithstanding the Debtors’ reasonable efforts to properly

characterize, classify, categorize, or designate certain claims, assets, executory contracts,

unexpired leases, and other items reported in the Schedules and Statements, the Debtors may

nevertheless seek to recharacterize, reclassify, recategorize, redesignate, add, or delete items

included in the Schedules and Statements, and the Debtors and their estates reserve all rights in

this regard.

        Consolidated Entity Accounts Payable and Disbursement Systems.                The Debtors

maintain a centralized cash management system (the “Cash Management System”). The Debtors

maintain the Cash Management System to collect, concentrate, and disburse funds generated from

their operations. A more complete description of the Debtors’ Cash Management System is set

forth in the Emergency Motion For Order Pursuant to 11 U.S.C. §§363, 1107 and 1108 (I)

Authorizing Continued Use of Prepetition Bank Accounts; and (II) Granting Related Relief (the

“Cash Management Motion”) filed on June 16, 2020 (ECF No. 36].




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        Insiders. For purposes of the Schedules and Statements, the Debtors define “insiders”

pursuant to section 101(31) of the Bankruptcy Code as (a) current or former directors, officers or

persons in control of a Debtor, (b) relatives of current or former directors, officers, or persons in

control of a Debtor, (c) a partnership in which a Debtor is a general partner or (d) an affiliate of a

Debtor. Except as otherwise disclosed herein or in the Statements, payments to insiders listed in

(a) through (d) above are set forth on Statement 3(c). Persons listed as “insiders” have been

included for informational purposes only, and such listing is not intended to be, nor should it be

construed as, a legal characterization of such person as an insider, and does not act as an admission

of any fact, claim, right or defense, and all such rights, claims, and defenses with respect thereto

are hereby expressly reserved. Further, the Debtors and their estates do not take any position with

respect to: (a) such person’s influence over the control of the Debtors; (b) the management

responsibilities or functions of such individual; (c) the decision-making or corporate authority of

such individual; or (d) whether such individual could successfully argue that he or she is not an

“insider” under applicable law, including, without limitation, the federal securities laws, or with

respect to any theories of liability or for any other purpose.

        Summary of Significant Reporting Policies. The following is a summary of certain

significant reporting policies:

        a.       Current Market Value — Net Book Value. In many instances, current market

valuations are neither maintained by, nor readily available to, the Debtors.            It would be

prohibitively expensive and unduly burdensome to obtain current market valuations of the

Debtors’ property interests that are not maintained or readily available. Accordingly, unless

otherwise indicated herein or in the Schedules and Statements, the Schedules and Statements

reflect the net book values, rather than current market values, of the Debtors’ assets as of the


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Petition Date (unless another date is indicated herein or in the Schedules and Statements) and may

not reflect the net realizable value.

        b.       First Day Orders. Pursuant to various “first day” orders and any supplements or

amendments to such orders entered by the Court (each, a “First Day Order,” and collectively, the

“First Day Orders”), the Debtors and their estates are authorized to pay certain pre-petition claims,

including, without limitation, certain claims relating to employee wages and benefits. Except to

the extent that these parties have claims in excess of the authority granted to the Debtors under the

First Day Orders, in certain instances, the Debtors may have not included certain claims of this

nature in the Schedules and Statements.

        c.       Setoffs. To the extent the Debtors have incurred or effectuated any ordinary course

setoffs with third parties (including, without limitation, customers and vendors) prior to the

Petition Date, or are subject to the occurrence of, or maintain the right to effectuate, ordinary

course setoffs on account of activities occurring prior to the Petition Date, such setoffs are excluded

from the Debtors’ Schedules and Statements. The Debtors and their estates reserve all of their

rights with respect to any such setoffs.

        d.       Credits and Adjustments. Claims of creditors are listed in the amounts entered

on the Debtors’ books and records and may not reflect credits, allowances or other adjustments

due from such creditors to the Debtors. The Debtors and their estates reserve all of their rights

with regard to such credits, allowances and other adjustments, including, without limitation, the

right to assert claims objections, setoffs and recoupments with respect to the same.

        e.       Accounts Receivable. The accounts receivable information listed on Schedule B

includes both billed and unbilled receivables, and is net of allowance for doubtful accounts.




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        f.       Leases. In the ordinary course of business, the Debtors may lease certain real

property, fixtures and equipment from certain third-party lessors for use in the daily operation of

their business. Nothing in the Schedules and Statements is, or shall be construed as, an admission

as to the determination of the legal status of any lease (including, without limitation, whether any

lease is a true lease or a financing arrangement, and whether such lease is unexpired), and the

Debtors and their estates reserve all rights with respect to such issues.

        g.       Entity Classification Issues. The Debtors have endeavored in good faith to

identify the assets owned by each Debtor, the liabilities owed by each Debtor, and the Debtor that

is a counterparty to executory contacts and unexpired leases. While the Schedules reflect the

results of this effort, several factors may impact the ability of the Debtors to precisely assign assets,

liabilities, and executory contacts and unexpired leases to particular Debtor entities, including, but

not limited to: (a) certain assets and executory contacts and unexpired leases may be primarily

used by a Debtor other than the entity which holds title to such assets or is a party to such executory

contact and unexpired lease according to the Debtors’ books and records; (b) the Debtor entity that

owns or holds title to certain assets or is a party to certain executory contacts and unexpired leases

may not be ascertainable given the consolidated manner in which the Debtors have operated their

business; (c) certain liabilities may have been nominally incurred by one Debtor, yet such liabilities

may have actually been incurred by, or the invoices related to such liabilities may have been issued

to or in the name of, another Debtor; and (d) certain creditors of the Debtors may have treated one

or more of the Debtors as a consolidated entity rather than as differentiated entities.

        h.       Executory Contracts and Unexpired Leases. The Debtors have not set forth

executory contracts and unexpired leases as assets in the Schedules and Statements, even though

these contracts and leases may have some value to the Debtors’ estates. Rather, the Debtors’


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executory contracts and unexpired leases have been set forth solely on Schedule G. The Debtors’

rejection of executory contracts and unexpired leases may result in the assertion of rejection

damages claims; however, the Schedules and Statements do not reflect any claims for rejection

damages. The Debtors and their estates reserve any and all rights with respect to the assertion of

any such claims.

        i.       Intercompany Claims. For certain reporting and internal accounting purposes, the

Debtors record certain intercompany receivables and payables. Receivables and payables among

the Debtors are reported as assets on Schedule B or liabilities on Schedule F as appropriate

(collectively, the “Intercompany Claims”). While the Debtors have used commercially reasonable

efforts to ensure that the proper intercompany balance is attributed to each legal entity, the Debtors

and their estates reserve all rights to amend the Intercompany Claims in the Schedules and

Statements, including, without limitation, to change the characterization, classification,

categorization or designation of such claims, including, but not limited to, the right to assert that

any or all Intercompany Claims are, in fact, consolidated or otherwise properly assets or liabilities

of a different Debtor entity.

        j.       Unknown or Undetermined Amounts. Where a description of an amount is left

blank or listed as “unknown” or “undetermined,” such response is not intended to reflect upon the

materiality of such amount.

        k.       Liabilities. At the time of the filing of the Schedules and Statements, the Debtors

are continuing to reconcile certain accounts payable liabilities. The Debtors have sought to

allocate liabilities between the prepetition and post-petition periods based on the information

available at the time of the filing of the Schedules and Statements. As additional information

becomes available and further research is conducted, the allocation of liabilities between the


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prepetition and postpetition periods may change. Accordingly, the Debtors and their estates

reserve all rights to amend, supplement, or otherwise modify the Schedules and Statements as is

necessary or appropriate. The liabilities listed on the Schedules do not reflect any analysis of any

claims under section 503(b)(9) of the Bankruptcy Code. Accordingly, the Debtors and their estates

reserve all rights to dispute or challenge the validity of any claims asserted under section 503(b)(9)

of the Bankruptcy Code, or characterization of the structure of any transaction, document or

instrument related to any such claim.

        l.       Estimates. To timely close the books and records of the Debtors and to prepare

such information on a legal entity basis, the Debtors were required to make certain estimates and

assumptions that affect the reported amounts of assets and liabilities and reported revenue and

expenses. The Debtors and their estates reserve all rights to amend the reported amounts of assets,

liabilities, revenue and expenses to reflect changes in those estimates and assumptions.

        m.       Classifications. Listing a claim (a) on Schedule D as “secured,” (b) on Schedule

E as “unsecured priority,” or (c) on Schedule F as “unsecured non-priority,” or listing a contract

or lease on Schedule G as “executory” or “unexpired,” does not constitute an admission by the

Debtors and their estates of the legal rights of any claimant, or a waiver of the rights of the Debtors

and their estates to recharacterize or reclassify any claim or contract.

        n.       Claims Description.     Any failure to designate a claim on a given Debtor’s

Schedules as “disputed,” “contingent,” or “unliquidated” does not constitute an admission by the

Debtor and its estate that such amount is not “disputed,” “contingent” or “unliquidated.” The

Debtors and their estates reserve all rights to dispute, or to assert any offsets or defenses to, any

claim reflected on their Schedules on any grounds, including, without limitation, amount, liability,

validity, priority or classification, or to otherwise subsequently designate any claim as “disputed,”


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“contingent” or “unliquidated.” Listing a claim on the Schedules does not constitute an admission

of liability by the Debtors and their estates, and the Debtors and their estates reserve all rights to

amend the Schedules.

        o.       Guaranties and Other Secondary Liability Claims.             Guaranties and other

secondary liability claims (collectively, the “Guaranties”) with respect to the Debtors’ contracts

and leases may not be included on Schedule H and the Debtors believe that certain Guaranties

embedded in the Debtors’ executory contracts, unexpired leases, secured financings, debt

instruments and similar agreements may exist. Therefore, the Debtors and their estates reserve all

rights to amend the Schedules to the extent additional Guaranties are identified.

                                    NOTES FOR SCHEDULES

        Schedule B — Personal Property. Despite their commercially reasonable efforts to

identify all known assets, the Debtors may not have listed all of their respective causes of action

or potential causes of action against third parties as assets in their respective Schedules and

Statements, including, but not limited to, causes of action arising under the Bankruptcy Code or

any other applicable laws to recover assets or avoid transfers. The Debtors and their estates reserve

all of their rights with respect to any claims and causes of action that they may have, and neither

these Global Notes nor the Schedules and Statements shall be deemed a waiver of any such claims

and causes of actions, or in any way waive, prejudice, impair or otherwise affect the assertion of

such claims and causes of action.

        Patents, trademarks, and other intellectual property is listed on Schedule B22 as an

unknown or undetermined amount on account of the fact that the fair market value of such

ownership is dependent on numerous variables and factors and may differ significantly from the

net book value.


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        Since the deposit provided for under that Order Pursuant to 11 U.S.C. § 366 Re: Adequate

Assurance of Payment for Postpetition Utility Services [ECF No. 54] did not exist as of the Petition

Date, the Debtors have not accounted for it on Schedule B.

        Schedule D — Creditors Holding Secured Claims. Except as otherwise agreed pursuant

to a stipulation, agreed order, or general order entered by the Court that is or becomes final, the

Debtors and their estates reserve all rights to dispute or challenge the validity, perfection or

immunity from avoidance of any lien purported to be granted or perfected in any specific asset to

a creditor listed on Schedule D of any of the Debtors. Moreover, although the Debtors may have

scheduled claims of various creditors as secured claims for informational purposes, no current

valuation of the Debtors’ assets in which such creditors may have a lien has been undertaken.

Except as otherwise agreed pursuant to a stipulation, agreed order, or general order entered by the

Court that is or becomes final, the Debtors and their estates reserve all rights to dispute or challenge

the secured nature of any such claim or the characterization of the structure of any transaction,

document or instrument related to any such claim. The descriptions provided in Schedule D are

intended only to be a summary. The Debtors have not included on Schedule D all parties that may

believe their claims are secured through setoff rights, deposits posted by, or on behalf of, the

Debtors, inchoate statutory lien rights, or real property lessors, utility companies and other parties

which may hold security deposits. By listing a party on Schedule D based on a UCC-1 filing, the

Debtors and their estates are not conceding that such party actually holds a perfected, unavoidable

security interest in the asset that is the subject of such filing, and reserve all rights as set forth in

these Global Notes. Certain of the amounts listed for parties on Schedule D may not be reflective

of any accrued and unpaid interest, prepayment premiums, and other similar fees or expenses that

such parties may be entitled to.


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        Schedule E — Creditors Holding Unsecured Priority Claims. The Debtors have not

listed on Schedule E any tax and priority employee wage and benefit claims for which the Debtors

have been granted authority (but not direction) to pay pursuant to a First Day Order. The Debtors

believe that such claims have been, or will be, satisfied in the ordinary course of business during

these chapter 11 cases pursuant to the authority granted in the relevant First Day Orders. The

Debtors and their estates reserve all rights to dispute or challenge whether creditors listed on

Schedule E are entitled to priority claims.

        Schedule F — Creditors Holding Unsecured Non-Priority Claims. Certain creditors

listed on Schedule F may owe amounts to the Debtors; as such, the Debtors and their estates may

have valid setoff and recoupment rights with respect to such amounts, which rights are not reflected

on Schedule F. Also, the amounts listed on Schedule F reflect known prepetition claims as of

Petition Date. Such amounts do not reflect any rights of setoff or recoupment that may be asserted

by any creditors listed on Schedule F, and the Debtors and their estates reserve all rights to

challenge any setoff and recoupment rights that may be asserted against them. The Debtors and

their estates reserve all rights to dispute or challenge the validity, perfection or immunity from

avoidance of any lien purported to be perfected by a creditor listed on Schedule F. As noted above,

certain claims listed on Schedule F may be entitled to priority under section 503(b)(9) of the

Bankruptcy Code, and the Debtors and their estates reserve all rights with respect to any such

claims. Schedule F contains certain information regarding pending litigation involving the

Debtors.     The amounts for these potential claims are listed as unknown or undetermined,

contingent, unliquidated and disputed in the Schedules.

        The Debtors have used commercially reasonable efforts to include all creditors on Schedule

F; however, the Debtors believe that there are instances in which vendors have yet to provide


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proper invoices for prepetition goods or services. While the Debtors maintain general accruals to

account for these liabilities in accordance with GAAP, these amounts are estimates and not tracked

on a vendor by vendor basis, and as such may not have been included on Schedule F. The Debtors

may not have listed on Schedule F certain (but not all) unsecured non-priority employee wage or

benefit claims, claims related to vendors, or claims related to the Debtors’ insurance programs for

which the Debtors have been granted authority (but not direction) to pay pursuant to a First Day

Order. The Debtors believe that such claims have been, or will be, satisfied in the ordinary course

of business during these chapter 11 cases pursuant to the authority granted in the relevant First

Day Orders. The Debtors and their estates reserve their rights to dispute or challenge whether

creditors listed on Schedule F are entitled to priority claims.

        Schedule G — Executory Contracts and Unexpired Leases. Although commercially

reasonable efforts have been made to ensure the accuracy of Schedule G regarding executory

contracts and unexpired leases, inadvertent errors, omissions or over-inclusion may have occurred

in preparing Schedule G. In the ordinary course of business, the Debtors enter into various

agreements with their customers and vendors. The Debtors may have entered into various other

types of agreements in the ordinary course of their business, such as indemnity agreements,

supplemental agreements, letter agreements, and confidentiality agreements which may not be set

forth in Schedule G. Omission of a contract, lease or other agreement from Schedule G does not

constitute an admission that such omitted contract, lease or agreement is not an executory contract

or unexpired lease. Schedule G may be amended at any time to add any omitted executory

contracts, unexpired leases and other agreements to which the Debtors are a party, including,

without limitation, to add any executory contracts, unexpired leases and other agreements that the

Debtors, due to the voluminous number of such contracts, leases and agreements, were unable to


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list on Schedule G at this time. Likewise, the listing of an agreement on Schedule G does not

constitute an admission that such agreement is an executory contract or unexpired lease, or that

such agreement was in effect or unexpired on the Petition Date or is valid or enforceable. The

agreements listed on Schedule G may have expired or may have been modified, amended, or

supplemented from time to time by various amendments, restatements, waivers, estoppel

certificates, letters and other documents, instruments and agreements which may not be listed on

Schedule G.

        Any and all rights, claims and causes of action of the Debtors and their estates with respect

to the agreements listed on Schedule G are hereby reserved and preserved. The Debtors and their

estates hereby reserve all of their rights to: (a) dispute the validity, status, or enforceability of any

agreements set forth on Schedule G; (b) dispute or challenge the characterization of the structure

of any transaction, document or instrument related to a creditor’s claim, including, but not limited

to, the agreements listed on Schedule G; and (c) amend or supplement Schedule G, as necessary,

including, without limitation, to modify which Debtor entity is a counterparty to the agreement.

                                   NOTES FOR STATEMENTS

        Statement 3b. Statement 3b includes any disbursement or other transfer made by that

particular Debtor, except for those made to insiders, employees, and bankruptcy professionals.

The amounts listed in Statement 3b reflect that Debtor’s disbursements netted against any check

level detail; thus, to the extent a disbursement was made to pay for multiple invoices, only one

entry has been listed on Statement 3b. All disbursements listed on Statement 3b were made by

that particular Debtor.

        Statement 3(c) and 23. As previously set forth herein and in more detail in the Cash

Management Motion, the Debtors maintain a centralized cash management system. As a result,

during the year preceding the Petition Date, certain payments may have been made to insiders of
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each of the Debtors by one or more of the other Debtors, and some of these payments may have

been for the benefit of another Debtor. These payments are listed on Statement 3(c) and 23 for the

Debtor making the payment, even if the payment was made to or for the benefit of an insider of

another Debtor.

        Statement 4(a). The Debtors and their estates reserve all rights, claims and defenses with

respect to any and all listed lawsuits and administrative proceedings (or potential lawsuits and

administrative proceedings). The listing of any such suits and proceedings shall not constitute an

admission by the Debtors and their estates of any liabilities or that the actions or proceedings were

correctly filed against the Debtors. The Debtors and their estates reserve all rights to assert that

the Debtors are not an appropriate party to such actions or proceedings. The Debtors may not have

included on Statement 4(a) certain parties that may have asserted informal workers’ compensation

claims or similar claims that were resolved or otherwise addressed without formal litigation or an

administrative hearing or similar proceeding having been commenced.

        Statement 9. Debtor PDI made payments on behalf of all of the Debtors to various

professionals for restructuring services. The payments listed in Statement 9 are generally only for

restructuring-related services.    The Debtors may have made other payments to the listed

professionals for non-bankruptcy related services, but these payments are not listed in Statement

9.




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  Fill in this information to identify the case:

 Debtor        PetersenDean Hawaii LLC


 United States Bankruptcy Court for the: Nevada


 Case number           20-12823-mkn
  (if known)
                                                                                                                                                                                ¨ Check if this is an
                                                                                                                                                                                   amended filing

 Official Form 206Sum
 Summary of Assets and Liabilities for Non-Individuals                                                                                                                                        04/19



  Part 1:       Summary of Assets



 1. Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                    UNKNOWN
         Copy line 88 from Schedule A/B . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .


     1b. Total personal property:
                                                                                                                                                                                  $4,008,210.02
         Copy line 91A from Schedule A/B . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .


     1c. Total of all property:
                                                                                                                                                                                  $4,008,210.02
         Copy line 92 from Schedule A/B . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .




    Part 2:       Summary of Liabilities



   2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                 $28,447,370.00
      Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D . . . . . . . . .



   3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206EF)


        3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                     $21,150.13
            Copy the total claims from Part 1 from line 6a of Schedule E/F . . . . . . . . . . . . . . . . . . . . . . . . . . . .


        3b. Total amount of claims of nonpriority amount of unsecured claims:
            Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F . . . . . . . . . . . . . .
                                                                                                                                                                  +               $5,960,692.17




   4. Total liabilities . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                                                                                                 $34,429,212.30
      Lines 2 + 3a + 3b




Official Form 206Sum                                                                                                                                                                      Page 1 of 1
                       Case 20-12814-mkn                  Doc 551       Entered 07/28/20 16:38:53                  Page 17 of 142
  Fill in this information to identify the case:

 Debtor        PetersenDean Hawaii LLC


 United States Bankruptcy Court for the: Nevada


 Case number         20-12823-mkn
  (if known)
                                                                                                                                    ¨ Check if this is an
                                                                                                                                       amended filing

 Official Form 206A/B
 Schedule A/B: Assets - Real and Personal Property                                                                                                 04/19

 Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
 all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which
 have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or
 unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
 Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the
 debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional
 sheet is attached, include the amounts from the attachment in the total for the pertinent part.


 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


 Part 1:        CASH AND CASH EQUIVALENTS

 1.    DOES THE DEBTOR HAVE ANY CASH OR CASH EQUIVALENTS?
       ¨       No. Go to Part 2.
       þ       Yes. Fill in the information below.



          All cash or cash equivalents owned or controlled by the debtor                                                            Current value of
                                                                                                                                    debtor’s interest

 2.    CASH ON HAND
       NONE

 3.    CHECKING, SAVINGS, MONEY MARKET, OR FINANCIAL BROKERAGE ACCOUNTS
       (IDENTIFY ALL)
       Name of institution (bank or brokerage firm)                   Type of account             Last 4 digits of account number
       3.1.         CALIFORNIA BANK AND TRUST                         GENERAL CHECKING            1975                                              $0.00
                                                                      ACCOUNT - SWEEP
       3.2.         CALIFORNIA BANK AND TRUST                         PAYROLL CHECKING            1967                                              $0.00
                                                                      ACCOUNT - SWEEP
       3.3.         FIRST HAWAIIAN BANK                               DIVISIONAL CHECKING         4968                                             $20.00
                                                                      ACCT/PETTY CASH - KAUAI
       3.4.         FIRST HAWAIIAN BANK                               DIVISIONAL CHECKING         4925                                          $3,224.81
                                                                      ACCT/PETTY CASH - MAUI
       3.5.         FIRST HAWAIIAN BANK                               DIVISIONAL CHECKING         4941                                          $2,172.24
                                                                      ACCT/PETTY CASH - OAHU
       3.6.         FIRST HAWAIIAN BANK                               DIVISIONAL CHECKING         4933                                             $20.00
                                                                      ACCT/PETTY CASH
                                                                      -PAYROLL (INACTIVE)
       3.7.         FIRST HAWAIIAN BANK                               GENERAL CHECKING            4917                                         $28,559.19
                                                                      ACCOUNT
       3.8.         FIRST REPUBLIC BANK                               GENERAL CHECKING            6785                                              $0.00
                                                                      ACCOUNT - SWEEP
       3.9.         FIRST REPUBLIC BANK                               PAYROLL CHECKING            5762                                              $0.00
                                                                      ACCOUNT
       3.10.        FIRST REPUBLIC BANK                               PAYROLL CHECKING            5968                                              $0.00
                                                                      ACCOUNT - SWEEP
       3.11.        FIRST REPUBLIC BANK                               PETERSENDEAN HAWAII         9735                                        $806,393.68
                                                                      LLC (P 9735)
       3.12.        WELLS FARGO BANK, N.A.                            COMMERCIAL DEMAND           368                                               $0.00
                                                                      DEPOSIT ACCOUNT
 4.    OTHER CASH EQUIVALENTS
       NONE


Official Form 206A/B                                  Schedule A/B: Assets - Real and Personal Property                                        Page 1 of 9
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 5    Total of Part 1.
      ADD LINES 2 THROUGH 4 (INCLUDING AMOUNTS ON ANY ADDITIONAL SHEETS). COPY THE                                                            $840,389.92
      TOTAL TO LINE 80.

 Part 2:      DEPOSITS AND PREPAYMENTS

 6.   DOES THE DEBTOR HAVE ANY DEPOSITS OR PREPAYMENTS?
      ¨      No. Go to Part 3.
      þ      Yes. Fill in the information below.


                                                                                                                                    Current value of
                                                                                                                                    debtor’s interest

 7.   DEPOSITS, INCLUDING SECURITY DEPOSITS AND UTILITY DEPOSITS
      DESCRIPTION, INCLUDING NAME OF HOLDER OF DEPOSIT
      7.1.        UTILITY DEPOSIT - ELECTRICITY - HAWAIIAN ELECTRIC COMPANY                                                                         $0.00
      7.2.        UTILITY DEPOSIT - ELECTRICITY - KAUA’I ISLAND UTILITY COOPERA+                                                                    $0.00
      7.3.        UTILITY DEPOSIT - ELECTRICITY - MAUI ELECTRIC CO. LTD.                                                                            $0.00
      7.4.        UTILITY DEPOSIT - ISP - SPECTRUM BUSINESS                                                                                         $0.00
      7.5.        UTILITY DEPOSIT - RENT UTILITIES - 220 LALO PLACE LLC                                                                             $0.00
      7.6.        UTILITY DEPOSIT - RENT UTILITIES - LIPT EAST KAAHUMANU AVE. LLC                                                                   $0.00
      7.7.        UTILITY DEPOSIT - VOICE AND ISP - HAWAIIAN TELCOM                                                                                 $0.00
      7.8.        UTILITY DEPOSIT - WATER - BOARD OF WATER SUPPLY                                                                                   $0.00
      7.9.        UTILITY DEPOSIT - WATER - DEPARTMENT OF WATER SUPPLY                                                                              $0.00

 8.   PREPAYMENTS, INCLUDING PREPAYMENTS ON EXECUTORY CONTRACTS, LEASES,
      INSURANCE, TAXES, AND RENT
      DESCRIPTION, INCLUDING NAME OF HOLDER OF PREPAYMENT
      NONE

 9    Total of Part 2.
      ADD LINES 7 THROUGH 8. COPY THE TOTAL TO LINE 81.                                                                                             $0.00


 Part 3:      ACCOUNTS RECEIVABLE

 10. DOES THE DEBTOR HAVE ANY ACCOUNTS RECEIVABLE?
      ¨      No. Go to Part 4.
      þ      Yes. Fill in the information below.


                                                                                                                                    Current value of
                                                                                                                                    debtor’s interest

 11. ACCOUNTS RECEIVABLE
      ACCOUNTS RECEIVABLE                          $3,167,820.1                                   $0.00      = è                            $3,167,820.10
                                                                   -
                                                     face amount       doubtful or uncollectable accounts

 12   Total of Part 3.
      CURRENT VALUE ON LINES 11A + 11B = LINE 12. COPY THE TOTAL TO LINE 82.                                                                $3,167,820.10


 Part 4:      INVESTMENTS

 13. DOES THE DEBTOR OWN ANY INVESTMENTS?
      þ      No. Go to Part 5.
      ¨      Yes. Fill in the information below.


                                                                                                            Valuation method used   Current value of
                                                                                                            for current value       debtor’s interest

 14. MUTUAL FUNDS OR PUBLICLY TRADED STOCKS NOT INCLUDED IN PART 1
      NAME OF FUND OR STOCK:




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                                                                                                Valuation method used    Current value of
                                                                                                for current value        debtor’s interest
 15. NON-PUBLICLY TRADED STOCK AND INTERESTS IN INCORPORATED AND
     UNINCORPORATED BUSINESSES, INCLUDING ANY INTEREST IN AN LLC, PARTNERSHIP,
     OR JOINT VENTURE

 16. GOVERNMENT BONDS, CORPORATE BONDS, AND OTHER NEGOTIABLE AND
     NON-NEGOTIABLE INSTRUMENTS NOT INCLUDED IN PART 1
      DESCRIBE:

 17   Total of Part 4.
      ADD LINES 14 THROUGH 16. COPY THE TOTAL TO LINE 83.                                                                    NOT APPLICABLE


 Part 5:     INVENTORY, EXCLUDING AGRICULTURE ASSETS

 18. DOES THE DEBTOR OWN ANY INVENTORY (EXCLUDING AGRICULTURE ASSETS)?
      þ     No. Go to Part 6.
      ¨     Yes. Fill in the information below.



          General description                         Date of the last     Net book value of     Valuation method used   Current value of
                                                      physical inventory   debtor's interest     for current value       debtor’s interest
                                                                           (Where available)

 19. RAW MATERIALS

 20. WORK IN PROGRESS

 21. FINISHED GOODS, INCLUDING GOODS HELD FOR RESALE

 22. OTHER INVENTORY OR SUPPLIES

 23   Total of Part 5.
      ADD LINES 19 THROUGH 22. COPY THE TOTAL TO LINE 84.                                                                    NOT APPLICABLE

 24. Is any of the property listed in Part 5 perishable?
     þ No
     ¨ Yes
 25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
     ¨ No
     þ Yes      Book value       $139,989.44 Valuation method Net Book Value                                        Current value   $139,989.44

 26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     þ No
     ¨ Yes

 Part 6:     FARMING AND FISHING-RELATED ASSETS (OTHER THAN TITLED MOTOR VEHICLES AND LAND)

 27. DOES THE DEBTOR OWN OR LEASE ANY FARMING AND FISHING-RELATED ASSETS (OTHER THAN TITLED MOTOR VEHICLES AND
     LAND)?
      þ     No. Go to Part 7.
      ¨     Yes. Fill in the information below.


          General description                                              Net book value of     Valuation method used   Current value of
                                                                           debtor's interest     for current value       debtor’s interest
                                                                           (Where available)

 28. CROPS—EITHER PLANTED OR HARVESTED

 29. FARM ANIMALS EXAMPLES: LIVESTOCK, POULTRY, FARM-RAISED FISH

 30. FARM MACHINERY AND EQUIPMENT (OTHER THAN TITLED MOTOR VEHICLES) (OTHER
     THAN TITLED MOTOR VEHICLES)

 31. FARM AND FISHING SUPPLIES, CHEMICALS, AND FEED

 32. OTHER FARMING AND FISHING-RELATED PROPERTY NOT ALREADY LISTED IN PART 6




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 33   Total of Part 6.
      ADD LINES 28 THROUGH 32. COPY THE TOTAL TO LINE 85.                                                                    NOT APPLICABLE

 34. Is the debtor a member of an agricultural cooperative?
     þ No
     ¨ Yes. Is any of the debtor’s property stored at the cooperative?
          ¨ No
          ¨ Yes
 35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
     þ No
     ¨ Yes
 36. Is a depreciation schedule available for any of the property listed in Part 6?
     þ No
     ¨ Yes
 37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
     þ No
     ¨ Yes

 Part 7:      OFFICE FURNITURE, FIXTURES, AND EQUIPMENT; AND COLLECTIBLES

 38. DOES THE DEBTOR OWN OR LEASE ANY OFFICE FURNITURE, FIXTURES, EQUIPMENT, OR COLLECTIBLES?
      ¨     No. Go to Part 8.
      þ     Yes. Fill in the information below.



          General description                                              Net book value of      Valuation method used   Current value of
                                                                           debtor's interest      for current value       debtor’s interest
                                                                           (Where available)

 39. OFFICE FURNITURE

                                                                     ADDITION
      39.1.       KONICA MINOLTA BUSINESS SOLUTIONS                                   $3,646.16   NET BOOK VALUE                    UNKNOWN

                                                                      DELETED
      39.2.       KONICA MINOLTA BUSINESS SOLUTIONS                                   UNKNOWN                                       UNKNOWN

 40. OFFICE FIXTURES
      NONE

 41. OFFICE EQUIPMENT, INCLUDING ALL COMPUTER EQUIPMENT AND COMMUNICATION
     SYSTEMS EQUIPMENT AND SOFTWARE
      NONE

 42. COLLECTIBLES EXAMPLES: ANTIQUES AND FIGURINES; PAINTINGS, PRINTS, OR OTHER
     ARTWORK; BOOKS, PICTURES, OR OTHER ART OBJECTS; CHINA AND CRYSTAL; STAMP,
     COIN, OR BASEBALL CARD COLLECTIONS; OTHER COLLECTIONS, MEMORABILIA, OR
     COLLECTIBLES
      NONE

 43   Total of Part 7.
      ADD LINES 39 THROUGH 42. COPY THE TOTAL TO LINE 86.                                                                           UNKNOWN


 44. Is a depreciation schedule available for any of the property listed in Part 7?
     ¨ No
     þ Yes
 45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     þ No
     ¨ Yes

 Part 8:      MACHINERY, EQUIPMENT, AND VEHICLES

 46. DOES THE DEBTOR OWN OR LEASE ANY MACHINERY, EQUIPMENT, OR VEHICLES?
      ¨     No. Go to Part 9.
      þ     Yes. Fill in the information below.




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          General description                                                 Net book value of   Valuation method used   Current value of
          Include year, make, model, and identification numbers (i.e., VIN,   debtor's interest   for current value       debtor’s interest
          HIN, or N-number)                                                   (Where available)

 47. AUTOMOBILES, VANS, TRUCKS, MOTORCYCLES, TRAILERS, AND TITLED FARM
     VEHICLES
      47.1.      2000 CHEVY LICENSE PLATE # 544 TTW                                    UNKNOWN                                      UNKNOWN
      47.2.      2003 TOYOTA LICENSE PLATE # 267 TTV                                   UNKNOWN                                      UNKNOWN
      47.3.      2004 FORD F-250 BIG RED VIN# 1FTNX20L34EB86679                        UNKNOWN                                      UNKNOWN
      47.4.      2004 FORD RANGER VIN# 1FTYR10D84PB27609                               UNKNOWN                                      UNKNOWN
      47.5.      2005 CHEVY 1500 VIN# 1GCEC14V05Z290770                                UNKNOWN                                      UNKNOWN
      47.6.      2005 CHEVY LICENSE PLATE # 299 TTV                                    UNKNOWN                                      UNKNOWN
      47.7.      2005 CHEVY LICENSE PLATE # 722 MDG                                    UNKNOWN                                      UNKNOWN
      47.8.      2005 FORD LICENSE PLATE # 474 MDA                                     UNKNOWN                                      UNKNOWN
      47.9.      2005 NISSAN LICENSE PLATE # 170 MDH                                   UNKNOWN                                      UNKNOWN
      47.10.     2006 CHEVY EXPRESS VIN# 1GCHG39U761217635                             UNKNOWN                                      UNKNOWN
      47.11.     2006 FORD LICENSE PLATE # 305 MDD                                     UNKNOWN                                      UNKNOWN
      47.12.     2007 DODGE RAM W/ LIFTGATE VIN#                                       UNKNOWN                                      UNKNOWN
                 3D7KR26D57G773241
      47.13.     2007 FORD CLF FLAT BED VIN# 3FRLL45Z87V500530                         UNKNOWN                                      UNKNOWN
      47.14.     2007 FORD E-250 VIN# 1FTNE24L37DB01463                                UNKNOWN                                      UNKNOWN
      47.15.     2007 FORD F-150 VIN# 1FTRF12277NA15120                                UNKNOWN                                      UNKNOWN
      47.16.     2008 CHEVY LICENSE PLATE # 874 MDF                                    UNKNOWN                                      UNKNOWN
      47.17.     2008 DODGE LICENSE PLATE # 581 TVW                                    UNKNOWN                                      UNKNOWN
      47.18.     2008 DODGE LICENSE PLATE # 616 TVW                                    UNKNOWN                                      UNKNOWN
      47.19.     2008 DODGE RAM VIN# 1D7HA16N88J185354                                 UNKNOWN                                      UNKNOWN
      47.20.     2008 DODGE RAM VIN# 1D7HA16NX8J185355                                 UNKNOWN                                      UNKNOWN
      47.21.     2008 DODGE SXT VIN# 1D7HE32K88S528203                                 UNKNOWN                                      UNKNOWN
      47.22.     2008 FORD F-150 VIN# 1FTVX14598KD81814                                UNKNOWN                                      UNKNOWN
      47.23.     2008 FORD RANGER VIN# 1FTYR10U08PA56847                               UNKNOWN                                      UNKNOWN
      47.24.     2009 CHEVY EXPRESS VIN# 1GCGG25C091125886                             UNKNOWN                                      UNKNOWN
      47.25.     2009 CHEVY EXPRESS VIN# 1GCGG25C191128960                             UNKNOWN                                      UNKNOWN
      47.26.     2009 CHEVY LICENSE PLATE # 127 TTV                                    UNKNOWN                                      UNKNOWN
      47.27.     2009 DODGE LICENSE PLATE # 311 TTC                                    UNKNOWN                                      UNKNOWN
      47.28.     2009 FORD E-250 VIN# 1FTNE24L89DA76062                                UNKNOWN                                      UNKNOWN
      47.29.     2009 FORD LICENSE PLATE # 615 TVW                                     UNKNOWN                                      UNKNOWN
      47.30.     2009 FORD LICENSE PLATE # 977 TTA                                     UNKNOWN                                      UNKNOWN
      47.31.     2009 GMC 1500 VIN# 1GTEC14C49Z900514                                  UNKNOWN                                      UNKNOWN
      47.32.     2010 DODGE RAM VIN# 3D7JB1EP6AG133116                                 UNKNOWN                                      UNKNOWN
      47.33.     2010 FORD E-250 VIN# 1FTNE2EW0ADA28388                                UNKNOWN                                      UNKNOWN
      47.34.     2010 FORD LICENSE PLATE # 426 TTF                                     UNKNOWN                                      UNKNOWN
      47.35.     2011 FORD F-150 VIN# 1FTNF1CF1BKD23958                                UNKNOWN                                      UNKNOWN
      47.36.     2011 FORD F-150 VIN# 1FTNF1CF1BKD32501                                UNKNOWN                                      UNKNOWN
      47.37.     2011 FORD F-150 VIN# 1FTNF1CF3BKD23959                                UNKNOWN                                      UNKNOWN
      47.38.     2011 FORD F-150 VIN# 1FTNF1CF4BKD28569                                UNKNOWN                                      UNKNOWN
      47.39.     2011 FORD LICENSE PLATE # 511 TTP                                     UNKNOWN                                      UNKNOWN
      47.40.     2011 FORD LICENSE PLATE # 519 TTP                                     UNKNOWN                                      UNKNOWN
      47.41.     2011 FORD LICENSE PLATE # 522 MDD                                     UNKNOWN                                      UNKNOWN
      47.42.     2011 FORD LICENSE PLATE # 577 TTP                                     UNKNOWN                                      UNKNOWN
      47.43.     2011 FORD LICENSE PLATE # 579 TTP                                     UNKNOWN                                      UNKNOWN
      47.44.     2011 FORD LICENSE PLATE # 759 MDL                                     UNKNOWN                                      UNKNOWN
      47.45.     2012 FORD E-250 VIN# 1FTNE2EW7CDA27709                                UNKNOWN                                      UNKNOWN
      47.46.     2012 FORD F-150 VIN# 1FTNF1CF1CKD33746                                UNKNOWN                                      UNKNOWN
      47.47.     2012 FORD F-150 VIN# 1FTNF1CFXCKD33745                                UNKNOWN                                      UNKNOWN
      47.48.     2012 FORD F-350 VIN# 1FSTW30RX8EB55337                                UNKNOWN                                      UNKNOWN
      47.49.     2012 FORD LICENSE PLATE # 043 TTV                                     UNKNOWN                                      UNKNOWN
      47.50.     2012 FORD LICENSE PLATE # 130 TTV                                     UNKNOWN                                      UNKNOWN
      47.51.     2012 FORD LICENSE PLATE # 131 TTV                                     UNKNOWN                                      UNKNOWN
      47.52.     2012 FORD LICENSE PLATE # 188 TTV                                     UNKNOWN                                      UNKNOWN
      47.53.     2012 FORD LICENSE PLATE # 291 TTX                                     UNKNOWN                                      UNKNOWN
      47.54.     2012 FORD LICENSE PLATE # 389 TTD                                     UNKNOWN                                      UNKNOWN
      47.55.     2012 NISSAN LICENSE PLATE # 259 TTY                                   UNKNOWN                                      UNKNOWN
      47.56.     2013 FORD E-250 VIN# 1FTNE2EW1DDB13003                                UNKNOWN                                      UNKNOWN


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          General description                                                 Net book value of     Valuation method used   Current value of
          Include year, make, model, and identification numbers (i.e., VIN,   debtor's interest     for current value       debtor’s interest
          HIN, or N-number)                                                   (Where available)

 47. AUTOMOBILES, VANS, TRUCKS, MOTORCYCLES, TRAILERS, AND TITLED FARM
     VEHICLES
      47.57. 2013 FORD F-150 VIN# 1FTFW1ET0DFA38980                                    UNKNOWN                                        UNKNOWN
      47.58. 2013 FORD F-150 VIN# 1FTNF1CF3DKD97479                                    UNKNOWN                                        UNKNOWN
      47.59. 2013 FORD F-450 DUMP TRUCK VIN#                                           UNKNOWN                                        UNKNOWN
             1FD0W4HT8DEA81340
      47.60. 2017 FORD F-150 ADMIN VIN# 1FTEW1CG1HKD73566                              UNKNOWN                                        UNKNOWN
      47.61. 2019 FORD F-650 VIN# 1FDNF6DE0KDF12605                                    UNKNOWN                                        UNKNOWN
      47.62. 2019 NISSAN LICENSE PLATE # 113 TWZ                                       UNKNOWN                                        UNKNOWN
      47.63. 2019 NISSAN VAN L VIN# 1N6BF0KM0KN800825                                  UNKNOWN                                        UNKNOWN

                                                                         DELETED
      47.64. PURCHASE OF ASSET #5345 2007 FORD F                                       UNKNOWN                                        UNKNOWN

                                                                         ADDITION
      47.65. PURCHASE OF ASSET #5345 2007 FORD F                                       $18,590.79   NET BOOK VALUE                    UNKNOWN

 48. WATERCRAFT, TRAILERS, MOTORS, AND RELATED ACCESSORIES EXAMPLES: BOATS,
     TRAILERS, MOTORS, FLOATING HOMES, PERSONAL WATERCRAFT, AND FISHING
     VESSELS
      NONE

 49. AIRCRAFT AND ACCESSORIES
      NONE

 50. OTHER MACHINERY, FIXTURES, AND EQUIPMENT (EXCLUDING FARM MACHINERY AND
     EQUIPMENT)
      NONE

 51   Total of Part 8.
      ADD LINES 47 THROUGH 50. COPY THE TOTAL TO LINE 87.                                                                             UNKNOWN


 52. Is a depreciation schedule available for any of the property listed in Part 8?
     ¨ No
     þ Yes
 53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     þ No
     ¨ Yes

 Part 9:      REAL PROPERTY

 54. DOES THE DEBTOR OWN OR LEASE ANY REAL PROPERTY?
      ¨     No. Go to Part 10.
      þ     Yes. Fill in the information below.


 55. ANY BUILDING, OTHER IMPROVED REAL ESTATE, OR LAND WHICH THE DEBTOR OWNS OR IN WHICH THE DEBTOR HAS AN INTEREST


          Description and location of property           Nature and extent    Net book value of     Valuation method used   Current value of
          Include street address or other description    of debtor’s          debtor's interest     for current value       debtor’s interest
          such as Assessor Parcel Number (APN), and      interest in          (Where available)
          type of property (for example, acreage,        property
          factory, warehouse, apartment or office
          building), if available

      55.1.       220 LALO ST, UNIT #1, KAHULUI,        REAL PROPERTY                  UNKNOWN                                        UNKNOWN
                  HI 96732                              LEASE
      55.2.       70 E KAAHUMANU AVE, UNIT C-3,         REAL PROPERTY                  UNKNOWN                                        UNKNOWN
                  KAHULUI, HI 96732                     LEASE
      55.3.       99-1265 HALAWA VALLEY ST,             REAL PROPERTY                  UNKNOWN                                        UNKNOWN
                  AIEA, HI 96701                        LEASE
 56   Total of Part 9.
      ADD THE CURRENT VALUE ON LINES 55.1 THROUGH 55.6 AND ENTRIES FROM ANY                                                           UNKNOWN
      ADDITIONAL SHEETS. COPY THE TOTAL TO LINE 88.



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 57. Is a depreciation schedule available for any of the property listed in Part 9?
     ¨ No
     þ Yes
 58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
     þ No
     ¨ Yes

 Part 10: INTANGIBLES AND INTELLECTUAL PROPERTY

 59. DOES THE DEBTOR HAVE ANY INTERESTS IN INTANGIBLES OR INTELLECTUAL PROPERTY?
      ¨     No. Go to Part 11.
      þ     Yes. Fill in the information below.



          General description                                              Net book value of     Valuation method used    Current value of
                                                                           debtor's interest     for current value        debtor’s interest
                                                                           (Where available)

 60. PATENTS, COPYRIGHTS, TRADEMARKS, AND TRADE SECRETS
      NONE

 61. INTERNET DOMAIN NAMES AND WEBSITES
      61.1.       WWW.EDISONBATTERIES.CO                                              UNKNOWN                                           UNKNOWN
      61.2.       WWW.EDISONBATTERY.CO                                                UNKNOWN                                           UNKNOWN
      61.3.       WWW.HALEAKALASOLAR.COM                                              UNKNOWN                                           UNKNOWN
      61.4.       WWW.HALEAKALASOLAR.NET                                              UNKNOWN                                           UNKNOWN
      61.5.       WWW.HALEAKALASOLAR.ORG                                              UNKNOWN                                           UNKNOWN

 62. LICENSES, FRANCHISES, AND ROYALTIES
      NONE

 63. CUSTOMER LISTS, MAILING LISTS, OR OTHER COMPILATIONS
      NONE

 64. OTHER INTANGIBLES, OR INTELLECTUAL PROPERTY
      NONE

 65. GOODWILL
      NONE

 66   Total of Part 10.
      ADD LINES 60 THROUGH 65. COPY THE TOTAL TO LINE 89.                                                                               UNKNOWN


 67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
     þ No
     ¨ Yes
 68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
     þ No
     ¨ Yes
 69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
     þ No
     ¨ Yes

 Part 11: ALL OTHER ASSETS

 70. DOES THE DEBTOR OWN ANY OTHER ASSETS THAT HAVE NOT YET BEEN REPORTED ON THIS FORM?
     INCLUDE ALL INTERESTS IN EXECUTORY CONTRACTS AND UNEXPIRED LEASES NOT PREVIOUSLY REPORTED ON THIS FORM.
      þ     No. Go to Part 12.
      ¨     Yes. Fill in the information below.

                                                                                                                          Current value of
                                                                                                                          debtor’s interest

 71. NOTES RECEIVABLE
      DESCRIPTION (INCLUDE NAME OF OBLIGOR)




Official Form 206A/B                              Schedule A/B: Assets - Real and Personal Property                                     Page 7 of 9
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                                                                                                                                                           Current value of
                                                                                                                                                           debtor’s interest

 72. TAX REFUNDS AND UNUSED NET OPERATING LOSSES (NOLS)
       DESCRIPTION (FOR EXAMPLE, FEDERAL, STATE, LOCAL)

 73. INTERESTS IN INSURANCE POLICIES OR ANNUITIES

 74. CAUSES OF ACTION AGAINST THIRD PARTIES (WHETHER OR NOT A LAWSUIT HAS
     BEEN FILED)

 75. OTHER CONTINGENT AND UNLIQUIDATED CLAIMS OR CAUSES OF ACTION OF EVERY
     NATURE, INCLUDING COUNTERCLAIMS OF THE DEBTOR AND RIGHTS TO SET OFF
     CLAIMS

 76. TRUSTS, EQUITABLE OR FUTURE INTERESTS IN PROPERTY

 77. OTHER PROPERTY OF ANY KIND NOT ALREADY LISTED EXAMPLES: SEASON TICKETS,
     COUNTRY CLUB MEMBERSHIP

 78    Total of Part 11.
       ADD LINES 71 THROUGH 77. COPY THE TOTAL TO LINE 90.                                                                                                    NOT APPLICABLE


 79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
     þ No
     ¨ Yes

 Part 12: Summary


 In Part 12 copy all of the totals from the earlier parts of the form.


          Type of property                                                                       Current value of                  Current value of real
                                                                                                 personal property                 property
 80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                  $840,389.92

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                        $3,167,820.10


 83. Investments. Copy line 17, Part 4.


 84. Inventory. Copy line 23, Part 5.


 85. Farming and fishing-related assets. Copy line 33, Part 6.


 86. Office furniture, fixtures, and equipment; and collectibles.                                         UNKNOWN
     Copy line 43, Part 7.

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                            UNKNOWN

 88. Real property. Copy line 56, Part 9. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .è              UNKNOWN


 89. Intangibles and intellectual property. Copy line 66, Part 10.                                        UNKNOWN

 90. All other assets. Copy line 78, Part 11.                                             +

 91. Total. Add lines 80 through 90 for each column. . . . . . . . . 91a.                              $4,008,210.02         + 91b.           UNKNOWN




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 92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   $4,008,210.02




Official Form 206A/B                                       Schedule A/B: Assets - Real and Personal Property                                                     Page 9 of 9
                        Case 20-12814-mkn                  Doc 551         Entered 07/28/20 16:38:53                    Page 26 of 142
  Fill in this information to identify the case:

 Debtor        PetersenDean Hawaii LLC


 United States Bankruptcy Court for the: Nevada


 Case number         20-12823-mkn
  (if known)
                                                                                                                                            ¨ Check if this is an
                                                                                                                                               amended filing

 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                 04/19

 Be as complete and accurate as possible.

 1.    1. Do any creditors have claims secured by debtor’s property?
       ¨       No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
       þ       Yes. Fill in all of the information below.

  Part 1:       List All Creditors with Secured Claims

 2.    List in alphabetical order all creditors who have secured claims. If a creditor has more than           Column A                     Column B
       one secured claim, list the creditor separately for each claim.                                         Amount of claim              Value of collateral that
                                                                                                               Do not deduct the value of   supports this claim
                                                                                                               collateral.

 2.1            Creditor’s name                                   Describe debtor’s property that is                   $28,447,370.00            UNKNOWN
                ACF FINCO I LP                                    subject to a lien
                                                                  ALL ASSETS
                Creditor's mailing address
                560 WHITE PLAINS RD                               Describe the lien
                TARRYTOWN, NY 10591                               LIEN ON ALL ASSETS
                Creditor's email address                          Is the creditor an insider or related
                                                                  party?
                Date or dates debt was incurred
                                                                  þ No
                12/24/2019                                        ¨ Yes
                Last 4 digits of account number:              Is anyone else liable on this claim?
                                                              þ No
                Do multiple creditors have an interest in the
                                                              ¨ Yes
                same property?
                þ No                                          As of the petition filing date, the claim is:
                ¨ Yes                                         Check all that apply.
                                                              ¨ Contingent
                                                              ¨ Unliquidated
                                                              þ Disputed

  3.      Total of the dollar amounts from Part 1, Column A, including the amounts from the                            $28,447,370.00
          Additional Page, if any.




Official Form 206D                              Schedule D: Creditors Who Have Claims Secured by Property                                               Page 1 of 1
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  Fill in this information to identify the case:

 Debtor        PetersenDean Hawaii LLC


 United States Bankruptcy Court for the: Nevada


 Case number         20-12823-mkn
  (if known)
                                                                                                                                 ¨ Check if this is an
                                                                                                                                    amended filing

 Official Form 206E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                             04/19

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
 unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
 on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
 (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
 the Additional Page of that Part included in this form.


  Part 1: List All Creditors with PRIORITY Unsecured Claims


 1.    Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
       ¨ No. Go to Part 2.
       þ Yes. Go to line 2.
 2.    List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
       3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                              Total claim           Priority amount

 2.1            Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $35.00                 $35.00
                                                               Check all that apply.
                DAWSEN YONTING
                39300 CIVIC CENTER DR.                         þ Contingent
                SUITE 300                                      þ Unliquidated
                FREMONT, CA 94538                              þ Disputed
                Date or dates debt was incurred                Basis for the claim:
                                                               EMPLOYEE PAYABLE
                VARIOUS
                                                               Is the claim subject to offset?
                Last 4 digits of account number:               þ No
                Specify Code subsection of PRIORITY            ¨ Yes
                unsecured claim: 11 U.S.C. § 507(a) ()

 2.2            Priority creditor’s name and mailing address As of the petition filing date, the claim is:              $20.02                 $20.02
                                                               Check all that apply.
                GABE TORRES
                39300 CIVIC CENTER DR.                         þ Contingent
                SUITE 300                                      þ Unliquidated
                FREMONT, CA 94538                              þ Disputed
                Date or dates debt was incurred                Basis for the claim:
                                                               EMPLOYEE PAYABLE
                VARIOUS
                                                               Is the claim subject to offset?
                Last 4 digits of account number:               þ No
                Specify Code subsection of PRIORITY            ¨ Yes
                unsecured claim: 11 U.S.C. § 507(a) ()

 2.3            Priority creditor’s name and mailing address As of the petition filing date, the claim is:         UNKNOWN                UNKNOWN
                                                               Check all that apply.
                INTERNAL REVENUE SERVICE LOCAL
                OFFICE                                         þ Contingent
                600 ARCH STREET                                þ Unliquidated
                PHILADELPHIA, PA 19106                         ¨ Disputed
                Date or dates debt was incurred                Basis for the claim:
                                                               TAXES PAYABLE
                VARIOUS
                                                               Is the claim subject to offset?
                Last 4 digits of account number:               þ No
                Specify Code subsection of PRIORITY            ¨ Yes
                unsecured claim: 11 U.S.C. § 507(a) ()




Official Form 206E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 1 of 66
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  Part 1:   Additional Page

                                                                                                                 Total claim            Priority amount

 2.4        Priority creditor’s name and mailing address As of the petition filing date, the claim is:                       $95.11                $95.11
                                                            Check all that apply.
            LEIGHANN HUGHES
            39300 CIVIC CENTER DR.                          þ Contingent
            SUITE 300                                       þ Unliquidated
            FREMONT, CA 94538                               þ Disputed
            Date or dates debt was incurred                 Basis for the claim:
                                                            EMPLOYEE PAYABLE
            VARIOUS
                                                            Is the claim subject to offset?
            Last 4 digits of account number:                þ No
            Specify Code subsection of PRIORITY             ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) ()

 2.5        Priority creditor’s name and mailing address As of the petition filing date, the claim is:                  $1,000.00              $1,000.00
                                                            Check all that apply.
            LUIS BONILLA
            39300 CIVIC CENTER DR.                          þ Contingent
            SUITE 300                                       þ Unliquidated
            FREMONT, CA 94538                               þ Disputed
            Date or dates debt was incurred                 Basis for the claim:
                                                            EMPLOYEE PAYABLE
            VARIOUS
                                                            Is the claim subject to offset?
            Last 4 digits of account number:                þ No
            Specify Code subsection of PRIORITY             ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) ()

 2.6        Priority creditor’s name and mailing address As of the petition filing date, the claim is:                 $20,000.00             $20,000.00
                                                            Check all that apply.
            TIMOTHY E. LEIST
            39300 CIVIC CENTER DR.                          þ Contingent
            SUITE 300                                       þ Unliquidated
            FREMONT, CA 94538                               þ Disputed
            Date or dates debt was incurred                 Basis for the claim:
                                                            EMPLOYEE PAYABLE
            VARIOUS
                                                            Is the claim subject to offset?
            Last 4 digits of account number:                þ No
            Specify Code subsection of PRIORITY             ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) ()

  Part 2:   List All Creditors with NONPRIORITY Unsecured Claims


 3.    List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
       unsecured claims, fill out and attach the Additional Page of Part 2.

                                                                                                                                      Amount of claim

 3.1        Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:                     UNKNOWN
                                                                             Check all that apply.
            220 LALO PLACE, LLC
            661 KAAPPUNI PLACE                                               þ Contingent
            KIHEI, HI 96753                                                  þ Unliquidated
                                                                             þ Disputed
            Date or dates debt was incurred
                                                                             Basis for the claim:
            VARIOUS                                                          LEASE OBLIGATION
            Last 4 digits of account number:                                 Is the claim subject to offset?
                                                                             þ No
                                                                             ¨ Yes




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  Part 2:   Additional Page

                                                                                                                       Amount of claim

 3.2        Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $73,271.70
                                                                       Check all that apply.
            ABC SUPPLY CO INC.
            ATTN JEFF ARMSTRONG, ASST GEN COUNSEL                      þ Contingent
            ONE ABC PARKWAY, SUITE 919                                 þ Unliquidated
            BELOIT, WI 53511-4466                                      þ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.3        Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $20,801.96
                                                                       Check all that apply.
            ACIERTO, PHILLIP
            94-1199 KEAHUA LOOP                                        þ Contingent
            WAIPAHU, HI 96797                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.4        Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $59,148.11
                                                                       Check all that apply.
            AD LEVERAGE
            ATTN ANDREW PALOSI, PRESIDENT                              þ Contingent
            1329 E THOUSAND OAKS BLVD SUITE 200                        þ Unliquidated
            THOUSAND OAKS, CA 91362                                    þ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.5        Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
            ADAMS, MIKE
            40 KANE ROAD                                               þ Contingent
            HAIKU, HI 96708                                            þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.6        Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $115.36
                                                                       Check all that apply.
            ADP LLC
            PO BOX 31001-1874                                          þ Contingent
            PASADENA, CA 91110-1874                                    þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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  Part 2:   Additional Page

                                                                                                                       Amount of claim

 3.7        Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $2,546.59
                                                                       Check all that apply.
            AFFORDABLE PRODUCTS LLC
            PO BOX 3446                                                þ Contingent
            MILILANI, HI 96789                                         þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.8        Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $5,105.84
                                                                       Check all that apply.
            AFLAC
            1932 WYNNTON RD.                                           þ Contingent
            COLUMBUS, GA 31999-7000                                    þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.9        Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                 $37.17
                                                                       Check all that apply.
            AIRGAS USA LLC
            PO BOX 102289                                              þ Contingent
            PASADENA, CA 91189-2289                                    þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.10       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $625.00
                                                                       Check all that apply.
            AKAMAI LAND SURVEYING, INC.
            P.O. BOX 1748                                              þ Contingent
            MAKAWAO, HI 96768                                          þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.11       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $34,435.71
                                                                       Check all that apply.
            ALIPIO, THOMAS
            91-6503 KAPOLEI PKWY                                       þ Contingent
            EWA BEACH, HI 96706                                        þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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  Part 2:   Additional Page

                                                                                                                       Amount of claim

 3.12       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
            ALLAN NISHIMURA
            98-827 KAAHELE STREET                                      þ Contingent
            AIEA, HI 96701                                             þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.13       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $127,371.82
                                                                       Check all that apply.
            ALPHA SUPPLY, LLC - MAUI BRANCH
            DBA ALPHA ELECTRIC SUPPLY COMPANY                          þ Contingent
            343 KEA STREET                                             þ Unliquidated
            KAILUA-KONA, HI 96732                                      þ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.14       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $20,000.00
                                                                       Check all that apply.
            ALTA HOLDINGS, LLC
            2010 MAIN ST, STE 650                                      þ Contingent
            IRVINE, CA 92614                                           þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.15       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $22,717.76
                                                                       Check all that apply.
            ALTENHOF, BRUCE
            94-1061 ANANIA CIRCLE                                      þ Contingent
            MILILANI, HI 96789                                         þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.16       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $260,900.87
                                                                       Check all that apply.
            AMERICAN EXPRESS
            PO BOX 650448                                              þ Contingent
            DALLAS, TX 75265-0448                                      þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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  Part 2:   Additional Page

                                                                                                                       Amount of claim

                                                                   ADDITION
 3.17       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            ARRISGADO, FRANCOISE
            3362 CAMPBELL AVENUE                                       þ Contingent
            HONOLULU, HI 96815                                         þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.18       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $30,103.20
                                                                       Check all that apply.
            ASHMORE, DOUGLAS
            161353 37TH AVE                                            þ Contingent
            KEAAU, HI 96749                                            þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.19       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $5,700.00
                                                                       Check all that apply.
            ASSOCIATED BUILDERS AND CONTRACTORS
            HAWAII CHAPTER                                             þ Contingent
            1375 DILLINGHAM BLVD., SUITE 200                           þ Unliquidated
            HONOLULU, HI 96817                                         þ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.20       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $47,003.40
                                                                       Check all that apply.
            AVERNA, ERICK
            221 WAILAU PLACE                                           þ Contingent
            LAHAINA, HI 96761                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.21       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $2,280.00
                                                                       Check all that apply.
            AXA EQUITABLE
            PO BOX 8004                                                þ Contingent
            BOSTON, MA 02266                                           þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

                                                                   ADDITION
 3.22       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $34,649.55
                                                                       Check all that apply.
            BAKER, DAVID H
            94101 AUHAKU PLACE                                         þ Contingent
            MILILANI, HI 96789                                         þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.23       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $10,125.50
                                                                       Check all that apply.
            BALDONADO, SILVER
            94-1045 KALOLI LOOP                                        þ Contingent
            WAIPAHU, HI 96797                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.24       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
            BALDWIN, EDWARD
            30 WELINA PLACE                                            þ Contingent
            MAKAWAO, HI 96768                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.25       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $2,120.79
                                                                       Check all that apply.
            BARRERA, JERRY
            190 ELEU PLACE                                             þ Contingent
            KIHEI, HI 96753                                            þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.26       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $276,010.02
                                                                       Check all that apply.
            BEACON SALES ACQUISITION
            PO BOX 740914                                              þ Contingent
            LOS ANGELES, CA 90074                                      þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

                                                                   ADDITION
 3.27       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $48,455.57
                                                                       Check all that apply.
            BEHRENS, JAY
            66-159 ACHIU LN                                            þ Contingent
            HALEIWA, HI 96712                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.28       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $56,438.40
                                                                       Check all that apply.
            BELTRAN, NORMA
            94-1044 PAIWA PLACE                                        þ Contingent
            WAIPAHU, HI 96797                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.29       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $159.85
                                                                       Check all that apply.
            BOARD OF WATER SUPPLY
            630 SOUTH BERETANIA ST.                                    þ Contingent
            HONOLULU, HI 96843                                         þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.30       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
            BOLAND, EMMA
            290 PORTLOCK ROAD                                          þ Contingent
            HONOLULU, HI 96825                                         þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.31       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $16,750.00
                                                                       Check all that apply.
            BROWN, NICKI
            87-1839 MOKILA ST                                          þ Contingent
            WAIANAE, HI 96792                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

 3.32       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,350.00
                                                                       Check all that apply.
            BTC SERVICES AND REPAIR
            PO BOX 3120                                                þ Contingent
            WAILUKU, HI 96793                                          þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.33       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $8,571.76
                                                                       Check all that apply.
            BUENAVISTA, ANTHONY DENNIS
            92-648 MEHANI STREET                                       þ Contingent
            KAPOLEI, HI 96707                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.34       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $17,907.57
                                                                       Check all that apply.
            BURKHALTER, BERN
            290 FRONT STREET                                           þ Contingent
            LAHAINA, HI 96761                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.35       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
            BUSINGER, STEVEN
            4837 SIERRA DRIVE                                          þ Contingent
            HONOLULU, HI 96816                                         þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.36       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $29,178.73
                                                                       Check all that apply.
            CACHE VALLEY ELECTRIC CO.
            PO BOX 405                                                 þ Contingent
            LOGAN, UT 84323-0405                                       þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                   ADDITION
 3.37       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $38,614.27
                                                                       Check all that apply.
            CALHAU, PATRICIA
            45-132 MOKULELE DR                                         þ Contingent
            KANEOHE, HI 96744                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.38       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $17,500.00
                                                                       Check all that apply.
            CALHAU, PATRICIA
            45-132 MOKULELE DR                                         þ Contingent
            KANEOHE, HI 96744                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.39       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
            CARTER, ELIZABETH
            171 MAOLI PLACE                                            þ Contingent
            PAIA, HI 96779                                             þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.40       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $744.82
                                                                       Check all that apply.
            CASE LOMBARDI & PETTIT CLIENT TRUST
            MAUKA TOWER, PACIFIC GUARDIAN CTR                          þ Contingent
            737 BISHOP ST, STE 2600                                    þ Unliquidated
            HONOLULU, HI 96813-3283                                    þ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.41       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $24,596.58
                                                                       Check all that apply.
            CASTAGNETTI, GENE
            119 AIKAPA PL                                              þ Contingent
            KAILUA, HI 96734                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

                                                                   ADDITION
 3.42       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            CATRACCHIA, ROSLYN
            343 NENUE STREET                                           þ Contingent
            HONOLULU, HI 96821                                         þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.43       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            CATRACCHIA, ROSLYN
            343 NENUE STREET                                           þ Contingent
            HONOLULU, HI 96821                                         þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.44       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $5,058.73
                                                                       Check all that apply.
            CCH - COURIER CORPORATION OF HAWAII
            PO BOX 30507                                               þ Contingent
            HONOLULU, HI 96820                                         þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.45       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $3,766.64
                                                                       Check all that apply.
            CED GREENTECH
            PO BOX 847080                                              þ Contingent
            LOS ANGELES, CA 90084-7080                                 þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.46       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            CENTEIO, WILLIAM
            84979 MOAELEHUA ST                                         þ Contingent
            WAIANAE, HI 96792                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

 3.47       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $108.34
                                                                       Check all that apply.
            CENTRAL MAUI PROPANE
            P.O.BOX 2049                                               þ Contingent
            KIHEI, HI 96753                                            þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.48       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
            CHANG, BEVERLY
            45-722 LANIPOLA PLACE                                      þ Contingent
            KANEOHE, HI 96744                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.49       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $3,364.92
                                                                       Check all that apply.
            CHING, EDRIC
            1435 PUEO STREET                                           þ Contingent
            HONOLULU, HI 96816                                         þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.50       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $8,000.00
                                                                       Check all that apply.
            CHOCK, GORDON
            1097 KAWELOKA ST                                           þ Contingent
            PEARL CITY, HI 96782                                       þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.51       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $523.56
                                                                       Check all that apply.
            CKM ARCHITECTS, LLC
            98-829 LEIALII STREET                                      þ Contingent
            AIEA, HI 96701                                             þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

                                                                   ADDITION
 3.52       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $6,459.00
                                                                       Check all that apply.
            CLARK, RICHARD
            2503 PAUOA RD                                              þ Contingent
            HONOLULU, HI 96813                                         þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.53       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $3,905.00
                                                                       Check all that apply.
            CLEMENT, HARRIET
            914 19TH AVE                                               þ Contingent
            HONOLULU, HI 96816                                         þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.54       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $3,609.39
                                                                       Check all that apply.
            COLOMA, VELMA
            364 S LEHUA STREET                                         þ Contingent
            KAHULUI, HI 96732                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.55       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $5,401.58
                                                                       Check all that apply.
            COMPLETE ACCOUNTING SOLUTIONS LLC
            4450 KULA HWY., 1263                                       þ Contingent
            KULA, HI 96790                                             þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.56       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $364.66
                                                                       Check all that apply.
            COSCO, INC.
            PO BOX 1300                                                þ Contingent
            HONOLULU, HI 96819                                         þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

 3.57       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $496.38
                                                                       Check all that apply.
            COVERALL NORTH AMERICA INC
            2955 MOMENTUM PLACE                                        þ Contingent
            CHICAGO, IL 60689                                          þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.58       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
            CULVER, PHILLIP
            79 MOLEHULEHU LOOP                                         þ Contingent
            KAHULUI, HI 96732                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   DELETED
 3.59       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            CUTTER HONOLULU INC
            94-152 LEONUI ST                                           þ Contingent
            WAIPAHU, HI 96797                                          þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.60       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            DAVID, NICOLE
            269 KOMO MAI STREET                                        þ Contingent
            LAHAINA, HI 96761                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.61       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $4,757.03
                                                                       Check all that apply.
            DAVID'S FENCING, INC.
            94-079 LEOKANE ST.                                         þ Contingent
            WAIPAHU, HI 96797                                          þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

                                                                   ADDITION
 3.62       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
            D'AVIRRO, DAVID
            551 HALELA STREET                                          þ Contingent
            KAILUA, HI 96734                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.63       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            DEARBORN, THOMAS
            2727 KAUHALE STREET                                        þ Contingent
            KIHEI, HI 96753                                            þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.64       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $51,997.50
                                                                       Check all that apply.
            DECOITE, DONALD
            481 HAIKU RD                                               þ Contingent
            HAIKU, HI 96708                                            þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.65       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $929.09
                                                                       Check all that apply.
            DELUXE
            P.O. BOX 4656                                              þ Contingent
            CAROL STREAM, IL 60197-4656                                þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.66       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            DEMELLO, DORI
            85-1429 WAIANAE VALLEY ROAD                                þ Contingent
            WAIANAE, HI 96792                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

                                                                   ADDITION
 3.67       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $38,656.50
                                                                       Check all that apply.
            DENNISON, DEBORAH
            108 ULUMALU ROAD                                           þ Contingent
            HAIKU, HI 96708                                            þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.68       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $47,740.65
                                                                       Check all that apply.
            DEPONTE, WALTIN
            94-1092 PULELO STREET                                      þ Contingent
            WAIPAHU, HI 96797                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.69       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $41,232.88
                                                                       Check all that apply.
            DINERS CLUB (4840)
            PO BOX 5732                                                þ Contingent
            CAROL STREAM, IL 60197-5732                                þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.70       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $49,049.43
                                                                       Check all that apply.
            DIRKSEN, BILLY
            3130 AKALA DRIVE                                           þ Contingent
            KIHEI, HI 96753                                            þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.71       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $537.80
                                                                       Check all that apply.
            DOLPHIN GRAPHICS
            17200 FOOTHILL BLVD.                                       þ Contingent
            CASTRO VALLEY, CA 94546                                    þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

                                                                   ADDITION
 3.72       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $36,849.71
                                                                       Check all that apply.
            DUFFER, ROBERT
            95-249 LEALEA PL                                           þ Contingent
            MILILANI, HI 96789                                         þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.73       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            DURANTE, NANI
            94-135 PUNANE LOOP                                         þ Contingent
            MILILANI, HI 96789                                         þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.74       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $2,464.00
                                                                       Check all that apply.
            EAGLE VIEW TECHNOLOGIES, INC.
            DEPT CH 16524                                              þ Contingent
            PALATINE, IL 60055-6524                                    þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.75       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $500.00
                                                                       Check all that apply.
            EDGEWOOD PARTNERS INSURANCE CENTER
            PO BOX 511389                                              þ Contingent
            LOS ANGELES, CA 90517-9944                                 þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.76       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $4,749.47
                                                                       Check all that apply.
            ELECTRATECH SERVICES LLC
            6386 AHELE DRIVE                                           þ Contingent
            KAPAA, HI 96746                                            þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

                                                                   ADDITION
 3.77       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            ENDICOTT, JOHN S
            355 LAPA PLACE                                             þ Contingent
            KAILUA, HI 96734                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.78       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,584.73
                                                                       Check all that apply.
            ENTERPRISE FM TRUST
            ENTERPRISE FLEET MGMT CUST BILLING                         þ Contingent
            PO BOX 800089                                              þ Unliquidated
            KANSAS CITY, MO 64180-0089                                 þ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.79       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            EVANGELISTA, MADELINE
            958 E ONAHA PLACE                                          þ Contingent
            WAILUKU, HI 96793                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.80       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $5,219.59
                                                                       Check all that apply.
            FAMILY CUSTOM DESIGNS
            1020 NEVADA ST., SUITE 203                                 þ Contingent
            REDLANDS, CA 92374                                         þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.81       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $3,000.58
                                                                       Check all that apply.
            FASTENAL COMPANY
            ATTN: ACCOUNTS REC                                         þ Contingent
            PO BOX 1286                                                þ Unliquidated
            WINONA, MN 55987-1286                                      þ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

 3.82       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $296.35
                                                                       Check all that apply.
            FEDEX
            PO BOX 660481                                              þ Contingent
            DALLAS, TX 75266                                           þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.83       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $28,643.52
                                                                       Check all that apply.
            FERREIRA, FRANCES
            1258 WANAKA STREET                                         þ Contingent
            HONOLULU, HI 96818                                         þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.84       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $521.61
                                                                       Check all that apply.
            FIRST HAWAII BANK
            20 WEST KAAHUMANU AVENUE                                   þ Contingent
            KAHULUI BANKING CENTER                                     þ Unliquidated
            KAHULUI, HI 96732                                          þ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.85       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $332.74
                                                                       Check all that apply.
            FIRST HAWAII BANK
            20 WEST KAAHUMANU AVENUE                                   þ Contingent
            KAHULUI BANKING CENTER                                     þ Unliquidated
            KAHULUI, HI 96732                                          þ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.86       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $304.37
                                                                       Check all that apply.
            FISHER HAWAII
            950 MAPUNAPUNA ST.                                         þ Contingent
            HONOLULU, HI 96819                                         þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

 3.87       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $465.32
                                                                       Check all that apply.
            FUSION ELECTRIC SUPPLY LLC
            59 LAA STREET, UNIT 61-B                                   þ Contingent
            KAHULUI, HI 96732                                          þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.88       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $3,369.80
                                                                       Check all that apply.
            GABRIELSON, BRIAN
            3403 AKALA DRIVE                                           þ Contingent
            KIHEI, HI 96753                                            þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.89       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $46,000.00
                                                                       Check all that apply.
            GARCES, MELVYN
            92-760 NOHOPAA ST                                          þ Contingent
            KAPOLEI, HI 96707                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.90       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            GARCIA, KEVIN
            92-1206 OLANA ST APT 1                                     þ Contingent
            KAPOLEI, HI 96707                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.91       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
            GARCIA, KEVIN
            92-1206 OLANI STREET UNIT 1                                þ Contingent
            KAPOLEI, HI 96707                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

 3.92       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $740.13
                                                                       Check all that apply.
            GARDEN ISLE DISPOSAL, INC.
            2666 NIUMALU ROAD                                          þ Contingent
            LIHUE, HI 96766                                            þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.93       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            GASTON, MICHAEL
            550 KAMA'AHA AVE UNIT 1205                                 þ Contingent
            KAPOLEI, HI 96707                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.94       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            GASTON, MICHAEL
            550 KAMA'AHA AVE UNIT 1205                                 þ Contingent
            KAPOLEI, HI 96707                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.95       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $3,013.09
                                                                       Check all that apply.
            GASTON, TERESA
            91-925 IKULANI STREET                                      þ Contingent
            KAPOLEI, HI 96706                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.96       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            GINES, GIANCARLO
            84-711 LAHAINA ST                                          þ Contingent
            WAIANAE, HI 96792                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

                                                                   ADDITION
 3.97       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            GODDARD, ANGELA
            72 HULUHULU PLACE                                          þ Contingent
            KAHULUI, HI 96732                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.98       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
            GOMES, GRACE
            822 KUHIO STREET                                           þ Contingent
            WAILUKU, HI 96793                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.99       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $3,265.95
                                                                       Check all that apply.
            GOMES, JAMES
            8640 KULA HIGHWAY                                          þ Contingent
            KULA, HI 96790                                             þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.100      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $39,249.32
                                                                       Check all that apply.
            GONSALVES, JAYZLYN-ALEIGHA
            95-204 HOAKEA PLACE                                        þ Contingent
            MILILANI, HI 96789                                         þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.101      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
            GONSALVES, TAMMY G
            410 KAHIKI ST                                              þ Contingent
            KAHULUI, HI 96732                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes


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                                                                                                                       Amount of claim

                                                                   ADDITION
 3.102      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            GONSALVES, TAMMY G
            410 KAHIKI ST                                              þ Contingent
            KAHULUI, HI 96732                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.103      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            GOO, KAREN
            531-A JUDD ST                                              þ Contingent
            HONOLULU, HI 96817                                         þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.104      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $2,111.49
                                                                       Check all that apply.
            GOODYEAR TIRE & RUBBER CO.
            121 ALAMAHA STREET                                         þ Contingent
            KAHULUI, HI 96732                                          þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.105      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $214.13
                                                                       Check all that apply.
            GOODYEAR TIRE & RUBBER CO.
            121 ALAMAHA STREET                                         þ Contingent
            KAHULUI, HI 96732                                          þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.106      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            GOTO, EDWIN
            94-218 KIAHA LOOP                                          þ Contingent
            MILILANI, HI 96789                                         þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

                                                                   ADDITION
 3.107      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $29,629.88
                                                                       Check all that apply.
            GOYA, KELLI
            1343 HELE ST                                               þ Contingent
            KAILUA, HI 96734                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.108      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
            GRIFFIN, CHINTANA
            160 LUNALILO HOME ROAD                                     þ Contingent
            HONOLULU, HI 96825                                         þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.109      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            HAGA, HAROLD
            94-1424 KAHULI STREET                                      þ Contingent
            WAIPAHU, HI 96797                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.110      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $3,926.72
                                                                       Check all that apply.
            HAGGITH'S STRUCTURAL SCAN
            47-338 MAWAENA ST.                                         þ Contingent
            KANEOHE, HI 96744                                          þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.111      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $22,999.10
                                                                       Check all that apply.
            HALAWA HOUSE OF THE SUN LLC
            220 LALO STREET, SUITE 1                                   þ Contingent
            KAHULUI, HI 96732                                          þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

 3.112      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            UNKNOWN
                                                                       Check all that apply.
            HALAWA HOUSE OF THE SUN, LLC
            661 KAAPUNI PLACE                                          þ Contingent
            KIHEI, HI 96753                                            þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    LEASE OBLIGATION
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.113      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            HARPER, LAN
            722 ALULIKE STREET                                         þ Contingent
            KIHEI, HI 96753                                            þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.114      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $232.31
                                                                       Check all that apply.
            HAWAII BLUEPRINT & SUPPLY
            575 COOKE ST. SUITE C                                      þ Contingent
            HONOLULU, HI 96813                                         þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.115      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $85,626.76
                                                                       Check all that apply.
            HAWAII MEDICAL SERVICE ASSOCIATION
            PO BOX 29810                                               þ Contingent
            HONOLULU, HI 96820-2210                                    þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.116      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $806.93
                                                                       Check all that apply.
            HAWAII NUT & BOLT, INC
            905 AHUA STREET                                            þ Contingent
            HONOLULU, HI 96819                                         þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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 3.117      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $2,089.93
                                                                       Check all that apply.
            HAWAII PETROLEUM INC
            385 HUKILIKE ST. SUITE 101                                 þ Contingent
            KAHULUI, HI 96732                                          þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.118      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,500.00
                                                                       Check all that apply.
            HAWAII SOLAR ENERGY ASSOCIATION
            PO BOX 37070                                               þ Contingent
            HONOLULU, HI 96819                                         þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   DELETED
 3.119      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            HAWAII TRUCK UPFITTERS
            98-025 HEKAHA ST, BLDG 2 UNIT 8                            þ Contingent
            AIEA, HI 96701                                             þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.120      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,666.16
                                                                       Check all that apply.
            HAWAIIAN ELECTRIC COMPANY
            P.O. BOX 29570                                             þ Contingent
            HONOLULU, HI 96820-1970                                    þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    UTILITY
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.121      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $7,073.39
                                                                       Check all that apply.
            HAWAIIAN TELCOM
            624 S GRAND AVE                                            þ Contingent
            LOS ANGELES, CA 90017                                      þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

                                                                   ADDITION
 3.122      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $30,433.36
                                                                       Check all that apply.
            HAYASHIBARA, JACQUELINE
            767 HAHAIONE STREET                                        þ Contingent
            HONOLULU, HI 96825                                         þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.123      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,070.58
                                                                       Check all that apply.
            HD SUPPLY CONSTR & INDUST-WHITE CAP
            PO BOX 6040                                                þ Contingent
            CYPRESS, CA 90630-0040                                     þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.124      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
            HEE, AL
            1155 AKIPOLA STREET                                        þ Contingent
            KAILUA, HI 96734                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.125      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $6,663.61
                                                                       Check all that apply.
            HEE, PATRICIA
            6482 HAWAII KAI DRIVE                                      þ Contingent
            HONOLULU, HI 96825                                         þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.126      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $2,835.67
                                                                       Check all that apply.
            HERC RENTALS, INC.
            PO BOX 936257                                              þ Contingent
            ATLANTA, GA 31193                                          þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

                                                                   ADDITION
 3.127      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            HERSTUS, CESTMIR
            657 OLINDA ROAD                                            þ Contingent
            MAKAWAO, HI 96768                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.128      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
            HETRICK, DAN
            98-1722 KAAHUMANU #A                                       þ Contingent
            PEARL CITY, HI 96782                                       þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.129      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $200.00
                                                                       Check all that apply.
            HIDERU INOUE
            2411 SAINT LOUIS DRIVE                                     þ Contingent
            HONOLULU, HI 96816                                         þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.130      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $27,701.39
                                                                       Check all that apply.
            HIGA, KATHY
            1239 ALA AOLANI ST                                         þ Contingent
            HONOLULU, HI 96819                                         þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.131      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $111.70
                                                                       Check all that apply.
            HIRERIGHT
            CORPORATE RISK HOLDING III, INC.                           þ Contingent
            PO BOX 847891                                              þ Unliquidated
            DALLAS, TX 75284-7891                                      þ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

                                                                   ADDITION
 3.132      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $20,200.70
                                                                       Check all that apply.
            HOKAMA, DUSTIN
            46-165 LILIPUNA ROAD                                       þ Contingent
            KANEOHE, HI 96744                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.133      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
            HOLLAND, CAROL
            28 HOOLALEI WAY                                            þ Contingent
            KIHEI, HI 96753                                            þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.134      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $317.42
                                                                       Check all that apply.
            HONBLUE INC.
            501 SUMNER STREET 3B1                                      þ Contingent
            HONOLULU, HI 96817                                         þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.135      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,846.52
                                                                       Check all that apply.
            HONOLULU DISPOSAL SERVICE, INC.
            P.O. BOX 30490                                             þ Contingent
            HONOLULU, HI 96820-0490                                    þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.136      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $3,012.30
                                                                       Check all that apply.
            HONSADOR LUMBER LLC
            250 LALO PL.                                               þ Contingent
            KAHULUI, HI 96732                                          þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

                                                                   ADDITION
 3.137      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            HOOPII, CAROL
            301 HOKULANI STREET                                        þ Contingent
            MAKAWAO, HI 96768                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.138      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            HOTTENDORF, NICHOLAS
            45-522 LULUKU RD                                           þ Contingent
            KANEOHE, HI 96744                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.139      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            HOTTENDORF, NICHOLAS
            45-522 LULUKU RD                                           þ Contingent
            KANEOHE, HI 96744                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   DELETED
 3.140      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            HPM BUILDING SUPPLY
            16-166 MELEKAHIWA STREET                                   þ Contingent
            KEAAU, HI 96749                                            þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.141      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            IKEDA, JEAN & MYLES
            79-1014 HONUAINO ST                                        þ Contingent
            KEALAKEKUA, HI 96750                                       þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes


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                                                                                                                       Amount of claim

                                                                   ADDITION
 3.142      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $27,657.90
                                                                       Check all that apply.
            IMAMURA, JANICE
            45-335 NAKULUAI ST                                         þ Contingent
            KANEOHE, HI 96744                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.143      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $3,331.81
                                                                       Check all that apply.
            INCIONG, PERFECTO
            99-516 HALAWA HEIGHTS DRIVE                                þ Contingent
            AIEA, HI 96701                                             þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.144      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $3,331.81
                                                                       Check all that apply.
            INCIONG, PERFECTO
            99-516A HALAWA HEIGHTS DRIVE                               þ Contingent
            AIEA, HI 96701                                             þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.145      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $116,966.14
                                                                       Check all that apply.
            INDEPENDENT ELECTRIC SUPPLY INC
            ATTN KRIS BEAUCHMAN                                        þ Contingent
            2001 MARINA BLVD.                                          þ Unliquidated
            SAN LEANDRO, CA 94577                                      þ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.146      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
            INDIA, MONSOON
            760 S. KIHEI ROAD, #109/110                                þ Contingent
            KIHEI, HI 96753                                            þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

                                                                   ADDITION
 3.147      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
            INGRAM, TOM
            1922 ULANA STREET                                          þ Contingent
            HONOLULU, HI 96819                                         þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.148      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,756.89
                                                                       Check all that apply.
            INTEGRATED BUSINESS SOLUTIONS OF HI
            99-1046 IWAENA STREET                                      þ Contingent
            AIEA, HI 96701                                             þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.149      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $894,962.83
                                                                       Check all that apply.
            INTER ISLAND SOLAR SUPPLY
            ATTN BRIAN GOLD, PRESIDENT                                 þ Contingent
            761 AHUA STREET                                            þ Unliquidated
            HONOLULU, HI 96819                                         þ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.150      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $2,976.00
                                                                       Check all that apply.
            ISHII, SEAN
            334 ELELUPE ROAD                                           þ Contingent
            HONOLULU, HI 96821                                         þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.151      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
            ISHIZUKA, RUSSELL
            94-1018 WAIOLINA ST                                        þ Contingent
            WAIPAHU, HI 96797                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

                                                                   ADDITION
 3.152      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
            ISRAEL III., JOHN
            2451 KAMAILE STREET                                        þ Contingent
            WAILUKU, HI 96793                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.153      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
            ISRAEL III., JOHN
            2451 KAMAILE STREET                                        þ Contingent
            WAILUKU, HI 96793                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.154      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $10,287.05
                                                                       Check all that apply.
            JACKSON, CHUCK
            27 LAUKAHI STREET                                          þ Contingent
            KIHEI, HI 96753                                            þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.155      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            UNKNOWN
                                                                       Check all that apply.
            JAMES P. PETERSEN
            39300 CIVIC CENTER DRIVE                                   þ Contingent
            SUITE 300                                                  þ Unliquidated
            FREMONT, CA 94538                                          ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       PERSONAL GUARANTEE - ROOFING SUPPLY
            VARIOUS                                                    GROUP LLC
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

                                                                   ADDITION
 3.156      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            UNKNOWN
                                                                       Check all that apply.
            JAMES P. PETERSEN
            39300 CIVIC CENTER DRIVE                                   þ Contingent
            SUITE 300                                                  þ Unliquidated
            FREMONT, CA 94538                                          ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       PERSONAL GUARANTEE - INDEPENDENT
            VARIOUS                                                    ELECTRIC SUPPLY AND ONESOURCE
            Last 4 digits of account number:                           DISTRIBUTORS
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.157      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $830.47
                                                                       Check all that apply.
            JOHN H. RUST
            92-6024 KOHI STREET                                        þ Contingent
            KAPOLEI, HI 96707-3302                                     þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.158      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
            JONES, GREGORY
            209 PLANTATION CLUB DRIVE                                  þ Contingent
            LAHAINA, HI 96761                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.159      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $6,645.83
                                                                       Check all that apply.
            K2N CREST
            CREST CONSULTING ENGINEERS P.C.                            þ Contingent
            1010 JORIE BLVD., SUITE 320                                þ Unliquidated
            OAK BROOK, IL 60523                                        þ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.160      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            KAAI, JOHN
            87-179 PUALEILANI STREET                                   þ Contingent
            WAIANAE, HI 96792                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                   ADDITION
 3.161      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $3,276.83
                                                                       Check all that apply.
            KADO, KEL
            91-217 AUKAHI PLACE                                        þ Contingent
            KAPOLEI, HI 96707                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.162      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $10,292.52
                                                                       Check all that apply.
            KAISER PERMANENTE
            P.O. BOX 29080                                             þ Contingent
            HONOLULU, HI 96820-1480                                    þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.163      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $58,432.72
                                                                       Check all that apply.
            KAMIMOTO, LINDA
            95-889 MAKEAUPEA PLACE                                     þ Contingent
            MILILANI, HI 96789                                         þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.164      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $34,261.35
                                                                       Check all that apply.
            KAMINAGA, MICHAEL
            2064 MAHAOO PL                                             þ Contingent
            HONOLULU, HI 96819                                         þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.165      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $39,399.30
                                                                       Check all that apply.
            KANNO, LORA & ROLAND
            45-601 OLAKINO PL                                          þ Contingent
            KANEOHE, HI 96744                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

                                                                   ADDITION
 3.166      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
            KANOA, DONALD
            637 KEOLU DRIVE                                            þ Contingent
            KAILUA, HI 96734                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.167      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $237,997.30
                                                                       Check all that apply.
            KINDRED, JONATHAN
            129 PAHIKI PL                                              þ Contingent
            LAHAINA, HI 96761                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.168      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
            KIYOTOKI, LINDA
            47-101 HENO PLACE                                          þ Contingent
            KANEOHE, HI 96744                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.169      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $88,241.25
                                                                       Check all that apply.
            KLAPPERT, GERALD
            2200 KAMAILE ST                                            þ Contingent
            WAILUKU, HI 96793                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.170      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $50,937.06
                                                                       Check all that apply.
            KOEBERLE, SCOTT
            16-1858 34TH AVE                                           þ Contingent
            KEAAU, HI 96749                                            þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes


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 3.171      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $206.63
                                                                       Check all that apply.
            KONICA MINOLTA BUSINESS SOLUTIONS
            DEPT LA 22988                                              þ Contingent
            PASADENA, CA 91185-2988                                    þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.172      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $2,882.54
                                                                       Check all that apply.
            KRAL, DARYL
            51-278 KAMEHAMEHA HIGHWAY                                  þ Contingent
            KAAAWA, HI 96730                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.173      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $86,948.56
                                                                       Check all that apply.
            KUMAR SHARMA, ROHITASUA
            1334 KANEWAI STREET                                        þ Contingent
            HONOLULU, HI 96816                                         þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.174      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
            LAPIERRE, RUSSELL
            91-491 KUHIALOKO STREET                                    þ Contingent
            EWA BEACH, HI 96706                                        þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.175      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $8,020.67
                                                                       Check all that apply.
            LCA BANK CORPORATION
            1375 DEER VALLEY DR., SUITE 218                            þ Contingent
            PARK CITY, UT 84060                                        þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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 3.176      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $750.00
                                                                       Check all that apply.
            LEILA STRINGER
            94-332 PAUWALA PLACE                                       þ Contingent
            MILILANI, HI 96789                                         þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.177      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $6,047.48
                                                                       Check all that apply.
            LEONG, THOMAS
            91-1108 KAI OIO STREET                                     þ Contingent
            EWA BEACH, HI 96706                                        þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.178      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
            LIKES, JAMES
            1712 HIHIMANU STREET                                       þ Contingent
            KIHEI, HI 96753                                            þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.179      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $29,688.35
                                                                       Check all that apply.
            LINKLATER, JACK
            75-6122 LEA PL                                             þ Contingent
            KAILUA, HI 96740                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.180      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            UNKNOWN
                                                                       Check all that apply.
            LIPT EAST KAAHUMANU AVE
            C/O FESTIVAL MANAGEMENT CORPORATION                        þ Contingent
            5901 CENTURY BLVD., SUITE 700                              þ Unliquidated
            LOS ANGELES, CA 90045                                      þ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       LEASE OBLIGATION
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes




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 3.181      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $24,835.89
                                                                       Check all that apply.
            LIPT EAST KAAHUMANU AVE LLC
            P.O. BOX 740830                                            þ Contingent
            LOS ANGELES, CA 90074-0830                                 þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.182      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
            LIU, JENNIFER
            94-206 KALOLI PL                                           þ Contingent
            WAIPAHU, HI 96797                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.183      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
            LOFARO, MICHAEL
            595 KAIOLA STREET                                          þ Contingent
            KIHEI, HI 96753                                            þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.184      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $27,593.63
                                                                       Check all that apply.
            LOGAN, ALINE
            56-129 KAHANA STREET                                       þ Contingent
            KAHUKU, HI 96731                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.185      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $7,218.63
                                                                       Check all that apply.
            LOGAN, ALINE
            56-129KAHANA STREET                                        þ Contingent
            KAHUKU, HI 96731                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                   ADDITION
 3.186      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $31,706.58
                                                                       Check all that apply.
            LOGAN, BYRON
            56129 KAHANA ST                                            þ Contingent
            KAHUKU, HI 96731                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.187      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            LONG, JOHN
            2634 DATE ST                                               þ Contingent
            HONOLULU, HI 96826                                         þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.188      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            LOW, ELI
            91-1161 KAILEONUI STREET                                   þ Contingent
            EWA BEACH, HI 96706                                        þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.189      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $3,619.76
                                                                       Check all that apply.
            LUM, DOLORES
            1663 ALA MAHAMOE STREET, UNIT 2                            þ Contingent
            HONOLULU, HI 96819                                         þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.190      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            LUMPKIN, GEORGE
            696 KEALAHOU ST                                            þ Contingent
            HONOLULU, HI 96825                                         þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes


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                                                                                                                       Amount of claim

                                                                   ADDITION
 3.191      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $37,358.30
                                                                       Check all that apply.
            LUTZ, CHRISTINE
            95-129 WAILAWA PLACE                                       þ Contingent
            MILILANI, HI 96789                                         þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.192      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            MACARAEG, ELPIDIO
            1753 HOOKUPA STREET                                        þ Contingent
            PEARL CITY, HI 96782                                       þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.193      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $14,703.59
                                                                       Check all that apply.
            MADEMA-SY, JEAN-CLAUDE
            2241 MAHINALANI PLACE                                      þ Contingent
            WAILUKU, HI 96793                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.194      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            MAEDA, CALVIN
            98-1764 KAAHUMANU STREET                                   þ Contingent
            PEARL CITY, HI 96782                                       þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.195      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            MAEDA, CALVIN
            98-1764 KAAHUMANU STREET, #B                               þ Contingent
            PEARL CITY, HI 96782                                       þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes


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                                                                                                                       Amount of claim

                                                                   ADDITION
 3.196      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            MAKAHILAHILA, ROBERT
            750 ULULANI STREET                                         þ Contingent
            KAILUA, HI 96734                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.197      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $29,197.30
                                                                       Check all that apply.
            MAMUAD, EDDIE
            1931 ULANA STREET                                          þ Contingent
            HONOLULU, HI 96819                                         þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.198      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
            MANUEL, JOSEPH
            94-470 KUAHUI STREET                                       þ Contingent
            WAIPAHU, HI 96797                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.199      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            MANUEL, JOSEPH
            94-470 KUAHUI STREET                                       þ Contingent
            WAIPAHU, HI 96797                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.200      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            MARINI, MARK
            565 KAIMAKE LOOP                                           þ Contingent
            KAILUA, HI 96734                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes


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                                                                                                                       Amount of claim

                                                                   ADDITION
 3.201      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            MARINI, MARK
            565 KAIMAKE LOOP                                           þ Contingent
            KAILUA, HI 96734                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.202      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $3,566.00
                                                                       Check all that apply.
            MARK HUMPHRIES
            164 ULUMALU                                                þ Contingent
            HAIKU, HI 96708                                            þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.203      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $39,155.50
                                                                       Check all that apply.
            MARTIN, MICHAEL
            3124 KIKIHI STREET                                         þ Contingent
            KIHEI, HI 96753                                            þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.204      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $44,177.79
                                                                       Check all that apply.
            MATES, STEVEN
            95 KAULANA ST                                              þ Contingent
            HILO, HI 96720                                             þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.205      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $2,019.20
                                                                       Check all that apply.
            MATHIAS, BENNET
            1559 MEYERS ST UNIT G                                      þ Contingent
            HONOLULU, HI 96819                                         þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

 3.206      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                 $90.36
                                                                       Check all that apply.
            MAUI ELECTRIC CO LTD
            PO BOX 310040                                              þ Contingent
            HONOLULU, HI 96820-1040                                    þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.207      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $3,579.70
                                                                       Check all that apply.
            MCCORMICK, BRANDON
            1545 N. ALANIU PL                                          þ Contingent
            KIHEI, HI 96753                                            þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.208      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $37,592.04
                                                                       Check all that apply.
            MCPHEE, DENNIS
            2260 PALOLO AVENUE                                         þ Contingent
            HONOLULU, HI 96816                                         þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.209      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            MENCIAS, PONCIANO
            94-1128 KAHUAILANI STREET                                  þ Contingent
            WAIPAHU, HI 96797                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.210      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
            MEYER, LEILANI
            334 MALUNUI AVENUE                                         þ Contingent
            KAILUA, HI 96734                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

                                                                   ADDITION
 3.211      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $31,296.68
                                                                       Check all that apply.
            MILARE, CHADRICK
            94-1088 HAPALIMA PL                                        þ Contingent
            WAIPAHU, HI 96797                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.212      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            MITSUNAGA, DAVE
            1627 HANAI LOOP                                            þ Contingent
            HONOLULU, HI 96817                                         þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.213      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            MITSUNAGA, DAVE
            1627 HANAI LOOP                                            þ Contingent
            HONOLULU, HI 96817                                         þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.214      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
            MONTGOMERY, MELODY
            61 OHAOHA PLACE                                            þ Contingent
            MAKAWAO, HI 96768                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.215      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            MOORE, JEFFREY
            45-556 MAHINUI ROAD                                        þ Contingent
            KANEOHE, HI 96744                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes


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 3.216      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $500.00
                                                                       Check all that apply.
            MORIKAWA & ASSOCIATES, LLC
            PO BOX 880280                                              þ Contingent
            PUKALANI, HI 96788                                         þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.217      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $41,598.74
                                                                       Check all that apply.
            MORIMOTO, RENEE
            7123 KUKII STREET                                          þ Contingent
            HONOLULU, HI 96825                                         þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.218      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $20,619.00
                                                                       Check all that apply.
            MSC INDUSTRIAL SUPPLY CO.
            PO BOX 78845                                               þ Contingent
            MILWAUKEE, WI 53278-8845                                   þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.219      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            MUELLER, PETER
            75 LUAKAHA CIRCLE                                          þ Contingent
            KIHEI, HI 96753                                            þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.220      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
            MURAKAMI, VERNE
            49 PONLU CIRCLE                                            þ Contingent
            WAILUKU, HI 96793                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

                                                                   ADDITION
 3.221      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $27,418.47
                                                                       Check all that apply.
            NAGASAWA, ROY K
            94-1139 AKEU PLACE                                         þ Contingent
            WAIPAHU, HI 96797                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.222      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $30,968.38
                                                                       Check all that apply.
            NELMS, CHRIS
            243 AIOKOA STREET                                          þ Contingent
            KAILUA, HI 96734                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.223      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $76,744.60
                                                                       Check all that apply.
            NEVADO, MARK
            94-980 AWANANI STREET                                      þ Contingent
            WAIPAHU, HI 96797                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.224      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $20,847.60
                                                                       Check all that apply.
            NORRIE, STEWART
            3480 MALINA PLACE                                          þ Contingent
            KIHEI, HI 96753                                            þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.225      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
            NORRIE, STEWART
            3480 MALINA PLACE                                          þ Contingent
            KIHEI, HI 96753                                            þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes


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                                                                                                                       Amount of claim

                                                                   ADDITION
 3.226      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $93,597.04
                                                                       Check all that apply.
            OGATA, KATHY
            585 PAPALANI STREET                                        þ Contingent
            KAILUA, HI 96734                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.227      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $4,308.90
                                                                       Check all that apply.
            OGATA, KATHY
            585 PAPALANI STREET                                        þ Contingent
            KAILUA, HI 96734                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.228      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $29,200.24
                                                                       Check all that apply.
            OMOTO, NORITA
            2223 KOMO MAI DRIVE                                        þ Contingent
            PEARL CITY, HI 96782                                       þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.229      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $18,707.10
                                                                       Check all that apply.
            O'NEILL, STEVAN
            75-289 MALULANI DR                                         þ Contingent
            KAILUA KONA, HI 96740                                      þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.230      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $7,129.31
                                                                       Check all that apply.
            ONESOURCE DISTRIBUTORS LLC
            ATTN MIKE SMITH, PRESIDENT                                 þ Contingent
            P.O. BOX 740527                                            þ Unliquidated
            LOS ANGELES, CA 90074-0527                                 þ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

                                                                   ADDITION
 3.231      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $28,661.13
                                                                       Check all that apply.
            OSHIRO, DIANA
            95-175 WAILAWA STREET                                      þ Contingent
            MILILANI, HI 96789                                         þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.232      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $11,000.00
                                                                       Check all that apply.
            OSHIRO, RICK
            1773-C EAMES ST                                            þ Contingent
            WAHIWA, HI 96786                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.233      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $750.00
                                                                       Check all that apply.
            OYADOMARI, FELICE
            94-500 MEHE PL                                             þ Contingent
            WAIPAHU, HI 96797                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.234      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $609.99
                                                                       Check all that apply.
            PACE SUPPLY CORP
            PO BOX 6407                                                þ Contingent
            ROHNERT PARK, CA 94927-6407                                þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.235      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $875.00
                                                                       Check all that apply.
            PACIFIC CONCRETE CUTTING & CORING
            PO BOX 662261                                              þ Contingent
            LIHUE, HI 96766                                            þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

                                                                   DELETED
 3.236      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              ($145.80)
                                                                       Check all that apply.
            PACIFIC ENERGY ALTERNATIVES
            955 S. MCCARRAN BLVD                                       þ Contingent
            SPARKS, NV 89503                                           þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.237      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
            PAM ZUSMAN
            1167 KAENA STREET                                          þ Contingent
            KALAHEO, HI 96741                                          þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.238      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            PANGILINAN, JAYSON
            92-1267 PUEONANI STREET                                    þ Contingent
            KAPOLEI, HI 96707                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.239      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $7,629.17
                                                                       Check all that apply.
            PANTALEON, ALLEN R
            92-44 KINOHI PL #46                                        þ Contingent
            KAPOLEI, HI 96707                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.240      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
            PASCUA, ERIN
            34 IA IKI STREET                                           þ Contingent
            WAILUKU, HI 96793                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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 3.241      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,305.00
                                                                       Check all that apply.
            PAULICON CORPORATION
            3463 ASHTON COURT                                          þ Contingent
            PALO ALTO, CA 94306                                        þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.242      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $52,480.42
                                                                       Check all that apply.
            PEROS, ABRAHAM
            4309 OLALOA ST                                             þ Contingent
            HONOLULU, HI 96818                                         þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.243      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $35,428.40
                                                                       Check all that apply.
            PERRY, DANIEL
            73-1044 AHULANI ST                                         þ Contingent
            KAILAUA-KONA, HI 96740                                     þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.244      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,096.35
                                                                       Check all that apply.
            PETEROCK, INC.
            1961 VINEYARD STREET                                       þ Contingent
            WAILUKU, HI 96793                                          þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.245      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $22,645.10
                                                                       Check all that apply.
            PETERSON, MIKE
            73-1077 KUULEIALOHA CIRCLE                                 þ Contingent
            KAILUA, HI 96740                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

                                                                   ADDITION
 3.246      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $7,303.66
                                                                       Check all that apply.
            PETERSON, PAULO
            91-103 KAOPE STREET                                        þ Contingent
            EWA BEACH, HI 96706                                        þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.247      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $56,259.00
                                                                       Check all that apply.
            PETERSON, PAULO
            91-1037 KAOPE STREET                                       þ Contingent
            EWA BEACH, HI 96706                                        þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.248      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $21,834.53
                                                                       Check all that apply.
            PETRO, PAUL
            19 HALINA STREET                                           þ Contingent
            WAILUKU, HI 96732                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.249      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $12,026.39
                                                                       Check all that apply.
            PIONEER ELECTRIC, INC.
            228 MOHONUA PL.                                            þ Contingent
            HONOLULU, HI 96819                                         þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.250      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $593.17
                                                                       Check all that apply.
            PITNEY BOWES
            GLOBAL FINANCIAL SERVICES LLC                              þ Contingent
            P.O. BOX 371887                                            þ Unliquidated
            PITTSBURGH, PA 15250-7887                                  þ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

                                                                   ADDITION
 3.251      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            POLITANO, DAVID
            160 KINOHI LOA LOOP                                        þ Contingent
            WAILUKU, HI 96793                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.252      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $45,706.73
                                                                       Check all that apply.
            PRIVRATSKY, SHAWN
            3264 KEHA DRIVE                                            þ Contingent
            KIHEI, HI 96753                                            þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.253      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $21,256.47
                                                                       Check all that apply.
            R&C ENTERPRISES, LLC
            R&C ROOFING CONTRACTOR                                     þ Contingent
            PO BOX 583                                                 þ Unliquidated
            PEARL CITY, HI 96782                                       þ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.254      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,480.17
                                                                       Check all that apply.
            R&R SERVICES, INC.
            922 AUSTIN LN., BUILDING D                                 þ Contingent
            HONOLULU, HI 96817                                         þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.255      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $4,702.41
                                                                       Check all that apply.
            RAMOS, JUVENAL
            899 N NIHEU PLACE                                          þ Contingent
            LAHAINA, HI 96761                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

                                                                   ADDITION
 3.256      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $8,251.31
                                                                       Check all that apply.
            RAMOS, NOEMI
            94-203 LOAA STREET                                         þ Contingent
            WAIPAHU, HI 96797                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.257      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $33,524.23
                                                                       Check all that apply.
            REGO, ELLEN
            3441 ALA HAUKULU STREET                                    þ Contingent
            HONOLULU, HI 96818                                         þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.258      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $2,526.05
                                                                       Check all that apply.
            RENEAU, ROBBIE
            1876 KOAE PLACE                                            þ Contingent
            WAILUKU, HI 96793                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.259      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $27,207.29
                                                                       Check all that apply.
            RICKS, JOHN
            92-1288 KIKAHA ST #73                                      þ Contingent
            KAPOLEI, HI 96707                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.260      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $16,649.39
                                                                       Check all that apply.
            RITCHIE, JOHN
            15120 HALEAKALA HIGHWAY                                    þ Contingent
            KULA, HI 96790                                             þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes


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                                                                                                                       Amount of claim

                                                                   ADDITION
 3.261      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $33,879.93
                                                                       Check all that apply.
            ROBERTS, DAWN
            688 KUPULAU DR                                             þ Contingent
            KIHEI, HI 96753                                            þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.262      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $72,730.00
                                                                       Check all that apply.
            ROGERS, MATT
            151 MELEKOMO PL                                            þ Contingent
            LAHAINA, HI 96761                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.263      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $18,759.50
                                                                       Check all that apply.
            ROUSSO, STEVEN
            68-1122 NORTH KANIKU DR. APT#70-1                          þ Contingent
            KAMUELA, HI 96743                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.264      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $3,276.83
                                                                       Check all that apply.
            SABALBORO, ROY
            91-1035 KAIPALAOA ST UNIT 1301                             þ Contingent
            EWA BEACH, HI 96706                                        þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.265      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $36,853.65
                                                                       Check all that apply.
            SAKAI, WILLIAM
            101 IIWIPOLENA                                             þ Contingent
            HILO, HI 96720                                             þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes


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                                                                                                                       Amount of claim

                                                                   ADDITION
 3.266      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $28,499.30
                                                                       Check all that apply.
            SAKUMA, ROLAND
            99-810 HULUMANU STREET                                     þ Contingent
            AIEA, HI 96701                                             þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.267      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $38,487.68
                                                                       Check all that apply.
            SANCHEZ, IMELDA
            3040 KAHILI STREET                                         þ Contingent
            HONOLULU, HI 96819                                         þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.268      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $78,870.11
                                                                       Check all that apply.
            SCHWARZ, DANIEL
            661 ULUMALU STREET                                         þ Contingent
            KAILUA, HI 96734                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.269      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
            SHIMAMOTO, CHRIS M
            92-842 KINOHI PLACE #36                                    þ Contingent
            KAPOLEI, HI 96707                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.270      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $29,373.15
                                                                       Check all that apply.
            SHIMAURA, STANLEY
            94-174 HOKUALA PL                                          þ Contingent
            MILILANI, HI 96789                                         þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes


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                                                                                                                       Amount of claim

                                                                   ADDITION
 3.271      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $17,817.38
                                                                       Check all that apply.
            SHIRAISHI, BARNEY
            94-1015 KOLIANA STREET                                     þ Contingent
            WAIPAHU, HI 96797                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.272      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
            SMITH, JAMES
            91-1143 WAIKAPOO STREET                                    þ Contingent
            EWA BEACH, HI 96706                                        þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.273      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $16,626.34
                                                                       Check all that apply.
            SMITH, KAREN
            68-126 AU STREET                                           þ Contingent
            WAIALUA, HI 96791                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.274      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            SOUZA, ALFRED
            45-024 MAHALANI CIRCLE                                     þ Contingent
            KANEOHE, HI 96744                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.275      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $472.11
                                                                       Check all that apply.
            SPECTRUM BUSINESS
            PO BOX 60074                                               þ Contingent
            CITY OF INDUSTRY, CA 91716-0074                            þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

                                                                   ADDITION
 3.276      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $7,303.66
                                                                       Check all that apply.
            SPENCE, RICK
            91-1061 MAKAHAIAKU STREET                                  þ Contingent
            KAPOLEI, HI 96707                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.277      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            STANGELAND, RONALD
            91-1022 KAIKO STREET                                       þ Contingent
            HAIKU, HI 96706                                            þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.278      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $6,493.16
                                                                       Check all that apply.
            STAPLES ADVANTAGE
            PO BOX 660409                                              þ Contingent
            DALLAS, TX 75266-0409                                      þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.279      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
            STEWART, DIANE
            91-115 HALOKO PLACE                                        þ Contingent
            EWA BEACH, HI 96706                                        þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.280      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $37,941.60
                                                                       Check all that apply.
            STRITMATTER, PAUL
            77 ILIAHI WAY UNIT A                                       þ Contingent
            LAHAINA, HI 96761                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

                                                                   ADDITION
 3.281      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $18,659.50
                                                                       Check all that apply.
            SUYAMA, KEN
            1741 MAOI PLACE                                            þ Contingent
            HONOLULU, HI 96816                                         þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.282      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
            SZAKACS, ROBERT
            105 MOLEHULEHU LOOP                                        þ Contingent
            KAHULUI, HI 96732                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.283      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $86,674.60
                                                                       Check all that apply.
            SZYMANSKI, TYTUS
            4317 KAIKOO PLACE                                          þ Contingent
            HONOLULU, HI 96816                                         þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.284      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
            TABIN, BEN & MILAGROS
            91-1003 ALEPA STREET                                       þ Contingent
            KAPOLEI, HI 96707                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.285      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $42,231.90
                                                                       Check all that apply.
            TAKAHASHI, ANNETTE
            905 KAPOHO PLACE                                           þ Contingent
            HONOLULU, HI 96825                                         þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes


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                                                                                                                       Amount of claim

                                                                   ADDITION
 3.286      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $36,515.15
                                                                       Check all that apply.
            TAKARA, BRENT
            91-1001 KEANUI DRIVE #409                                  þ Contingent
            EWA BEACH, HI 96706                                        þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.287      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $48,125.00
                                                                       Check all that apply.
            TAKENAKA, STEVEN
            94-504 KEALOHI WAY                                         þ Contingent
            MILILANI, HI 96789                                         þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.288      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            TAPEC, JAMES
            91-1012 HULUHULU ST                                        þ Contingent
            EWA BEACH, HI 96706                                        þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.289      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $680.62
                                                                       Check all that apply.
            TERMINIX INTERNATIONAL CO., LP
            150 PEABODY PLACE                                          þ Contingent
            MEMPHIS, TN 38103                                          þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.290      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $187,219.38
                                                                       Check all that apply.
            TESLA, INC.
            ATTN JONATHAN BUTLER, DEPUTY GEN COUNSEL                   þ Contingent
            3055 CLEARVIEW WAY                                         þ Unliquidated
            SAN MATEO, CA 94402                                        þ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

 3.291      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $3,505.89
                                                                       Check all that apply.
            TIRES WAREHOUSE HAWAII
            181 DAIRY RD.                                              þ Contingent
            KAHULUI, HI 96732                                          þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.292      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
            TODD, JOHN
            140 UWAPO ROAD                                             þ Contingent
            KIHEI, HI 96753                                            þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.293      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $48,835.10
                                                                       Check all that apply.
            TOMA, SHARON
            95-208 IKAIKA PLACE                                        þ Contingent
            MILILANI, HI 96789                                         þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.294      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $15,440.00
                                                                       Check all that apply.
            TONKEL, JEFF
            92-1134 OLANI STREET #1                                    þ Contingent
            KAPOLEI, HI 96707                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.295      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $2,488.29
                                                                       Check all that apply.
            TORRECER, LILLIAN
            314 PALAMA DRIVE                                           þ Contingent
            KAHULUI, HI 96732                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

                                                                   ADDITION
 3.296      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            TRAFFORD, CLARK
            67-312 KANALU STREET                                       þ Contingent
            WAIALUA, HI 96791                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.297      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
            TRINACTY, MATT
            1492 AKEAKAMAI STREET                                      þ Contingent
            HONOLULU, HI 96816                                         þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.298      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
            ULCAK, CHRIS
            356 LAPA PLACE                                             þ Contingent
            KAILUA, HI 96734                                           þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.299      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            UYEMATSU, DEBBIE
            360C HALELOA PL                                            þ Contingent
            HONOLULU, HI 96821                                         þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.300      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $951.76
                                                                       Check all that apply.
            VALLEY ISLE AUTOMOTIVE INC
            970 B LOWER MAIN ST.                                       þ Contingent
            WAILUKU, HI 96793                                          þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

                                                                   ADDITION
 3.301      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            VAN HOOSER, NATALIE
            95-728 KAULULENA STREET                                    þ Contingent
            MILILANI, HI 96789                                         þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.302      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                     $0.00
                                                                       Check all that apply.
            VAN HOOSER, NATALIE
            95-728 KAULULENA STREET                                    þ Contingent
            MILILANI, HI 96789                                         þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.303      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
            VELEZ, SHANIKA
            94-497 HOLANIKU STREET                                     þ Contingent
            MILILANI, HI 96789                                         þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.304      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $4,356.42
                                                                       Check all that apply.
            VERIZON CONNECT FLEET USA LLC
            PO BOX 15043                                               þ Contingent
            ALBANY, NY 12212-5043                                      þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.305      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $990.65
                                                                       Check all that apply.
            VERNON CENO
            85-1307 KANEILIO STREET                                    þ Contingent
            WAIANAE, HI 96792                                          þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

 3.306      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,669.37
                                                                       Check all that apply.
            VINCI & ASSOCIATES
            175 E. WILBUR ROAD, SUITE 103                              þ Contingent
            THOUSAND OAKS, CA 91360                                    þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.307      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $2,320.24
                                                                       Check all that apply.
            WASTE PRO HAWAII LLC
            301 HANSEN RD                                              þ Contingent
            KAHULUI, HI 96732                                          þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.308      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $4,165.62
                                                                       Check all that apply.
            WEX BANK
            PO BOX 6293                                                þ Contingent
            CAROL STREAM, IL 60197-6293                                þ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.309      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
            WILSON, GUY
            351 KAMA STREET                                            þ Contingent
            WAILUKU, HI 96793                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.310      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $37,119.56
                                                                       Check all that apply.
            WONG, RALEIGH
            7525 NAKALELE STREET                                       þ Contingent
            HONOLULU, HI 96825                                         þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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            (Name)


  Part 2:   Additional Page

                                                                                                                       Amount of claim

                                                                   ADDITION
 3.311      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,000.00
                                                                       Check all that apply.
            WOOD, BOB
            129 HOOLAAU STREET                                         þ Contingent
            WAILUKU, HI 96793                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.312      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $36,858.62
                                                                       Check all that apply.
            WSP USA BUILDINGS INC
            1 PENN PLAZA                                               þ Contingent
            250 W 34TH ST 2ND FL                                       þ Unliquidated
            NEW YORK, NY 10119                                         þ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.313      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $2,581.57
                                                                       Check all that apply.
            YONAHARA, BOB
            1877 KOAE PLACE                                            þ Contingent
            WAILUKU, HI 96793                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.314      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $24,797.22
                                                                       Check all that apply.
            YOSHINAGA, GENE
            44-174 NANAMOANA STREET                                    þ Contingent
            KANEOHE, HI 96744                                          þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

                                                                   ADDITION
 3.315      Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $19,313.74
                                                                       Check all that apply.
            YOUNG, ANTHONY
            2204 APAAKUMA STREET                                       þ Contingent
            PEARL CITY, HI 96782                                       þ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    CUSTOMER CLAIM
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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  Part 2:     Additional Page

                                                                                                                                 Amount of claim

                                                                     ADDITION
 3.316        Nonpriority creditor’s name and mailing address             As of the petition filing date, the claim is:                        $389.28
                                                                          Check all that apply.
              YOUNG, ANTHONY
              2204 APAAKUMA STREET                                        þ Contingent
              PEARL CITY, HI 96782                                        þ Unliquidated
                                                                          ¨ Disputed
              Date or dates debt was incurred
                                                                          Basis for the claim:
              VARIOUS                                                     CUSTOMER CLAIM
              Last 4 digits of account number:                            Is the claim subject to offset?
                                                                          þ No
                                                                          ¨ Yes

    Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims


   5.     Add the amounts of priority and nonpriority unsecured claims.


                                                                                                                      Total of claim amounts


   5a. Total claims from Part 1                                                                             5a.                      $21,150.13



   5b. Total claims from Part 2                                                                             5b.   +               $5,960,692.17



   5c. Total of Parts 1 and 2                                                                               5c.                   $5,981,842.30
       Lines 5a + 5b = 5c.




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                       Case 20-12814-mkn                Doc 551        Entered 07/28/20 16:38:53                     Page 93 of 142
  Fill in this information to identify the case:

 Debtor        PetersenDean Hawaii LLC


 United States Bankruptcy Court for the: Nevada


 Case number         20-12823-mkn
  (if known)
                                                                                                                                      ¨ Check if this is an
                                                                                                                                         amended filing

 Official Form 206G
 Schedule G: Executory Contracts and Unexpired Leases                                                                                                 04/19

 Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1.    Does the debtor have any executory contracts or unexpired leases?
       ¨ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       þ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
         Form 206A/B).

 2.    List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired lease

 2.1            State what the contract    LEASE AGREEMENT - 220 LALO ST,               220 LALO PLACE, LLC
                or lease is for and the    UNIT #1, KAHULUI, HI 96732 - OFFICE          661 KAAPPUNI PLACE
                nature of the debtor’s                                                  KIHEI, HI 96753
                interest
                State the term remaining   9/30/2021

                List the contract number
                of any government
                contract

                                                                         ADDITION
 2.2            State what the contract    Consumer Const. Contract: Acierto, Phillip   Acierto, Phillip
                or lease is for and the    & PD Hawaii; Trans Type: Financed by -       94-1199 Keahua Loop
                nature of the debtor’s     Greensky Reg; Payments Rec'd:                Waipahu, HI 96797
                interest                   $20,801.96; Billed: $20,801.96; Bal Due to
                                           PD: $20,801.95; Proj. Status:
                                           Pre-Permitting / In Progress; Contract Date:
                                           06/26/2019
                State the term remaining   CURRENT

                List the contract number
                of any government
                contract

                                                                         ADDITION
 2.3            State what the contract    Consumer Const. Contract: Adams, Mike &      Adams, Mike
                or lease is for and the    PD Hawaii; Trans Type: Cash; Payments        40 Kane Road
                nature of the debtor’s     Rec'd: $1,000.00; Billed: $7,829.32; Bal     Haiku, HI 96708
                interest                   Due to PD: $13,658.63; Proj. Status: CAP
                                           Req / In Progress; Contract Date:
                                           04/30/2020
                State the term remaining   CURRENT

                List the contract number
                of any government
                contract




Official Form 206G                                Schedule G: Executory Contracts and Unexpired Leases                                           Page 1 of 47
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       List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired lease

                                                                    ADDITION
 2.4       State what the contract    Consumer Const. Contract: Alipio, Thomas        Alipio, Thomas
           or lease is for and the    & PD Hawaii; Trans Type: Financed by -          91-6503 Kapolei Pkwy
           nature of the debtor’s     Greensky Reg; Payments Rec'd:                   Ewa Beach, HI 96706
           interest                   $34,435.71; Billed: $40,512.60; Bal Due to
                                      PD: $6,076.89; Proj. Status: PTO / In
                                      Progress; Contract Date: 10/23/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.5       State what the contract    BUILDER AGREEMENT RE: ALOHA EYE                 ALOHA EYE CLINIC LTD
           or lease is for and the    CLINIC LTD DATED 12/30/2019                     DR JIVIN TANTISIRA
           nature of the debtor’s                                                     450 HOOKAHI STREET
           interest                                                                   WAILUKU, HI 96793

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                    ADDITION
 2.6       State what the contract    Consumer Const. Contract: Altenhof, Bruce       Altenhof, Bruce
           or lease is for and the    & PD Hawaii; Trans Type: Financed by -          94-1061 Anania Circle
           nature of the debtor’s     Greensky Reg; Payments Rec'd:                   Mililani, HI 96789
           interest                   $22,717.76; Billed: $32,453.95; Bal Due to
                                      PD: $9,736.19; Proj. Status: Permitting / In
                                      Progress; Contract Date: 01/31/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                    ADDITION
 2.7       State what the contract    Consumer Const. Contract: Arrisgado,          Arrisgado, Francoise
           or lease is for and the    Francoise & PD Hawaii; Trans Type:            3362 Campbell Avenue
           nature of the debtor’s     Financed by Svc Fin Co; Payments Rec'd: Honolulu, HI 96815
           interest                   $0.00; Billed: $31,163.88; Bal Due to PD:
                                      $62,327.75; Proj. Status: Pre-Permitting / In
                                      Progress; Contract Date: 02/26/2020
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                    ADDITION
 2.8       State what the contract    Consumer Const. Contract: Ashmore, Doug Ashmore, Doug
           or lease is for and the    & PD Hawaii; Trans Type: Financed by Svc 161353 37th Ave
           nature of the debtor’s     Fin Co; Payments Rec'd: $36,123.84;      Keaau, HI 96749
           interest                   Billed: $37,629.00; Bal Due to PD:
                                      $1,505.16; Proj. Status: Permitting / In
                                      Progress; Contract Date: 05/30/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                         Page 2 of 47
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        List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired lease

                                                                      ADDITION
 2.9        State what the contract    Consumer Const. Contract: Averna, Erick &      Averna, Erick
            or lease is for and the    PD Hawaii; Trans Type: Cash; Payments          221 Wailau Place
            nature of the debtor’s     Rec'd: $47,003.40; Billed: $47,003.40; Bal     Lahaina, HI 96761
            interest                   Due to PD: $46,003.39; Proj. Status:
                                       Pre-Permitting / Util Delay; Contract Date:
                                       06/05/2019
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                      ADDITION
 2.10       State what the contract    Consumer Const. Contract: Baker, David H Baker, David H
            or lease is for and the    & PD Hawaii; Trans Type: Cash; Payments 94101 Auhaku Place
            nature of the debtor’s     Rec'd: $34,649.55; Billed: $35,399.55; Bal Mililani, HI 96789
            interest                   Due to PD: $750.00; Proj. Status: Install /
                                       Mat'l Delay; Contract Date: 12/15/2018
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                      ADDITION
 2.11       State what the contract    Consumer Const. Contract: Baldonado,           Baldonado, Silver
            or lease is for and the    Silver & PD Hawaii; Trans Type: Financed       94-1045 Kaloli Loop
            nature of the debtor’s     by Svc Fin Co; Payments Rec'd:                 Waipahu, HI 96797
            interest                   $11,572.00; Billed: $11,572.00; Bal Due to
                                       PD: $0.00; Proj. Status: Scheduling / In
                                       Progress; Contract Date: 07/12/2018
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                      ADDITION
 2.12       State what the contract    Consumer Const. Contract: Baldwin,             Baldwin, Edward
            or lease is for and the    Edward & PD Hawaii; Trans Type: Cash;          30 Welina Place
            nature of the debtor’s     Payments Rec'd: $1,000.00; Billed:             Makawao, HI 96768
            interest                   $39,342.90; Bal Due to PD: $76,685.80;
                                       Proj. Status: Pre-Permitting / Cust Delay;
                                       Contract Date: 01/21/2020
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                      ADDITION
 2.13       State what the contract    Consumer Const. Contract: Barrera, Jerry & Barrera, Jerry
            or lease is for and the    PD Hawaii; Trans Type: Cash; Payments      190 Eleu Place
            nature of the debtor’s     Rec'd: $2,120.79; Billed: $2,120.79; Bal   Kihei, HI 96753
            interest                   Due to PD: $5,438.60; Proj. Status: Site
                                       Survey / In Progress; Contract Date:
                                       06/22/2020
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                        Page 3 of 47
 Debtor              Case 20-12814-mkn
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        List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired lease

                                                                      ADDITION
 2.14       State what the contract    Consumer Const. Contract: Behrens, Jay &         Behrens, Jay
            or lease is for and the    PD Hawaii; Trans Type: Financed by Svc           66-159 Achiu Ln
            nature of the debtor’s     Fin Co; Payments Rec'd: $53,216.51;              Haleiwa, HI 96712
            interest                   Billed: $56,017.41; Bal Due to PD:
                                       $2,800.90; Proj. Status: Scheduling / MPU
                                       Delay; Contract Date: 08/06/2019
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                      ADDITION
 2.15       State what the contract    Consumer Const. Contract: Beltran, Norma         Beltran, Norma
            or lease is for and the    & PD Hawaii; Trans Type: Financed by Svc         94-1044 Paiwa Place
            nature of the debtor’s     Fin Co; Payments Rec'd: $56,438.40;              Waipahu, HI 96797
            interest                   Billed: $56,388.41; Bal Due to PD: $-49.99;
                                       Proj. Status: Final Inspection / In Progress;
                                       Contract Date: 08/01/2019
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                      ADDITION
 2.16       State what the contract    Consumer Const. Contract: Boland, Emma           Boland, Emma
            or lease is for and the    & PD Hawaii; Trans Type: Financed by Svc         290 Portlock Road
            nature of the debtor’s     Fin Co; Payments Rec'd: $1,000.00;               Honolulu, HI 96825
            interest                   Billed: $1,000.00; Bal Due to PD:
                                       $33,687.48; Proj. Status: Design / In
                                       Progress; Contract Date: 09/04/2019
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                      ADDITION
 2.17       State what the contract    Consumer Const. Contract: Brown, Nicki &         Brown, Nicki
            or lease is for and the    PD Hawaii; Trans Type: Financed by -             87-1839 Mokila St
            nature of the debtor’s     Greensky Reg; Payments Rec'd:                    WAianae, HI 96792
            interest                   $16,750.00; Billed: $70,139.00; Bal Due to
                                       PD: $53,389.00; Proj. Status: Install / In
                                       Progress; Contract Date: 09/15/2019
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                      ADDITION
 2.18       State what the contract    Consumer Const. Contract: Buenavista,            Buenavista, Anthony Dennis
            or lease is for and the    Anthony Dennis & PD Hawaii; Trans Type:          92-648 Mehani Street
            nature of the debtor’s     Financed by - Greensky Reg; Payments             Kapolei, HI 96707
            interest                   Rec'd: $8,571.76; Billed: $6,472.00; Bal
                                       Due to PD: $-2,099.76; Proj. Status: PTO /
                                       In Progress; Contract Date: 11/15/2019
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract



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        List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired lease

                                                                      ADDITION
 2.19       State what the contract    Consumer Const. Contract: Burkhalter,         Burkhalter, Bern
            or lease is for and the    Bern & PD Hawaii; Trans Type: Cash;           290 Front Street
            nature of the debtor’s     Payments Rec'd: $17,907.57; Billed:           Lahaina, HI 96761
            interest                   $17,960.57; Bal Due to PD: $17,013.56;
                                       Proj. Status: Pre-Permitting / Util Delay;
                                       Contract Date: 02/07/2020
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                      ADDITION
 2.20       State what the contract    Consumer Const. Contract: Businger,         Businger, Steven
            or lease is for and the    Steven & PD Hawaii; Trans Type: Cash;       4837 Sierra Drive
            nature of the debtor’s     Payments Rec'd: $1,000.00; Billed:          Honolulu, HI 96816
            interest                   $9,788.50; Bal Due to PD: $17,577.00; Proj.
                                       Status: Pre-Permitting / MPU Delay;
                                       Contract Date: 02/28/2020
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                      ADDITION
 2.21       State what the contract    Consumer Const. Contract: Calhau, Patricia Calhau, Patricia
            or lease is for and the    & PD Hawaii; Trans Type: Financed by Svc 45213 Mokulele Dr
            nature of the debtor’s     Fin Co; Payments Rec'd: $59,511.30;        Kaneohe, HI 96744
            interest                   Billed: $62,317.01; Bal Due to PD:
                                       $2,805.71; Proj. Status: Install / In
                                       Progress; Contract Date: 08/16/2019
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                      ADDITION
 2.22       State what the contract    Consumer Const. Contract: Carter,            Carter, Elizabeth
            or lease is for and the    Elizabeth & PD Hawaii; Trans Type: Cash;     171 Maoli Place
            nature of the debtor’s     Payments Rec'd: $1,000.00; Billed:           Paia, HI 96779
            interest                   $1,000.00; Bal Due to PD: $9,188.84; Proj.
                                       Status: Design / In Progress; Contract Date:
                                       05/31/2020
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                      ADDITION
 2.23       State what the contract    Consumer Const. Contract: Castagnetti,        Castagnetti, Gene
            or lease is for and the    Gene & PD Hawaii; Trans Type: Cash;           119 Aikapa Pl
            nature of the debtor’s     Payments Rec'd: $24,596.58; Billed:           Kailua, HI 96734
            interest                   $41,114.19; Bal Due to PD: $32,906.25;
                                       Proj. Status: Pre-Permitting / MPU Delay;
                                       Contract Date: 08/22/2019
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract



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            (Name)


        List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired lease

                                                                   ADDITION
 2.24       State what the contract    Consumer Const. Contract: Catracchia,       Catracchia, Roslyn
            or lease is for and the    Roslyn & PD Hawaii; Trans Type: Financed    343 Nenue Street
            nature of the debtor’s     by Svc Fin Co; Payments Rec'd: $0.00;       Honolulu, HI 96821
            interest                   Billed: $3,272.00; Bal Due to PD:
                                       $7,294.00; Proj. Status: Permitting / In
                                       Progress; Contract Date: 04/22/2020
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                   ADDITION
 2.25       State what the contract    Consumer Const. Contract: Catracchia,       Catracchia, Roslyn
            or lease is for and the    Roslyn & PD Hawaii; Trans Type: Financed    343 Nenue Street
            nature of the debtor’s     by Svc Fin Co; Payments Rec'd: $0.00;       Honolulu, HI 96821
            interest                   Billed: $3,272.00; Bal Due to PD:
                                       $7,294.00; Proj. Status: Permitting / In
                                       Progress; Contract Date: 04/22/2020
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                   ADDITION
 2.26       State what the contract    Consumer Const. Contract: Centeio,          Centeio, William
            or lease is for and the    William & PD Hawaii; Trans Type: Financed 84979 Moaelehua St
            nature of the debtor’s     by Svc Fin Co; Payments Rec'd: $0.00;       Waianae, HI 96792
            interest                   Billed: $38,161.12; Bal Due to PD:
                                       $43,450.36; Proj. Status: Scheduling / Cust
                                       Delay; Contract Date: 03/07/2019
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                   ADDITION
 2.27       State what the contract    Consumer Const. Contract: Chang, Beverly Chang, Beverly
            or lease is for and the    & PD Hawaii; Trans Type: Cash; Payments 45-722 Lanipola Place
            nature of the debtor’s     Rec'd: $1,000.00; Billed: $24,350.30; Bal Kaneohe, HI 96744
            interest                   Due to PD: $46,700.60; Proj. Status:
                                       Pre-Permitting / On Hold; Contract Date:
                                       09/30/2019
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

 2.28       State what the contract    BUILDER AGREEMENT RE: SPECTRUM              CHARTER COMMUNICATIONS
            or lease is for and the    REMOVE & REINSTALL DATED 5/8/2020
            nature of the debtor’s
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract




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        List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired lease

 2.29       State what the contract    BUILDER AGREEMENT RE: SPECTRUM                  CHARTER COMMUNICATIONS
            or lease is for and the    REROOF DATED 5/8/2020
            nature of the debtor’s
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                      ADDITION
 2.30       State what the contract    Consumer Const. Contract: Ching, Edric &        Ching, Edric
            or lease is for and the    PD Hawaii; Trans Type: Cash; Payments           1435 Pueo Street
            nature of the debtor’s     Rec'd: $3,364.92; Billed: $3,364.92; Bal        Honolulu, HI 96816
            interest                   Due to PD: $4,614.92; Proj. Status:
                                       Permitting / In Progress; Contract Date:
                                       05/30/2020
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                      ADDITION
 2.31       State what the contract    Consumer Const. Contract: Chock, Gordon         Chock, Gordon
            or lease is for and the    & PD Hawaii; Trans Type: Financed by Svc        1097 Kaweloka St
            nature of the debtor’s     Fin Co; Payments Rec'd: $8,000.00;              Pearl City, HI 96782
            interest                   Billed: $31,421.48; Bal Due to PD:
                                       $23,421.48; Proj. Status: Final Inspection /
                                       In Progress; Contract Date: 04/28/2019
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                      ADDITION
 2.32       State what the contract    Consumer Const. Contract: Clark, Richard Clark, Richard
            or lease is for and the    & PD Hawaii; Trans Type: Cash; Payments 2503 Pauoa Rd
            nature of the debtor’s     Rec'd: $6,459.00; Billed: $7,209.00; Bal Honolulu, HI 96813
            interest                   Due to PD: $750.00; Proj. Status: Final
                                       Inspection / In Progress; Contract Date:
                                       08/04/2019
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                      ADDITION
 2.33       State what the contract    Consumer Const. Contract: Clement,              Clement, Harriet
            or lease is for and the    Harriet & PD Hawaii; Trans Type: Financed       914 19th Ave
            nature of the debtor’s     by - Sunlight Fin; Payments Rec'd:              Honolulu, HI 96816
            interest                   $3,905.00; Billed: $8,560.00; Bal Due to
                                       PD: $4,655.00; Proj. Status: Scheduling /
                                       ReroofDelay; Contract Date: 02/18/2019
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                         Page 7 of 47
 Debtor              Case 20-12814-mkn
            PetersenDean Hawaii LLC               Doc 551         Entered 07/28/20   16:38:53
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            (Name)


        List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired lease

                                                                    ADDITION
 2.34       State what the contract    Consumer Const. Contract: Coloma, Velma Coloma, Velma
            or lease is for and the    & PD Hawaii; Trans Type: Cash; Payments 364 S Lehua Street
            nature of the debtor’s     Rec'd: $3,609.39; Billed: $7,968.78; Bal  Kahului, HI 96732
            interest                   Due to PD: $4,359.39; Proj. Status: PTO /
                                       Legal Delay; Contract Date: 04/06/2019
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                    ADDITION
 2.35       State what the contract    Consumer Const. Contract: Culver, Phillip & Culver, Phillip
            or lease is for and the    PD Hawaii; Trans Type: Cash; Payments       79 Molehulehu Loop
            nature of the debtor’s     Rec'd: $1,000.00; Billed: $1,000.00; Bal    Kahului, HI 96732
            interest                   Due to PD: $13,899.00; Proj. Status:
                                       Design / In Progress; Contract Date:
                                       06/22/2020
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                    ADDITION
 2.36       State what the contract    Consumer Const. Contract: David, Nicole &    David, Nicole
            or lease is for and the    PD Hawaii; Trans Type: Financed by Svc       269 Komo Mai Street
            nature of the debtor’s     Fin Co; Payments Rec'd: $0.00; Billed:       Lahaina, HI 96761
            interest                   $13,839.76; Bal Due to PD: $27,679.52;
                                       Proj. Status: Permitting / In Progress;
                                       Contract Date: 01/10/2020
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                    ADDITION
 2.37       State what the contract    Consumer Const. Contract: D'Avirro, David D'Avirro, David
            or lease is for and the    & PD Hawaii; Trans Type: Cash; Payments 551 Halela Street
            nature of the debtor’s     Rec'd: $1,000.00; Billed: $1,000.00; Bal  Kailua, HI 96734
            interest                   Due to PD: $31,087.50; Proj. Status: CAP
                                       Req / In Progress; Contract Date:
                                       05/31/2020
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                    ADDITION
 2.38       State what the contract    Consumer Const. Contract: Dearborn,          Dearborn, Thomas
            or lease is for and the    Thomas & PD Hawaii; Trans Type:              2727 Kauhale Street
            nature of the debtor’s     Financed by - Sunlight Fin; Payments         Kihei, HI 96753
            interest                   Rec'd: $0.00; Billed: $0.00; Bal Due to PD:
                                       $69,773.40; Proj. Status: Site Survey / Cust
                                       Delay; Contract Date: 05/14/2020
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract




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 Debtor              Case 20-12814-mkn
            PetersenDean Hawaii LLC                Doc 551          Entered 07/28/20   16:38:53
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            (Name)


        List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired lease

                                                                      ADDITION
 2.39       State what the contract    Consumer Const. Contract: Decoite, Donald Decoite, Donald
            or lease is for and the    & PD Hawaii; Trans Type: Cash; Payments 481 Haiku Rd
            nature of the debtor’s     Rec'd: $51,997.50; Billed: $87,695.75; Bal Haiku, HI 96708
            interest                   Due to PD: $50,997.50; Proj. Status:
                                       Scheduling / Cust Delay; Contract Date:
                                       08/15/2019
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                      ADDITION
 2.40       State what the contract    Consumer Const. Contract: Demello, Dori & Demello, Dori
            or lease is for and the    PD Hawaii; Trans Type: Financed by -       85-1429 Waianae Valley Road
            nature of the debtor’s     Sunlight Fin; Payments Rec'd: $0.00;       Waianae, HI 96792
            interest                   Billed: $59,174.45; Bal Due to PD:
                                       $69,617.00; Proj. Status: Pre-Permitting /
                                       Sales Delay; Contract Date: 08/18/2018
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                      ADDITION
 2.41       State what the contract    Consumer Const. Contract: Dennison,             Dennison, Deborah
            or lease is for and the    Deborah & PD Hawaii; Trans Type: Cash;          108 Ulumalu Road
            nature of the debtor’s     Payments Rec'd: $38,656.50; Billed:             Haiku, HI 96708
            interest                   $38,656.50; Bal Due to PD: $37,656.50;
                                       Proj. Status: Pre-Permitting / In Progress;
                                       Contract Date: 11/19/2019
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                      ADDITION
 2.42       State what the contract    Consumer Const. Contract: Deponte, Waltin Deponte, Waltin
            or lease is for and the    & PD Hawaii; Trans Type: Financed by -     94-1092 Pulelo Street
            nature of the debtor’s     Greensky Reg; Payments Rec'd:              Waipahu, HI 96797
            interest                   $47,740.65; Billed: $55,989.00; Bal Due to
                                       PD: $8,248.35; Proj. Status: Final
                                       Inspection / In Progress; Contract Date:
                                       12/20/2019
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                      ADDITION
 2.43       State what the contract    Consumer Const. Contract: Dirksen,              Dirksen, Stephanie
            or lease is for and the    Stephanie & PD Hawaii; Trans Type:              3130 Akala Drive
            nature of the debtor’s     Financed by Svc Fin Co; Payments Rec'd:         Kihei, HI 96753
            interest                   $57,651.69; Billed: $60,104.16; Bal Due to
                                       PD: $2,452.47; Proj. Status: Warranty / Util
                                       Delay; Contract Date: 04/10/2019
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

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        List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                     ADDITION
 2.44       State what the contract    Consumer Const. Contract: Duffer, Debbie       Duffer, Debbie
            or lease is for and the    & PD Hawaii; Trans Type: Financed by Svc       95-249 Lealea Pl
            nature of the debtor’s     Fin Co; Payments Rec'd: $37,151.91;            Mililani, HI 96789
            interest                   Billed: $38,994.40; Bal Due to PD:
                                       $1,842.49; Proj. Status: Install / In
                                       Progress; Contract Date: 07/25/2019
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                     ADDITION
 2.45       State what the contract    Consumer Const. Contract: Durante, Nani & Durante, Nani
            or lease is for and the    PD Hawaii; Trans Type: Financed by -      94-135 Punane Loop
            nature of the debtor’s     Sunlight Fin; Payments Rec'd: $0.00;      Mililani, HI 96789
            interest                   Billed: $29,210.98; Bal Due to PD:
                                       $34,365.85; Proj. Status: Scheduling /
                                       Sales Delay; Contract Date: 05/13/2019
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                     ADDITION
 2.46       State what the contract    Consumer Const. Contract: Endicott, John       Endicott, John S
            or lease is for and the    S & PD Hawaii; Trans Type: Financed by -       355 Lapa Place
            nature of the debtor’s     Sunlight Fin; Payments Rec'd: $0.00;           Kailua, HI 96734
            interest                   Billed: $33,067.20; Bal Due to PD:
                                       $66,134.39; Proj. Status: Pre-Permitting /
                                       Util Delay; Contract Date: 04/15/2019
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

 2.47       State what the contract    BUILDER AGREEMENT RE: KIHAPAI HUI              ETERNAX SOLAR
            or lease is for and the    DATED 12/18/2019                               564 WALD
            nature of the debtor’s                                                    IRVINE, CA 92618
            interest
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                     ADDITION
 2.48       State what the contract    Consumer Const. Contract: Evangelista,         Evangelista, Madeline
            or lease is for and the    Madeline & PD Hawaii; Trans Type:              958 E Onaha Place
            nature of the debtor’s     Financed by - Svc Fin Pre; Payments            Wailuku, HI 96793
            interest                   Rec'd: $0.00; Billed: $0.00; Bal Due to PD:
                                       $6,350.62; Proj. Status: Site Survey / In
                                       Progress; Contract Date: 05/17/2020
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract




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            (Name)


        List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired lease

 2.49       State what the contract    BUILDER AGREEMENT RE:                         FAR WEST PROPERTIES, LLC
            or lease is for and the    INTERNATIONAL TRUCKING                        MARK YRAGUI
            nature of the debtor’s     (CONTRACT) DATED 9/26/2019                    91-554 KOMOHANA STREET LOT 9
            interest                                                                 KAPOLEI, HI 96707

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                    ADDITION
 2.50       State what the contract    Consumer Const. Contract: Ferreira,           Ferreira, Frances
            or lease is for and the    Frances & PD Hawaii; Trans Type:              1258 Wanaka Street
            nature of the debtor’s     Financed by Svc Fin Co; Payments Rec'd:       Honolulu, HI 96818
            interest                   $31,681.73; Billed: $33,113.91; Bal Due to
                                       PD: $1,432.17; Proj. Status: Install / In
                                       Progress; Contract Date: 01/29/2020
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                    ADDITION
 2.51       State what the contract    Consumer Const. Contract: Gabrielson,        Gabrielson, Brian
            or lease is for and the    Brian & PD Hawaii; Trans Type: Cash;         3403 Akala Drive
            nature of the debtor’s     Payments Rec'd: $3,369.80; Billed:           Kihei, HI 96753
            interest                   $3,369.80; Bal Due to PD: $4,869.80; Proj.
                                       Status: Design / In Progress; Contract Date:
                                       06/22/2020
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                    ADDITION
 2.52       State what the contract    Consumer Const. Contract: Garces, Melvyn Garces, Melvyn
            or lease is for and the    & PD Hawaii; Trans Type: Financed by Svc 92-760 Nohopaa St
            nature of the debtor’s     Fin Co; Payments Rec'd: $46,000.00;         Kapolei, HI 96707
            interest                   Billed: $46,329.20; Bal Due to PD: $329.20;
                                       Proj. Status: PTO / In Progress; Contract
                                       Date: 07/06/2019
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                    ADDITION
 2.53       State what the contract    Consumer Const. Contract: Garcia, Kevin & Garcia, Kevin
            or lease is for and the    PD Hawaii; Trans Type: Financed by Svc     92-1206 Olana St Apt 1
            nature of the debtor’s     Fin Co; Payments Rec'd: $0.00; Billed:     Kapolei, HI 96707
            interest                   $8,890.00; Bal Due to PD: $8,890.00; Proj.
                                       Status: Permitting / In Progress; Contract
                                       Date: 10/08/2019
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract




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 Debtor              Case 20-12814-mkn
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        List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired lease

                                                                    ADDITION
 2.54       State what the contract    Consumer Const. Contract: Garcia, Kevin & Garcia, Kevin
            or lease is for and the    PD Hawaii; Trans Type: Financed by Svc    92-1206 Olani Street Unit 1
            nature of the debtor’s     Fin Co; Payments Rec'd: $1,000.00;        Kapolei, HI 96707
            interest                   Billed: $21,914.40; Bal Due to PD:
                                       $20,914.40; Proj. Status: Permitting / In
                                       Progress; Contract Date: 10/08/2019
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                    ADDITION
 2.55       State what the contract    Consumer Const. Contract: Gaston,           Gaston, Michael
            or lease is for and the    Michael & PD Hawaii; Trans Type: Financed 550 Kama'aha Ave Unit 1205
            nature of the debtor’s     by - Sunlight Fin; Payments Rec'd: $0.00;   Kapolei, HI 96707
            interest                   Billed: $29,048.80; Bal Due to PD:
                                       $34,175.05; Proj. Status: Permitting / Cust
                                       FinDel; Contract Date: 07/11/2018
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                    ADDITION
 2.56       State what the contract    Consumer Const. Contract: Gaston,          Gaston, Michael
            or lease is for and the    Michael & PD Hawaii; Trans Type: Financed 550 Kama'aha Ave Unit 1205
            nature of the debtor’s     by Svc Fin Co; Payments Rec'd: $0.00;      Kapolei, HI 96707
            interest                   Billed: $7,354.00; Bal Due to PD:
                                       $7,354.00; Proj. Status: Scheduling / Cust
                                       FinDel; Contract Date: 07/11/2018
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                    ADDITION
 2.57       State what the contract    Consumer Const. Contract: Gaston, Teresa Gaston, Teresa
            or lease is for and the    & PD Hawaii; Trans Type: Cash; Payments 91-925 Ikulani Street
            nature of the debtor’s     Rec'd: $3,013.09; Billed: $3,013.09; Bal   Kapolei, HI 96706
            interest                   Due to PD: $4,263.08; Proj. Status: Design
                                       / In Progress; Contract Date: 06/25/2020
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                    ADDITION
 2.58       State what the contract    Consumer Const. Contract: Gines,             Gines, Giancarlo
            or lease is for and the    Giancarlo & PD Hawaii; Trans Type:           84-711 Lahaina St
            nature of the debtor’s     Financed by Svc Fin Co; Payments Rec'd:      Waianae, HI 96792
            interest                   $0.00; Billed: $38,204.10; Bal Due to PD:
                                       $44,946.00; Proj. Status: Permitting / In
                                       Progress; Contract Date: 05/08/2019
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract




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        List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired lease

                                                                     ADDITION
 2.59       State what the contract    Consumer Const. Contract: Goddard,              Goddard, Angela
            or lease is for and the    Angela & PD Hawaii; Trans Type: Financed        72 Huluhulu Place
            nature of the debtor’s     by Svc Fin Co; Payments Rec'd: $0.00;           Kahului, HI 96732
            interest                   Billed: $0.00; Bal Due to PD: $58,401.68;
                                       Proj. Status: Design / In Progress; Contract
                                       Date: 06/09/2020
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                     ADDITION
 2.60       State what the contract    Consumer Const. Contract: Gomes, Grace Gomes, Grace
            or lease is for and the    & PD Hawaii; Trans Type: Cash; Payments 822 Kuhio Street
            nature of the debtor’s     Rec'd: $1,000.00; Billed: $1,000.00; Bal Wailuku, HI 96793
            interest                   Due to PD: $38,062.60; Proj. Status:
                                       Design / In Progress; Contract Date:
                                       06/11/2020
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                     ADDITION
 2.61       State what the contract    Consumer Const. Contract: Gomes, James Gomes, James
            or lease is for and the    & PD Hawaii; Trans Type: Cash; Payments 8640 Kula Highway
            nature of the debtor’s     Rec'd: $3,265.95; Billed: $3,265.95; Bal   Kula, HI 96790
            interest                   Due to PD: $4,765.95; Proj. Status: Design
                                       / In Progress; Contract Date: 06/05/2020
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                     ADDITION
 2.62       State what the contract    Consumer Const. Contract: Gonsalves,          Gonsalves, Jayzlyn-Aleigha
            or lease is for and the    Jayzlyn-Aleigha & PD Hawaii; Trans Type:      95-204 Hoakea Place
            nature of the debtor’s     Cash; Payments Rec'd: $39,249.32;             Mililani, HI 96789
            interest                   Billed: $39,249.32; Bal Due to PD:
                                       $38,249.32; Proj. Status: Pre-Permitting / In
                                       Progress; Contract Date: 03/12/2020
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                     ADDITION
 2.63       State what the contract    Consumer Const. Contract: Gonsalves,          Gonsalves, Tammy G
            or lease is for and the    Tammy G & PD Hawaii; Trans Type: Cash; 410 Kahiki St
            nature of the debtor’s     Payments Rec'd: $1,000.00; Billed:            Kahului, HI 96732
            interest                   $7,499.50; Bal Due to PD: $12,999.00; Proj.
                                       Status: Pre-Permitting / Util Delay; Contract
                                       Date: 07/13/2019
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract




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 Debtor              Case 20-12814-mkn
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        List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired lease

                                                                     ADDITION
 2.64       State what the contract    Consumer Const. Contract: Gonsalves,           Gonsalves, Tammy G
            or lease is for and the    Tammy G & PD Hawaii; Trans Type:               410 Kahiki St
            nature of the debtor’s     Financed by Svc Fin Co; Payments Rec'd:        Kahului, HI 96732
            interest                   $0.00; Billed: $13,299.05; Bal Due to PD:
                                       $13,999.00; Proj. Status: Pre-Permitting /
                                       Util Delay; Contract Date: 07/13/2019
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                     ADDITION
 2.65       State what the contract    Consumer Const. Contract: Goo, Karen &         Goo, Karen
            or lease is for and the    PD Hawaii; Trans Type: Financed by Svc         531-A Judd St
            nature of the debtor’s     Fin Co; Payments Rec'd: $0.00; Billed:         Honolulu, HI 96817
            interest                   $47,439.77; Bal Due to PD: $49,379.14;
                                       Proj. Status: Permitting / In Progress;
                                       Contract Date: 07/03/2019
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                     ADDITION
 2.66       State what the contract    Consumer Const. Contract: Goto, Edwin &        Goto, Edwin
            or lease is for and the    PD Hawaii; Trans Type: Cash; Payments          94-218 Kiaha Loop
            nature of the debtor’s     Rec'd: $0.00; Billed: $2,681.68; Bal Due to    Mililani, HI 96789
            interest                   PD: $6,613.36; Proj. Status: Pre-Permitting
                                       / In Progress; Contract Date: 05/27/2020
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                     ADDITION
 2.67       State what the contract    Consumer Const. Contract: Goya, Kelli &        Goya, Kelli
            or lease is for and the    PD Hawaii; Trans Type: Financed by Svc         1343 Hele Street
            nature of the debtor’s     Fin Co; Payments Rec'd: $32,772.71;            Kailua, HI 96734
            interest                   Billed: $34,254.20; Bal Due to PD:
                                       $1,481.49; Proj. Status: Scheduling / On
                                       Hold; Contract Date: 08/18/2019
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                     ADDITION
 2.68       State what the contract    Consumer Const. Contract: Griffin,          Griffin, Chintana
            or lease is for and the    Chintana & PD Hawaii; Trans Type: Cash;     160 Lunalilo Home Road
            nature of the debtor’s     Payments Rec'd: $1,000.00; Billed:          Honolulu, HI 96825
            interest                   $1,000.00; Bal Due to PD: $25,458.50; Proj.
                                       Status: CAP Req / In Progress; Contract
                                       Date: 05/29/2020
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract




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            (Name)


        List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired lease

                                                                     ADDITION
 2.69       State what the contract    Consumer Const. Contract: Haga, Harold &       Haga, Harold
            or lease is for and the    PD Hawaii; Trans Type: Cash; Payments          94-1424 Kahuli Street
            nature of the debtor’s     Rec'd: $0.00; Billed: $1,000.00; Bal Due to    Waipahu, HI 96797
            interest                   PD: $30,482.17; Proj. Status: Design /
                                       Sales Delay; Contract Date: 02/12/2020
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

 2.70       State what the contract    LEASE AGREEMENT - 99-1265 HALAWA               HALAWA HOUSE OF THE SUN, LLC
            or lease is for and the    VALLEY ST, AIEA, HI 96701 - OFFICE             661 KAAPUNI PLACE
            nature of the debtor’s                                                    KIHEI, HI 96753
            interest
            State the term remaining   9/30/2021

            List the contract number
            of any government
            contract

                                                                     ADDITION
 2.71       State what the contract    Consumer Const. Contract: Harper, Lan &        Harper, Lan
            or lease is for and the    PD Hawaii; Trans Type: Financed by Svc         722 Alulike Street
            nature of the debtor’s     Fin Co; Payments Rec'd: $0.00; Billed:         Kihei, HI 96753
            interest                   $48,296.50; Bal Due to PD: $91,281.00;
                                       Proj. Status: Pre-Permitting / Util Delay;
                                       Contract Date: 11/15/2019
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                     ADDITION
 2.72       State what the contract    Consumer Const. Contract: Hayashibara,       Hayashibara, Jacqueline
            or lease is for and the    Jacqueline & PD Hawaii; Trans Type: Cash; 767 Hahaione Street
            nature of the debtor’s     Payments Rec'd: $30,433.36; Billed:          Honolulu, HI 96825
            interest                   $35,627.48; Bal Due to PD: $5,194.12; Proj.
                                       Status: Install / Util Delay; Contract Date:
                                       10/26/2019
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                     ADDITION
 2.73       State what the contract    Consumer Const. Contract: Hee, Al & PD         Hee, Al
            or lease is for and the    Hawaii; Trans Type: Cash; Payments             1155 Akipola Street
            nature of the debtor’s     Rec'd: $1,000.00; Billed: $1,000.00; Bal       Kailua, HI 96734
            interest                   Due to PD: $103,690.59; Proj. Status: CAP
                                       Req / In Progress; Contract Date:
                                       04/30/2020
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract




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            (Name)


        List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired lease

                                                                    ADDITION
 2.74       State what the contract    Consumer Const. Contract: Hee, Patricia &     Hee, Patricia
            or lease is for and the    PD Hawaii; Trans Type: Cash; Payments         6482 Hawaii Kai Drive
            nature of the debtor’s     Rec'd: $6,663.61; Billed: $7,413.61; Bal      Honolulu, HI 96825
            interest                   Due to PD: $750.00; Proj. Status: Final
                                       Inspection / In Progress; Contract Date:
                                       02/21/2020
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                    ADDITION
 2.75       State what the contract    Consumer Const. Contract: Herstus,            Herstus, Cestmir
            or lease is for and the    Cestmir & PD Hawaii; Trans Type: Cash;        657 Olinda Road
            nature of the debtor’s     Payments Rec'd: $0.00; Billed: $1,000.00;     Makawao, HI 96768
            interest                   Bal Due to PD: $32,263.28; Proj. Status:
                                       Site Survey / In Progress; Contract Date:
                                       06/10/2020
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                    ADDITION
 2.76       State what the contract    Consumer Const. Contract: Hetrick, Dan &      Hetrick, Dan
            or lease is for and the    PD Hawaii; Trans Type: Cash; Payments         98-1722 Kaahumanu #A
            nature of the debtor’s     Rec'd: $1,000.00; Billed: $1,000.00; Bal      Pearl City, HI 96782
            interest                   Due to PD: $28,800.00; Proj. Status:
                                       Pre-Permitting / HOA Delay; Contract Date:
                                       01/22/2017
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                    ADDITION
 2.77       State what the contract    Consumer Const. Contract: Higa, Kathy &       Higa, Kathy
            or lease is for and the    PD Hawaii; Trans Type: Cash; Payments         1239 Ala Aolani St
            nature of the debtor’s     Rec'd: $27,701.39; Billed: $32,413.40; Bal    Honolulu, HI 96819
            interest                   Due to PD: $4,712.01; Proj. Status: Final
                                       Inspection / In Progress; Contract Date:
                                       08/01/2019
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                    ADDITION
 2.78       State what the contract    Consumer Const. Contract: Hokama, Dustin Hokama, Dustin
            or lease is for and the    & PD Hawaii; Trans Type: Cash; Payments 46-165 Lilipuna Road
            nature of the debtor’s     Rec'd: $20,200.70; Billed: $33,641.19; Bal Kaneohe, HI 96744
            interest                   Due to PD: $21,052.92; Proj. Status:
                                       Redesign / MPU Delay; Contract Date:
                                       06/23/2019
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract



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            (Name)


        List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired lease

                                                                    ADDITION
 2.79       State what the contract    Consumer Const. Contract: Holland, Carol Holland, Carol
            or lease is for and the    & PD Hawaii; Trans Type: Cash; Payments 28 Hoolalei Way
            nature of the debtor’s     Rec'd: $1,000.00; Billed: $1,000.00; Bal Kihei, HI 96753
            interest                   Due to PD: $17,711.91; Proj. Status: CAP
                                       NReq / In Progress; Contract Date:
                                       04/30/2020
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                    ADDITION
 2.80       State what the contract    Consumer Const. Contract: Hoopii, Carol & Hoopii, Carol
            or lease is for and the    PD Hawaii; Trans Type: Financed by Svc       301 Hokulani Street
            nature of the debtor’s     Fin Co; Payments Rec'd: $0.00; Billed:       Makawao, HI 96768
            interest                   $0.00; Bal Due to PD: $37,422.00; Proj.
                                       Status: Design / In Progress; Contract Date:
                                       06/10/2020
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                    ADDITION
 2.81       State what the contract    Consumer Const. Contract: Hottendorf,        Hottendorf, Nicholas
            or lease is for and the    Nicholas & PD Hawaii; Trans Type:            45-522 Luluku Rd
            nature of the debtor’s     Financed by Svc Fin Co; Payments Rec'd:      Kaneohe, HI 96744
            interest                   $0.00; Billed: $6,582.45; Bal Due to PD:
                                       $8,478.50; Proj. Status: CAP Req / Cust
                                       Delay; Contract Date: 08/08/2019
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                    ADDITION
 2.82       State what the contract    Consumer Const. Contract: Hottendorf,        Hottendorf, Nicholas
            or lease is for and the    Nicholas & PD Hawaii; Trans Type:            45-522 Luluku Rd
            nature of the debtor’s     Financed by Svc Fin Co; Payments Rec'd:      Kaneohe, HI 96744
            interest                   $0.00; Billed: $66,217.35; Bal Due to PD:
                                       $67,272.40; Proj. Status: Redesign / Cust
                                       Delay; Contract Date: 08/06/2019
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

 2.83       State what the contract    BUILDER AGREEMENT RE: IAO                    IAO GARDENS AOAO
            or lease is for and the    GARDENS AOAO DATED 8/27/2019                 PERRY KUNIN / NATHAN DOLE
            nature of the debtor’s                                                  2180 VINEYARD STREET
            interest                                                                WAILUKU, HI 96793

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract




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        List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired lease

                                                                      ADDITION
 2.84       State what the contract    Consumer Const. Contract: Ikeda, Jean &         Ikeda, Jean & Myles
            or lease is for and the    Myles & PD Hawaii; Trans Type: Financed         79-1014 Honuaino St
            nature of the debtor’s     by - Sunlight Fin; Payments Rec'd: $0.00;       Kealakekua, HI 96750
            interest                   Billed: $0.00; Bal Due to PD: $39,379.00;
                                       Proj. Status: Design / In Progress; Contract
                                       Date: 06/13/2019
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                      ADDITION
 2.85       State what the contract    Consumer Const. Contract: Imamura,              Imamura, Janice
            or lease is for and the    Janice & PD Hawaii; Trans Type: Financed        45-335 Nakuluai St
            nature of the debtor’s     by - Greensky Reg; Payments Rec'd:              Kaneohe, HI 96744
            interest                   $27,657.90; Billed: $29,448.93; Bal Due to
                                       PD: $6,987.90; Proj. Status: Pre-Permitting
                                       / MPU Delay; Contract Date: 09/13/2019
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                      ADDITION
 2.86       State what the contract    Consumer Const. Contract: Inciong,              Inciong, Perfecto
            or lease is for and the    Perfecto & PD Hawaii; Trans Type: Cash;         99-516 Halawa Heights Drive
            nature of the debtor’s     Payments Rec'd: $3,331.81; Billed:              Aiea, HI 96701
            interest                   $7,413.62; Bal Due to PD: $4,081.80; Proj.
                                       Status: Scheduling / In Progress; Contract
                                       Date: 11/18/2019
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                      ADDITION
 2.87       State what the contract    Consumer Const. Contract: Inciong,              Inciong, Perfecto
            or lease is for and the    Perfecto & PD Hawaii; Trans Type: Cash;         99-516A Halawa Heights Drive
            nature of the debtor’s     Payments Rec'd: $3,331.81; Billed:              Aiea, HI 96701
            interest                   $7,413.62; Bal Due to PD: $4,081.80; Proj.
                                       Status: Scheduling / In Progress; Contract
                                       Date: 11/18/2019
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                      ADDITION
 2.88       State what the contract    Consumer Const. Contract: India, Monsoon India, Monsoon
            or lease is for and the    & PD Hawaii; Trans Type: Cash; Payments 760 S. Kihei Road, #109/110
            nature of the debtor’s     Rec'd: $1,000.00; Billed: $1,000.00; Bal   Kihei, HI 96753
            interest                   Due to PD: $148,780.12; Proj. Status: Site
                                       Survey / In Progress; Contract Date:
                                       04/08/2020
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract



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        List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired lease

                                                                    ADDITION
 2.89       State what the contract    Consumer Const. Contract: Ingram, Tom &     Ingram, Tom
            or lease is for and the    PD Hawaii; Trans Type: Cash; Payments       1922 Ulana Street
            nature of the debtor’s     Rec'd: $1,000.00; Billed: $1,000.00; Bal    Honolulu, HI 96819
            interest                   Due to PD: $55,751.40; Proj. Status: CAP
                                       Req / In Progress; Contract Date:
                                       05/02/2020
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                    ADDITION
 2.90       State what the contract    Consumer Const. Contract: Ishii, Sean &     Ishii, Sean
            or lease is for and the    PD Hawaii; Trans Type: Cash; Payments       334 Elelupe Road
            nature of the debtor’s     Rec'd: $2,976.00; Billed: $2,976.00; Bal    Honolulu, HI 96821
            interest                   Due to PD: $4,386.00; Proj. Status:
                                       Permitting / In Progress; Contract Date:
                                       05/21/2020
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                    ADDITION
 2.91       State what the contract    Consumer Const. Contract: Ishizuka,         Ishizuka, Russell
            or lease is for and the    Russell & PD Hawaii; Trans Type: Cash;      94-1018 Waiolina St
            nature of the debtor’s     Payments Rec'd: $1,000.00; Billed:          Waipahu, HI 96797
            interest                   $15,769.94; Bal Due to PD: $29,539.89;
                                       Proj. Status: CAP Req / Sales Delay;
                                       Contract Date: 08/13/2019
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                    ADDITION
 2.92       State what the contract    Consumer Const. Contract: Israel III., John Israel III., John
            or lease is for and the    & PD Hawaii; Trans Type: Cash; Payments 2451 Kamaile Street
            nature of the debtor’s     Rec'd: $1,000.00; Billed: $1,000.00; Bal    Wailuku, HI 96793
            interest                   Due to PD: $31,298.77; Proj. Status:
                                       Design / In Progress; Contract Date:
                                       04/06/2020
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                    ADDITION
 2.93       State what the contract    Consumer Const. Contract: Israel III., John Israel III., John
            or lease is for and the    & PD Hawaii; Trans Type: Cash; Payments 2451 Kamaile Street
            nature of the debtor’s     Rec'd: $1,000.00; Billed: $1,000.00; Bal    Wailuku, HI 96793
            interest                   Due to PD: $38,218.50; Proj. Status:
                                       Design / In Progress; Contract Date:
                                       04/06/2020
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract



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        List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired lease

                                                                     ADDITION
 2.94       State what the contract    Consumer Const. Contract: Jackson, Chuck Jackson, Chuck
            or lease is for and the    & PD Hawaii; Trans Type: Cash; Payments 27 Laukahi Street
            nature of the debtor’s     Rec'd: $10,287.05; Billed: $10,287.05; Bal Kihei, HI 96753
            interest                   Due to PD: $9,287.05; Proj. Status:
                                       Permitting / Util Delay; Contract Date:
                                       02/14/2020
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                     ADDITION
 2.95       State what the contract    JIM PETERSEN - GENERAL CONTINUING            JAMES P. PETERSEN
            or lease is for and the    GUARANTY OF PAYMENT -                        39300 CIVIC CENTER DRIVE
            nature of the debtor’s     INDEPENDENT ELECTRIC SUPPLY, INC.,           SUITE 300
            interest                   INC. AND ONESOURCE DISTRIBUTORS,             FREMONT, CA 94538
                                       LLC, INC EXECUTED 3/13/20
            State the term remaining   ONGOING

            List the contract number
            of any government
            contract

                                                                     ADDITION
 2.96       State what the contract    JIM PETERSEN PERSONAL GUARANTEE JAMES P. PETERSEN
            or lease is for and the    OF ROOFING SUPPLY GROUP LLC     39300 CIVIC CENTER DRIVE
            nature of the debtor’s     DATED 1/23/2013                 SUITE 300
            interest                                                   FREMONT, CA 94538

            State the term remaining   ONGOING

            List the contract number
            of any government
            contract

                                                                     ADDITION
 2.97       State what the contract    Consumer Const. Contract: Jones, Gregory Jones, Gregory
            or lease is for and the    & PD Hawaii; Trans Type: Cash; Payments 209 Plantation Club Drive
            nature of the debtor’s     Rec'd: $1,000.00; Billed: $1,000.00; Bal Lahaina, HI 96761
            interest                   Due to PD: $44,596.68; Proj. Status: CAP
                                       NReq / In Progress; Contract Date:
                                       02/27/2020
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                     ADDITION
 2.98       State what the contract    Consumer Const. Contract: Kaai, John &        Kaai, John
            or lease is for and the    PD Hawaii; Trans Type: Financed by -          87-179 Pualeilani Street
            nature of the debtor’s     Greensky Reg; Payments Rec'd: $0.00;          Waianae, HI 96792
            interest                   Billed: $20,537.00; Bal Due to PD:
                                       $41,074.00; Proj. Status: Pre-Permitting / In
                                       Progress; Contract Date: 03/17/2020
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract




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            PetersenDean Hawaii LLC               Doc 551          Entered 07/28/20   16:38:53
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            (Name)


        List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired lease

                                                                     ADDITION
 2.99       State what the contract    Consumer Const. Contract: Kado, Kel & PD Kado, Kel
            or lease is for and the    Hawaii; Trans Type: Cash; Payments            91-217 Aukahi Place
            nature of the debtor’s     Rec'd: $3,276.83; Billed: $7,303.66; Bal      Kapolei, HI 96707
            interest                   Due to PD: $4,026.83; Proj. Status: Install /
                                       In Progress; Contract Date: 02/23/2020
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

 2.100      State what the contract    BUILDER AGREEMENT RE: KAI WAHINE               KAI WAHINE COMMUNITY CENTER
            or lease is for and the    COMMUNITY CENTER DATED 8/15/2019               ROBYBE VETTRAINO
            nature of the debtor’s                                                    TMK
            interest                                                                  KIHEI, HI 96753

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

 2.101      State what the contract    BUILDER AGREEMENT RE: KAI WAHINE               KAI WAHINE COMMUNITY CENTER
            or lease is for and the    PUMP HOUSE DATED 8/16/2019                     ROBYBE VETTRAINO
            nature of the debtor’s                                                    TMK
            interest                                                                  KIHEI, HI 96753

            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                     ADDITION
 2.102      State what the contract    Consumer Const. Contract: Kamimoto,            Kamimoto, Linda
            or lease is for and the    Linda & PD Hawaii; Trans Type: Financed        95-889 Makeaupea Place
            nature of the debtor’s     by Svc Fin Co; Payments Rec'd:                 Mililani, HI 96789
            interest                   $63,858.61; Billed: $77,822.13; Bal Due to
                                       PD: $13,963.52; Proj. Status: Install / MPU
                                       Delay; Contract Date: 08/01/2019
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract

                                                                     ADDITION
 2.103      State what the contract    Consumer Const. Contract: Kaminaga,         Kaminaga, Michael
            or lease is for and the    Michael & PD Hawaii; Trans Type: Cash;      2064 Mahaoo Pl
            nature of the debtor’s     Payments Rec'd: $34,261.35; Billed:         Honolulu, HI 96819
            interest                   $40,131.00; Bal Due to PD: $5,869.65; Proj.
                                       Status: Final Inspection / In Progress;
                                       Contract Date: 10/10/2019
            State the term remaining   CURRENT

            List the contract number
            of any government
            contract




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      List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired lease

                                                                      ADDITION
 2.104     State what the contract    Consumer Const. Contract: Kanno, Lora &          Kanno, Lora & Roland
           or lease is for and the    Roland & PD Hawaii; Trans Type: Cash;            45-601 Olakino Pl
           nature of the debtor’s     Payments Rec'd: $39,399.30; Billed:              Kaneohe, HI 96744
           interest                   $66,278.81; Bal Due to PD: $38,399.30;
                                      Proj. Status: Pre-Permitting / MPU Delay;
                                      Contract Date: 07/25/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                      ADDITION
 2.105     State what the contract    Consumer Const. Contract: Kanoa, Donald Kanoa, Donald
           or lease is for and the    & PD Hawaii; Trans Type: Cash; Payments 637 Keolu Drive
           nature of the debtor’s     Rec'd: $1,000.00; Billed: $1,000.00; Bal Kailua, HI 96734
           interest                   Due to PD: $30,866.18; Proj. Status: CAP
                                      Req / In Progress; Contract Date:
                                      01/13/2020
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                      ADDITION
 2.106     State what the contract    Consumer Const. Contract: Kindred,               Kindred, Jonathan
           or lease is for and the    Jonathan & PD Hawaii; Trans Type: Cash;          129 Pahiki Pl
           nature of the debtor’s     Payments Rec'd: $237,997.30; Billed:             Lahaina, HI 96761
           interest                   $239,597.30; Bal Due to PD: $241,197.29;
                                      Proj. Status: Install / In Progress; Contract
                                      Date: 09/17/2018
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                      ADDITION
 2.107     State what the contract    Consumer Const. Contract: Kiyotoki, Linda Kiyotoki, Linda
           or lease is for and the    & PD Hawaii; Trans Type: Cash; Payments 47-101 Heno Place
           nature of the debtor’s     Rec'd: $1,000.00; Billed: $1,000.00; Bal  Kaneohe, HI 96744
           interest                   Due to PD: $19,220.48; Proj. Status:
                                      Design / In Progress; Contract Date:
                                      06/25/2020
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                      ADDITION
 2.108     State what the contract    Consumer Const. Contract: Klappert,              Klappert, Gerald
           or lease is for and the    Gerald & PD Hawaii; Trans Type: Cash;            2200 Kamaile St
           nature of the debtor’s     Payments Rec'd: $88,241.25; Billed:              Wailuku, HI 96793
           interest                   $103,636.76; Bal Due to PD: $15,395.51;
                                      Proj. Status: Install / In Progress; Contract
                                      Date: 05/08/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract



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      List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired lease

                                                                   ADDITION
 2.109     State what the contract    Consumer Const. Contract: Koeberle, Scott Koeberle, Scott
           or lease is for and the    & PD Hawaii; Trans Type: Cash; Payments 16-1858 34th Ave
           nature of the debtor’s     Rec'd: $50,937.06; Billed: $59,749.48; Bal Keaau, HI 96749
           interest                   Due to PD: $8,812.42; Proj. Status:
                                      Permitting / In Progress; Contract Date:
                                      05/31/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                   ADDITION
 2.110     State what the contract    Consumer Const. Contract: Kral, Daryl &       Kral, Daryl
           or lease is for and the    PD Hawaii; Trans Type: Cash; Payments         51-278 Kamehameha Highway
           nature of the debtor’s     Rec'd: $2,882.54; Billed: $2,882.54; Bal      Kaaawa, HI 96730
           interest                   Due to PD: $4,132.54; Proj. Status: Design
                                      / In Progress; Contract Date: 06/16/2020
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                   ADDITION
 2.111     State what the contract    Consumer Const. Contract: Kumar Sharma, Kumar Sharma, Rohitasua
           or lease is for and the    Rohitasua & PD Hawaii; Trans Type:           1334 Kanewai Street
           nature of the debtor’s     Financed by Svc Fin Co; Payments Rec'd: Honolulu, HI 96816
           interest                   $86,948.56; Billed: $91,007.00; Bal Due to
                                      PD: $4,058.44; Proj. Status: Permitting / In
                                      Progress; Contract Date: 10/08/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                   ADDITION
 2.112     State what the contract    Consumer Const. Contract: Lapierre,         Lapierre, Russell
           or lease is for and the    Russell & PD Hawaii; Trans Type: Cash;      91-491 Kuhialoko Street
           nature of the debtor’s     Payments Rec'd: $1,000.00; Billed:          Ewa Beach, HI 96706
           interest                   $1,000.00; Bal Due to PD: $19,900.00; Proj.
                                      Status: CAP Req / In Progress; Contract
                                      Date: 04/15/2020
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                   ADDITION
 2.113     State what the contract    Consumer Const. Contract: Leong, Thomas Leong, Thomas
           or lease is for and the    & PD Hawaii; Trans Type: Cash; Payments 91-1108 Kai Oio Street
           nature of the debtor’s     Rec'd: $6,047.48; Billed: $6,047.48; Bal Ewa Beach, HI 96706
           interest                   Due to PD: $5,047.47; Proj. Status:
                                      Permitting / In Progress; Contract Date:
                                      04/07/2020
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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           (Name)


      List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired lease

                                                                    ADDITION
 2.114     State what the contract    Consumer Const. Contract: Likes, James &       Likes, James
           or lease is for and the    PD Hawaii; Trans Type: Cash; Payments          1712 Hihimanu Street
           nature of the debtor’s     Rec'd: $1,000.00; Billed: $7,699.50; Bal       Kihei, HI 96753
           interest                   Due to PD: $13,399.00; Proj. Status:
                                      Pre-Permitting / Util Delay; Contract Date:
                                      02/28/2020
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                    ADDITION
 2.115     State what the contract    Consumer Const. Contract: Linklater, Jack Linklater, Jack
           or lease is for and the    & PD Hawaii; Trans Type: Cash; Payments 75-6122 Lea Pl
           nature of the debtor’s     Rec'd: $29,688.35; Billed: $34,751.00; Bal Kailua, HI 96740
           interest                   Due to PD: $5,062.65; Proj. Status:
                                      Scheduling / In Progress; Contract Date:
                                      06/03/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.116     State what the contract    LEASE AGREEMENT - 70 E KAAHUMANU LIPT EAST KAAHUMANU AVE
           or lease is for and the    AVE, UNIT C-3, KAHULUI, HI 96732 - C/O FESTIVAL MANAGEMENT CORPORATION
           nature of the debtor’s     WAREHOUSE                          5901 CENTURY BLVD., SUITE 700
           interest                                                      LOS ANGELES, CA 90045

           State the term remaining   12/31/2024

           List the contract number
           of any government
           contract

                                                                    ADDITION
 2.117     State what the contract    Consumer Const. Contract: Liu, Jennifer &      Liu, Jennifer
           or lease is for and the    PD Hawaii; Trans Type: Financed by Svc         94-206 Kaloli Pl
           nature of the debtor’s     Fin Co; Payments Rec'd: $1,000.00;             Waipahu, HI 96797
           interest                   Billed: $63,319.31; Bal Due to PD:
                                      $65,651.90; Proj. Status: Pre-Permitting /
                                      MPU Delay; Contract Date: 08/17/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                    ADDITION
 2.118     State what the contract    Consumer Const. Contract: Lofaro, Michael Lofaro, Michael
           or lease is for and the    & PD Hawaii; Trans Type: Cash; Payments 595 Kaiola Street
           nature of the debtor’s     Rec'd: $1,000.00; Billed: $8,541.59; Bal    Kihei, HI 96753
           interest                   Due to PD: $15,083.17; Proj. Status:
                                      Pre-Permitting / Cust Delay; Contract Date:
                                      03/01/2020
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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 Debtor             Case 20-12814-mkn
           PetersenDean Hawaii LLC                Doc 551         Entered 07/28/20   16:38:53
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           (Name)


      List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired lease

                                                                     ADDITION
 2.119     State what the contract    Consumer Const. Contract: Logan, Aline & Logan, Aline
           or lease is for and the    PD Hawaii; Trans Type: Financed by Svc      56-129 Kahana Street
           nature of the debtor’s     Fin Co; Payments Rec'd: $27,593.63;         Kahuku, HI 96731
           interest                   Billed: $27,593.63; Bal Due to PD: $921.37;
                                      Proj. Status: CAP Req / ReroofDelay;
                                      Contract Date: 06/02/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                     ADDITION
 2.120     State what the contract    Consumer Const. Contract: Logan, Aline &       Logan, Aline
           or lease is for and the    PD Hawaii; Trans Type: Financed by Svc         56-129Kahana Street
           nature of the debtor’s     Fin Co; Payments Rec'd: $7,218.63;             Kahuku, HI 96731
           interest                   Billed: $7,218.63; Bal Due to PD:
                                      $1,671.37; Proj. Status: CAP Req /
                                      ReroofDelay; Contract Date: 06/06/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                     ADDITION
 2.121     State what the contract    Consumer Const. Contract: Long, John &         Long, John
           or lease is for and the    PD Hawaii; Trans Type: Financed by -           2634 Date St
           nature of the debtor’s     Sunlight Fin; Payments Rec'd: $0.00;           Honolulu, HI 96826
           interest                   Billed: $23,664.17; Bal Due to PD:
                                      $27,840.20; Proj. Status: Permitting / Cust
                                      FinDel; Contract Date: 10/25/2018
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                     ADDITION
 2.122     State what the contract    Consumer Const. Contract: Low, Eli & PD        Low, Eli
           or lease is for and the    Hawaii; Trans Type: Financed by - Sunlight     91-1161 Kaileonui Street
           nature of the debtor’s     Fin; Payments Rec'd: $0.00; Billed:            Ewa Beach, HI 96706
           interest                   $31,534.18; Bal Due to PD: $63,068.36;
                                      Proj. Status: Pre-Permitting / In Progress;
                                      Contract Date: 05/01/2020
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                     ADDITION
 2.123     State what the contract    Consumer Const. Contract: Lum, Dolores & Lum, Dolores
           or lease is for and the    PD Hawaii; Trans Type: Cash; Payments         1663 Ala Mahamoe Street, Unit 2
           nature of the debtor’s     Rec'd: $3,619.76; Billed: $7,989.53; Bal      Honolulu, HI 96819
           interest                   Due to PD: $4,369.77; Proj. Status: Install /
                                      Cust Delay; Contract Date: 04/08/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                       Page 25 of 47
 Debtor             Case 20-12814-mkn
           PetersenDean Hawaii LLC                Doc 551          Entered 07/28/20   16:38:53
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           (Name)


      List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired lease

                                                                      ADDITION
 2.124     State what the contract    Consumer Const. Contract: Lumpkin,         Lumpkin, George
           or lease is for and the    George & PD Hawaii; Trans Type: Financed 696 Kealahou St
           nature of the debtor’s     by Svc Fin Co; Payments Rec'd: $0.00;      Honolulu, HI 96825
           interest                   Billed: $34,374.48; Bal Due to PD:
                                      $34,324.49; Proj. Status: Pre-Permitting /
                                      MPU Delay; Contract Date: 05/20/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                      ADDITION
 2.125     State what the contract    Consumer Const. Contract: Lutz, Christine Lutz, Christine
           or lease is for and the    & PD Hawaii; Trans Type: Cash; Payments 95-129 Wailawa Place
           nature of the debtor’s     Rec'd: $37,358.30; Billed: $76,616.60; Bal Mililani, HI 96789
           interest                   Due to PD: $39,258.30; Proj. Status: CAP
                                      Req / MPU Delay; Contract Date:
                                      09/30/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                      ADDITION
 2.126     State what the contract    Consumer Const. Contract: Macaraeg,            Macaraeg, Elpidio
           or lease is for and the    Elpidio & PD Hawaii; Trans Type: Financed      1753 Hookupa Street
           nature of the debtor’s     by Svc Fin Co; Payments Rec'd: $0.00;          Pearl City, HI 96782
           interest                   Billed: $16,369.50; Bal Due to PD:
                                      $32,739.00; Proj. Status: Pre-Permitting /
                                      Cust Delay; Contract Date: 11/07/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                      ADDITION
 2.127     State what the contract    Consumer Const. Contract: Madema-Sy,           Madema-Sy, Jean-Claude
           or lease is for and the    Jean-Claude & PD Hawaii; Trans Type:           2241 Mahinalani Place
           nature of the debtor’s     Cash; Payments Rec'd: $14,703.59;              Wailuku, HI 96793
           interest                   Billed: $24,996.10; Bal Due to PD:
                                      $14,703.58; Proj. Status: Permitting / Util
                                      Delay; Contract Date: 02/11/2020
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                      ADDITION
 2.128     State what the contract    Consumer Const. Contract: Maeda, Calvin        Maeda, Calvin
           or lease is for and the    & PD Hawaii; Trans Type: Financed by Svc       98-1764 Kaahumanu Street
           nature of the debtor’s     Fin Co; Payments Rec'd: $0.00; Billed:         Pearl City, HI 96782
           interest                   $0.00; Bal Due to PD: $8,079.97; Proj.
                                      Status: Permitting / Sales Delay; Contract
                                      Date: 10/30/2018
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract



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 Debtor             Case 20-12814-mkn
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           (Name)


      List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired lease

                                                                   ADDITION
 2.129     State what the contract    Consumer Const. Contract: Maeda, Calvin       Maeda, Calvin
           or lease is for and the    & PD Hawaii; Trans Type: Financed by Svc      98-1764 Kaahumanu Street, #B
           nature of the debtor’s     Fin Co; Payments Rec'd: $0.00; Billed:        Pearl City, HI 96782
           interest                   $0.00; Bal Due to PD: $49,666.32; Proj.
                                      Status: Permitting / Sales Delay; Contract
                                      Date: 10/30/2018
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                   ADDITION
 2.130     State what the contract    Consumer Const. Contract: Makahilahila,       Makahilahila, Robert
           or lease is for and the    Robert & PD Hawaii; Trans Type: Financed      750 Ululani Street
           nature of the debtor’s     by Svc Fin Co; Payments Rec'd: $0.00;         Kailua, HI 96734
           interest                   Billed: $38,904.40; Bal Due to PD:
                                      $38,904.40; Proj. Status: Install / Mat'l
                                      Delay; Contract Date: 01/14/2020
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                   ADDITION
 2.131     State what the contract    Consumer Const. Contract: Mamuad, Eddie Mamuad, Eddie
           or lease is for and the    & PD Hawaii; Trans Type: Cash; Payments 1931 Ulana Street
           nature of the debtor’s     Rec'd: $29,197.30; Billed: $29,197.30; Bal Honolulu, HI 96819
           interest                   Due to PD: $28,197.30; Proj. Status:
                                      Pre-Permitting / In Progress; Contract Date:
                                      08/01/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                   ADDITION
 2.132     State what the contract    Consumer Const. Contract: Manuel, Joseph Manuel, Joseph
           or lease is for and the    & PD Hawaii; Trans Type: Financed by Svc 94-470 Kuahui Street
           nature of the debtor’s     Fin Co; Payments Rec'd: $0.00; Billed:      Waipahu, HI 96797
           interest                   $5,692.21; Bal Due to PD: $12,134.42; Proj.
                                      Status: Pre-Permitting / On Hold; Contract
                                      Date: 11/08/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                   ADDITION
 2.133     State what the contract    Consumer Const. Contract: Manuel, Joseph Manuel, Joseph
           or lease is for and the    & PD Hawaii; Trans Type: Financed by Svc 94-470 Kuahui Street
           nature of the debtor’s     Fin Co; Payments Rec'd: $1,000.00;         Waipahu, HI 96797
           interest                   Billed: $31,874.50; Bal Due to PD:
                                      $61,749.00; Proj. Status: Pre-Permitting /
                                      On Hold; Contract Date: 11/08/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract



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           (Name)


      List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired lease

                                                                    ADDITION
 2.134     State what the contract    Consumer Const. Contract: Marini, Mark &       Marini, Mark
           or lease is for and the    PD Hawaii; Trans Type: Financed by Svc         565 Kaimake Loop
           nature of the debtor’s     Fin Co; Payments Rec'd: $0.00; Billed:         Kailua, HI 96734
           interest                   $36,591.50; Bal Due to PD: $73,183.00;
                                      Proj. Status: Pre-Permitting / In Progress;
                                      Contract Date: 04/28/2020
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                    ADDITION
 2.135     State what the contract    Consumer Const. Contract: Marini, Mark &       Marini, Mark
           or lease is for and the    PD Hawaii; Trans Type: Financed by Svc         565 Kaimake Loop
           nature of the debtor’s     Fin Co; Payments Rec'd: $0.00; Billed:         Kailua, HI 96734
           interest                   $4,071.93; Bal Due to PD: $8,893.85; Proj.
                                      Status: Permitting / In Progress; Contract
                                      Date: 04/28/2020
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                    ADDITION
 2.136     State what the contract    Consumer Const. Contract: Martin, Michael Martin, Michael
           or lease is for and the    & PD Hawaii; Trans Type: Cash; Payments 3124 Kikihi Street
           nature of the debtor’s     Rec'd: $39,155.50; Billed: $39,155.50; Bal Kihei, HI 96753
           interest                   Due to PD: $38,155.50; Proj. Status:
                                      Pre-Permitting / In Progress; Contract Date:
                                      05/29/2020
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                    ADDITION
 2.137     State what the contract    Consumer Const. Contract: Mates, Steven Mates, Steven
           or lease is for and the    & PD Hawaii; Trans Type: Cash; Payments 95 Kaulana St
           nature of the debtor’s     Rec'd: $44,177.79; Billed: $44,177.79; Bal Hilo, HI 96720
           interest                   Due to PD: $7,619.61; Proj. Status:
                                      Permitting / In Progress; Contract Date:
                                      05/30/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                    ADDITION
 2.138     State what the contract    Consumer Const. Contract: Mathias,             Mathias, Bennet
           or lease is for and the    Bennet & PD Hawaii; Trans Type: Financed       1559 Meyers St Unit G
           nature of the debtor’s     by Svc Fin Co; Payments Rec'd:                 Honolulu, HI 96819
           interest                   $2,019.20; Billed: $29,798.55; Bal Due to
                                      PD: $30,145.60; Proj. Status: Scheduling /
                                      In Progress; Contract Date: 06/23/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract



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      List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired lease

                                                                    ADDITION
 2.139     State what the contract    Consumer Const. Contract: McCormick,           McCormick, Brandon
           or lease is for and the    Brandon & PD Hawaii; Trans Type: Cash;         1545 N. Alaniu Pl
           nature of the debtor’s     Payments Rec'd: $3,579.70; Billed:             Kihei, HI 96753
           interest                   $3,579.70; Bal Due to PD: $4,329.70; Proj.
                                      Status: Scheduling / In Progress; Contract
                                      Date: 10/22/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                    ADDITION
 2.140     State what the contract    Consumer Const. Contract: McPhee,              McPhee, Dennis
           or lease is for and the    Dennis & PD Hawaii; Trans Type: Financed       2260 Palolo Avenue
           nature of the debtor’s     by Svc Fin Co; Payments Rec'd:                 Honolulu, HI 96816
           interest                   $41,579.41; Billed: $43,459.00; Bal Due to
                                      PD: $1,879.59; Proj. Status: Install /
                                      ReroofDelay; Contract Date: 11/13/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                    ADDITION
 2.141     State what the contract    Consumer Const. Contract: Mencias,             Mencias, Ponciano
           or lease is for and the    Ponciano & PD Hawaii; Trans Type:              94-1128 Kahuailani Street
           nature of the debtor’s     Unknown; Payments Rec'd: $0.00; Billed:        Waipahu, HI 96797
           interest                   $0.00; Bal Due to PD: $14,735.00; Proj.
                                      Status: Site Survey / Sales Delay; Contract
                                      Date: 02/11/2020
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                    ADDITION
 2.142     State what the contract    Consumer Const. Contract: Meyer, Leilani       Meyer, Leilani
           or lease is for and the    & PD Hawaii; Trans Type: Unknown;              334 Malunui Avenue
           nature of the debtor’s     Payments Rec'd: $1,000.00; Billed:             Kailua, HI 96734
           interest                   $18,159.60; Bal Due to PD: $34,319.20;
                                      Proj. Status: Redesign / In Progress;
                                      Contract Date: 12/21/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                    ADDITION
 2.143     State what the contract    Consumer Const. Contract: Milare,           Milare, Chadrick
           or lease is for and the    Chadrick & PD Hawaii; Trans Type: Cash;     94-1088 Hapalima Pl
           nature of the debtor’s     Payments Rec'd: $31,296.68; Billed:         Waipahu, HI 96797
           interest                   $37,787.69; Bal Due to PD: $6,491.01; Proj.
                                      Status: Final Inspection / In Progress;
                                      Contract Date: 08/12/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract



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      List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired lease

                                                                    ADDITION
 2.144     State what the contract    Consumer Const. Contract: Miller, David & Miller, David
           or lease is for and the    PD Hawaii; Trans Type: Cash; Payments        147 Haniu Street
           nature of the debtor’s     Rec'd: $1,000.00; Billed: $47,116.50; Bal    Lahaina, HI 96761
           interest                   Due to PD: $92,233.00; Proj. Status:
                                      Pre-Permitting / In Progress; Contract Date:
                                      02/26/2020
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                    ADDITION
 2.145     State what the contract    Consumer Const. Contract: Mitsunaga,           Mitsunaga, Dave
           or lease is for and the    Dave & PD Hawaii; Trans Type: Financed         1627 Hanai Loop
           nature of the debtor’s     by Svc Fin Co; Payments Rec'd: $0.00;          Honolulu, HI 96817
           interest                   Billed: $0.00; Bal Due to PD: $42,661.50;
                                      Proj. Status: CAP NReq / Sales Delay;
                                      Contract Date: 01/16/2020
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                    ADDITION
 2.146     State what the contract    Consumer Const. Contract: Mitsunaga,           Mitsunaga, Dave
           or lease is for and the    Dave & PD Hawaii; Trans Type: Financed         1627 Hanai Loop
           nature of the debtor’s     by Svc Fin Co; Payments Rec'd: $0.00;          Honolulu, HI 96817
           interest                   Billed: $0.00; Bal Due to PD: $6,396.99;
                                      Proj. Status: CAP NReq / Sales Delay;
                                      Contract Date: 01/16/2020
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                    ADDITION
 2.147     State what the contract    Consumer Const. Contract: Montgomery,        Montgomery, Melody
           or lease is for and the    Melody & PD Hawaii; Trans Type: Cash;        61 Ohaoha Place
           nature of the debtor’s     Payments Rec'd: $1,000.00; Billed:           Makawao, HI 96768
           interest                   $1,000.00; Bal Due to PD: $31,660.91; Proj.
                                      Status: Design / In Progress; Contract Date:
                                      05/31/2020
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                    ADDITION
 2.148     State what the contract    Consumer Const. Contract: Moore, Jeffrey       Moore, Jeffrey
           or lease is for and the    & PD Hawaii; Trans Type: Financed by Svc       45-556 Mahinui Road
           nature of the debtor’s     Fin Co; Payments Rec'd: $0.00; Billed:         Kaneohe, HI 96744
           interest                   $21,275.75; Bal Due to PD: $42,551.50;
                                      Proj. Status: Pre-Permitting / In Progress;
                                      Contract Date: 01/09/2020
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract



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           PetersenDean Hawaii LLC               Doc 551         Entered 07/28/20   16:38:53
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      List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired lease

                                                                   ADDITION
 2.149     State what the contract    Consumer Const. Contract: Morimoto,           Morimoto, Renee
           or lease is for and the    Renee & PD Hawaii; Trans Type: Cash;          7123 Kukii Street
           nature of the debtor’s     Payments Rec'd: $41,598.74; Billed:           Honolulu, HI 96825
           interest                   $79,098.74; Bal Due to PD: $37,500.00;
                                      Proj. Status: Scheduling / In Progress;
                                      Contract Date: 04/10/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                   ADDITION
 2.150     State what the contract    Consumer Const. Contract: Mueller, Peter     Mueller, Peter
           or lease is for and the    & PD Hawaii; Trans Type: Financed by Svc 75 Luakaha Circle
           nature of the debtor’s     Fin Co; Payments Rec'd: $0.00; Billed:       Kihei, HI 96753
           interest                   $0.00; Bal Due to PD: $12,653.56; Proj.
                                      Status: Design / In Progress; Contract Date:
                                      05/26/2020
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                   ADDITION
 2.151     State what the contract    Consumer Const. Contract: Murakami,          Murakami, Verne
           or lease is for and the    Verne & PD Hawaii; Trans Type: Financed      49 Ponlu Circle
           nature of the debtor’s     by Svc Fin Co; Payments Rec'd:               Wailuku, HI 96793
           interest                   $1,000.00; Billed: $20,054.50; Bal Due to
                                      PD: $38,109.00; Proj. Status:
                                      Pre-Permitting / In Progress; Contract Date:
                                      04/03/2020
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                   ADDITION
 2.152     State what the contract    Consumer Const. Contract: Nagasawa, Roy Nagasawa, Roy K
           or lease is for and the    K & PD Hawaii; Trans Type: Financed by -   94-1139 Akeu Place
           nature of the debtor’s     Greensky Reg; Payments Rec'd:              Waipahu, HI 96797
           interest                   $27,418.47; Billed: $34,476.12; Bal Due to
                                      PD: $7,057.65; Proj. Status: Install / In
                                      Progress; Contract Date: 03/21/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                   ADDITION
 2.153     State what the contract    Consumer Const. Contract: Nelms, Chris &      Nelms, Chris
           or lease is for and the    PD Hawaii; Trans Type: Cash; Payments         243 Aiokoa Street
           nature of the debtor’s     Rec'd: $30,968.38; Billed: $36,256.92; Bal    Kailua, HI 96734
           interest                   Due to PD: $5,288.54; Proj. Status:
                                      Warranty / In Progress; Contract Date:
                                      11/01/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

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      List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired lease


                                                                     ADDITION
 2.154     State what the contract    Consumer Const. Contract: Nevado, Mark           Nevado, Mark
           or lease is for and the    & PD Hawaii; Trans Type: Financed by Svc         94-980 Awanani Street
           nature of the debtor’s     Fin Co; Payments Rec'd: $76,744.60;              Waipahu, HI 96797
           interest                   Billed: $76,744.60; Bal Due to PD: $0.00;
                                      Proj. Status: Final Inspection / In Progress;
                                      Contract Date: 09/13/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                     ADDITION
 2.155     State what the contract    Consumer Const. Contract: Norrie, Stewart Norrie, Stewart
           or lease is for and the    & PD Hawaii; Trans Type: Cash; Payments 3480 Malina Place
           nature of the debtor’s     Rec'd: $1,000.00; Billed: $13,205.20; Bal    Kihei, HI 96753
           interest                   Due to PD: $24,410.40; Proj. Status:
                                      Pre-Permitting / In Progress; Contract Date:
                                      01/29/2020
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                     ADDITION
 2.156     State what the contract    Consumer Const. Contract: Norrie, Stewart Norrie, Stewart
           or lease is for and the    & PD Hawaii; Trans Type: Cash; Payments 3480 Malina Place
           nature of the debtor’s     Rec'd: $20,847.60; Billed: $20,847.60; Bal Kihei, HI 96753
           interest                   Due to PD: $19,847.60; Proj. Status:
                                      Pre-Permitting / In Progress; Contract Date:
                                      01/29/2020
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                     ADDITION
 2.157     State what the contract    Consumer Const. Contract: Ogata, Kathy & Ogata, Kathy
           or lease is for and the    PD Hawaii; Trans Type: Cash; Payments        585 Papalani Street
           nature of the debtor’s     Rec'd: $4,308.90; Billed: $4,308.90; Bal     Kailua, HI 96734
           interest                   Due to PD: $4,308.90; Proj. Status:
                                      Pre-Permitting / In Progress; Contract Date:
                                      12/13/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                     ADDITION
 2.158     State what the contract    Consumer Const. Contract: Ogata, Kathy & Ogata, Kathy
           or lease is for and the    PD Hawaii; Trans Type: Cash; Payments       585 Papalani Street
           nature of the debtor’s     Rec'd: $93,597.04; Billed: $109,937.69; Bal Kailua, HI 96734
           interest                   Due to PD: $16,340.65; Proj. Status: PTO /
                                      In Progress; Contract Date: 03/13/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract



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           (Name)


      List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                                                  ADDITION
 2.159     State what the contract    Consumer Const. Contract: Omoto, Norita     Omoto, Norita
           or lease is for and the    & PD Hawaii; Trans Type: Financed by Svc    2223 Komo Mai Drive
           nature of the debtor’s     Fin Co; Payments Rec'd: $32,297.49;         Pearl City, HI 96782
           interest                   Billed: $33,757.50; Bal Due to PD:
                                      $1,460.01; Proj. Status: Install /
                                      ReroofDelay; Contract Date: 05/26/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                  ADDITION
 2.160     State what the contract    Consumer Const. Contract: O'Neill, Stevan O'Neill, Stevan
           or lease is for and the    & PD Hawaii; Trans Type: Cash; Payments 75-289 Malulani Dr
           nature of the debtor’s     Rec'd: $18,707.10; Billed: $36,414.20; Bal Kailua Kona, HI 96740
           interest                   Due to PD: $17,707.10; Proj. Status:
                                      Permitting / In Progress; Contract Date:
                                      07/04/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                  ADDITION
 2.161     State what the contract    Consumer Const. Contract: Oshiro, Diane & Oshiro, Diane & Michael
           or lease is for and the    Michael & PD Hawaii; Trans Type: Financed 95-175 Wailawa Street
           nature of the debtor’s     by Svc Fin Co; Payments Rec'd:              Mililani, HI 96789
           interest                   $21,781.87; Billed: $21,781.87; Bal Due to
                                      PD: $716.53; Proj. Status: Pre-Permitting /
                                      In Progress; Contract Date: 12/10/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                  ADDITION
 2.162     State what the contract    Consumer Const. Contract: Oshiro, Diane & Oshiro, Diane & Michael
           or lease is for and the    Michael & PD Hawaii; Trans Type: Financed 95-175 Wailawa Street
           nature of the debtor’s     by Svc Fin Co; Payments Rec'd:            Mililani, HI 96789
           interest                   $7,938.47; Billed: $7,938.47; Bal Due to
                                      PD: $1,466.53; Proj. Status: CAP Req / In
                                      Progress; Contract Date: 03/18/2020
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                  ADDITION
 2.163     State what the contract    Consumer Const. Contract: Oshiro, Rick & Oshiro, Rick
           or lease is for and the    PD Hawaii; Trans Type: Financed by -       1773-C Eames St
           nature of the debtor’s     Hawaii Credi; Payments Rec'd: $11,000.00; Wahiwa, HI 96786
           interest                   Billed: $54,358.46; Bal Due to PD:
                                      $52,774.66; Proj. Status: Pre-Permitting /
                                      On Hold; Contract Date: 05/02/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract



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           (Name)


      List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired lease

                                                                     ADDITION
 2.164     State what the contract    Consumer Const. Contract: Oyadomari,            Oyadomari, Felice
           or lease is for and the    Felice & PD Hawaii; Trans Type: Financed        94-500 Mehe Pl
           nature of the debtor’s     by Svc Fin Co; Payments Rec'd: $750.00;         Waipahu, HI 96797
           interest                   Billed: $11,663.08; Bal Due to PD:
                                      $10,913.08; Proj. Status: Final Inspection /
                                      In Progress; Contract Date: 10/16/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                     ADDITION
 2.165     State what the contract    Consumer Const. Contract: Pangilinan,        Pangilinan, Jayson
           or lease is for and the    Jayson & PD Hawaii; Trans Type: Financed 92-1267 Pueonani Street
           nature of the debtor’s     by Svc Fin Co; Payments Rec'd: $0.00;        Kapolei, HI 96707
           interest                   Billed: $0.00; Bal Due to PD: $9,290.00;
                                      Proj. Status: Design / Sales Delay; Contract
                                      Date: 11/15/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                     ADDITION
 2.166     State what the contract    Consumer Const. Contract: Pantaleon,        Pantaleon, Allen R
           or lease is for and the    Allen R & PD Hawaii; Trans Type: Cash;      92-44 Kinohi Pl #46
           nature of the debtor’s     Payments Rec'd: $7,629.17; Billed:          Kapolei, HI 96707
           interest                   $12,269.59; Bal Due to PD: $6,629.16; Proj.
                                      Status: CAP NReq / HOA Delay; Contract
                                      Date: 12/06/2018
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                     ADDITION
 2.167     State what the contract    Consumer Const. Contract: Pascua, Erin &        Pascua, Erin
           or lease is for and the    PD Hawaii; Trans Type: Cash; Payments           34 Ia Iki Street
           nature of the debtor’s     Rec'd: $1,000.00; Billed: $17,700.00; Bal       Wailuku, HI 96793
           interest                   Due to PD: $32,400.00; Proj. Status:
                                      Design / In Progress; Contract Date:
                                      05/15/2020
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                     ADDITION
 2.168     State what the contract    Consumer Const. Contract: Peros,                Peros, Abraham
           or lease is for and the    Abraham & PD Hawaii; Trans Type:                4309 Olaloa Street
           nature of the debtor’s     Financed by Svc Fin Co; Payments Rec'd:         Honolulu, HI 96818
           interest                   $59,046.99; Billed: $61,671.00; Bal Due to
                                      PD: $2,624.01; Proj. Status: Warranty / In
                                      Progress; Contract Date: 09/16/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract



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      List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired lease

                                                                    ADDITION
 2.169     State what the contract    Consumer Const. Contract: Perry, Daniel &      Perry, Daniel
           or lease is for and the    PD Hawaii; Trans Type: Cash; Payments          73-1044 Ahulani St
           nature of the debtor’s     Rec'd: $35,428.40; Billed: $41,504.00; Bal     Kailaua-Kona, HI 96740
           interest                   Due to PD: $6,075.60; Proj. Status:
                                      Permitting / In Progress; Contract Date:
                                      07/28/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                    ADDITION
 2.170     State what the contract    Consumer Const. Contract: Peterson, Mike Peterson, Mike
           or lease is for and the    & PD Hawaii; Trans Type: Cash; Payments 73-1077 Kuuleialoha Circle
           nature of the debtor’s     Rec'd: $22,645.10; Billed: $44,290.20; Bal Kailua, HI 96740
           interest                   Due to PD: $21,645.10; Proj. Status:
                                      Permitting / In Progress; Contract Date:
                                      07/29/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                    ADDITION
 2.171     State what the contract    Consumer Const. Contract: Peterson, Paulo Peterson, Paulo
           or lease is for and the    & PD Hawaii; Trans Type: Cash; Payments 91-103 Kaope Street
           nature of the debtor’s     Rec'd: $7,303.66; Billed: $7,303.66; Bal  Ewa Beach, HI 96706
           interest                   Due to PD: $0.00; Proj. Status: Final
                                      Inspection / In Progress; Contract Date:
                                      11/06/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                    ADDITION
 2.172     State what the contract    Consumer Const. Contract: Peterson, Paulo Peterson, Paulo
           or lease is for and the    & PD Hawaii; Trans Type: Financed by Svc 91-1037 Kaope Street
           nature of the debtor’s     Fin Co; Payments Rec'd: $56,259.00;           Ewa Beach, HI 96706
           interest                   Billed: $56,259.00; Bal Due to PD: $0.00;
                                      Proj. Status: Install / Mat'l Delay; Contract
                                      Date: 11/08/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                    ADDITION
 2.173     State what the contract    Consumer Const. Contract: Petro, Paul &        Petro, Paul
           or lease is for and the    PD Hawaii; Trans Type: Cash; Payments          19 Halina Street
           nature of the debtor’s     Rec'd: $21,834.53; Billed: $21,834.53; Bal     Wailuku, HI 96732
           interest                   Due to PD: $20,834.52; Proj. Status:
                                      Pre-Permitting / Util Delay; Contract Date:
                                      01/07/2020
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract



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      List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired lease

                                                                   ADDITION
 2.174     State what the contract    Consumer Const. Contract: Politano, David Politano, David
           or lease is for and the    & PD Hawaii; Trans Type: Unknown;            160 Kinohi Loa Loop
           nature of the debtor’s     Payments Rec'd: $0.00; Billed: $4,047.20; Wailuku, HI 96793
           interest                   Bal Due to PD: $8,094.40; Proj. Status: Site
                                      Survey / [-not-set-]; Contract Date:
                                      07/01/2020
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                   ADDITION
 2.175     State what the contract    Consumer Const. Contract: Privratsky,       Privratsky, Shawn
           or lease is for and the    Shawn & PD Hawaii; Trans Type: Cash;        3264 Keha Drive
           nature of the debtor’s     Payments Rec'd: $45,706.73; Billed:         Kihei, HI 96753
           interest                   $45,706.73; Bal Due to PD: $1,000.01; Proj.
                                      Status: Install / On Hold; Contract Date:
                                      01/15/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                   ADDITION
 2.176     State what the contract    Consumer Const. Contract: Ramos,             Ramos, Juvenal
           or lease is for and the    Juvenal & PD Hawaii; Trans Type: Cash;       899 N Niheu Place
           nature of the debtor’s     Payments Rec'd: $4,702.41; Billed:           Lahaina, HI 96761
           interest                   $4,802.41; Bal Due to PD: $6,202.41; Proj.
                                      Status: Design / In Progress; Contract Date:
                                      05/28/2020
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                   ADDITION
 2.177     State what the contract    Consumer Const. Contract: Ramos, Noemi Ramos, Noemi
           or lease is for and the    & PD Hawaii; Trans Type: Cash; Payments 94-203 Loaa Street
           nature of the debtor’s     Rec'd: $8,251.31; Billed: $8,251.31; Bal Waipahu, HI 96797
           interest                   Due to PD: $0.00; Proj. Status: Final
                                      Inspection / In Progress; Contract Date:
                                      02/14/2020
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                   ADDITION
 2.178     State what the contract    Consumer Const. Contract: Rego, Ellen &      Rego, Ellen
           or lease is for and the    PD Hawaii; Trans Type: Financed by Svc       3441 Ala Haukulu Street
           nature of the debtor’s     Fin Co; Payments Rec'd: $36,637.19;          Honolulu, HI 96818
           interest                   Billed: $38,313.40; Bal Due to PD:
                                      $1,676.21; Proj. Status: Scheduling / MPU
                                      Delay; Contract Date: 11/04/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract



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      List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired lease

                                                                    ADDITION
 2.179     State what the contract    Consumer Const. Contract: Reneau,              Reneau, Robbie
           or lease is for and the    Robbie & PD Hawaii; Trans Type: Cash;          1876 Koae Place
           nature of the debtor’s     Payments Rec'd: $2,526.05; Billed:             Wailuku, HI 96793
           interest                   $2,526.05; Bal Due to PD: $4,026.05; Proj.
                                      Status: Pre-Permitting / In Progress;
                                      Contract Date: 06/02/2020
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                    ADDITION
 2.180     State what the contract    Consumer Const. Contract: Ricks, John &        Ricks, John
           or lease is for and the    PD Hawaii; Trans Type: Financed by Svc         92-1288 Kikaha St #73
           nature of the debtor’s     Fin Co; Payments Rec'd: $29,880.84;            Kapolei, HI 96707
           interest                   Billed: $31,453.52; Bal Due to PD:
                                      $1,572.68; Proj. Status: Scheduling / On
                                      Hold; Contract Date: 06/23/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.181     State what the contract    BUILDER AGREEMENT RE: 100                      RIEDEL CONSTRUCTION, INC
           or lease is for and the    KAMAOLE SOLAR HOT WATER DATED                  PO BOX 1656
           nature of the debtor’s     2/11/2020                                      KAHULUI, HI 96733
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                    ADDITION
 2.182     State what the contract    Consumer Const. Contract: Ritchie, John &      Ritchie, John
           or lease is for and the    PD Hawaii; Trans Type: Cash; Payments          15120 Haleakala Highway
           nature of the debtor’s     Rec'd: $16,649.39; Billed: $16,649.39; Bal     Kula, HI 96790
           interest                   Due to PD: $15,649.38; Proj. Status:
                                      Pre-Permitting / Util Delay; Contract Date:
                                      04/29/2020
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                    ADDITION
 2.183     State what the contract    Consumer Const. Contract: Roberts, Dawn Roberts, Dawn
           or lease is for and the    & PD Hawaii; Trans Type: Cash; Payments 688 Kupulau Dr
           nature of the debtor’s     Rec'd: $33,879.93; Billed: $56,895.88; Bal Kihei, HI 96753
           interest                   Due to PD: $32,879.92; Proj. Status:
                                      Scheduling / Cust Delay; Contract Date:
                                      02/01/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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      List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired lease

                                                                   ADDITION
 2.184     State what the contract    Consumer Const. Contract: Rogers, Matt &      Rogers, Matt
           or lease is for and the    PD Hawaii; Trans Type: Cash; Payments         151 Melekomo Pl
           nature of the debtor’s     Rec'd: $72,730.00; Billed: $72,730.00; Bal    Lahaina, HI 96761
           interest                   Due to PD: $0.00; Proj. Status: Final
                                      Inspection / In Progress; Contract Date:
                                      10/04/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                   ADDITION
 2.185     State what the contract    Consumer Const. Contract: Rousso, Steven Rousso, Steven
           or lease is for and the    & PD Hawaii; Trans Type: Cash; Payments 68-1122 North Kaniku Dr. Apt#70-1
           nature of the debtor’s     Rec'd: $18,759.50; Billed: $31,191.15; Bal Kamuela, HI 96743
           interest                   Due to PD: $17,759.50; Proj. Status:
                                      Pre-Permitting / In Progress; Contract Date:
                                      05/22/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                   ADDITION
 2.186     State what the contract    Consumer Const. Contract: Sabalboro, Roy Sabalboro, Roy
           or lease is for and the    & PD Hawaii; Trans Type: Cash; Payments 91-1035 Kaipalaoa St Unit 1301
           nature of the debtor’s     Rec'd: $3,276.83; Billed: $4,026.83; Bal Ewa Beach, HI 96706
           interest                   Due to PD: $4,026.83; Proj. Status:
                                      Permitting / MPU Delay; Contract Date:
                                      09/09/2018
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                   ADDITION
 2.187     State what the contract    Consumer Const. Contract: Sakai, William   Sakai, William
           or lease is for and the    & PD Hawaii; Trans Type: Cash; Payments 101 Iiwipolena
           nature of the debtor’s     Rec'd: $36,853.65; Billed: $43,180.76; Bal Hilo, HI 96720
           interest                   Due to PD: $6,327.11; Proj. Status: Final
                                      Inspection / In Progress; Contract Date:
                                      11/29/2018
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                   ADDITION
 2.188     State what the contract    Consumer Const. Contract: Sakuma,             Sakuma, Roland
           or lease is for and the    Roland & PD Hawaii; Trans Type: Cash;         99-810 Hulumanu Street
           nature of the debtor’s     Payments Rec'd: $28,499.30; Billed:           Aiea, HI 96701
           interest                   $28,449.30; Bal Due to PD: $27,449.30;
                                      Proj. Status: Permitting / In Progress;
                                      Contract Date: 04/01/2020
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract



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      List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired lease

                                                                     ADDITION
 2.189     State what the contract    Consumer Const. Contract: Sanchez,              Sanchez, Imelda
           or lease is for and the    Imelda & PD Hawaii; Trans Type: Financed        3040 Kahili Street
           nature of the debtor’s     by Svc Fin Co; Payments Rec'd:                  Honolulu, HI 96819
           interest                   $35,547.03; Billed: $35,806.45; Bal Due to
                                      PD: $2,143.97; Proj. Status: Permitting / In
                                      Progress; Contract Date: 09/11/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                     ADDITION
 2.190     State what the contract    Consumer Const. Contract: Sanchez,              Sanchez, Imelda
           or lease is for and the    Imelda & PD Hawaii; Trans Type: Financed        3040 Kahili Street
           nature of the debtor’s     by Svc Fin Co; Payments Rec'd:                  Honolulu, HI 96819
           interest                   $5,742.75; Billed: $5,742.75; Bal Due to
                                      PD: $1,052.25; Proj. Status: Permitting / In
                                      Progress; Contract Date: 09/11/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                     ADDITION
 2.191     State what the contract    Consumer Const. Contract: Schwarz,              Schwarz, Daniel
           or lease is for and the    Daniel & PD Hawaii; Trans Type: Financed        661 Ulumalu Street
           nature of the debtor’s     by Svc Fin Co; Payments Rec'd:                  Kailua, HI 96734
           interest                   $82,489.49; Billed: $86,433.00; Bal Due to
                                      PD: $3,943.51; Proj. Status: Scheduling /
                                      ReroofDelay; Contract Date: 12/31/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                     ADDITION
 2.192     State what the contract    Consumer Const. Contract: Shimamoto,        Shimamoto, Chris M
           or lease is for and the    Chris M & PD Hawaii; Trans Type: Financed 92-842 Kinohi Place #36
           nature of the debtor’s     by Svc Fin Co; Payments Rec'd:              Kapolei, HI 96707
           interest                   $1,000.00; Billed: $19,628.52; Bal Due to
                                      PD: $19,661.60; Proj. Status:
                                      Pre-Permitting / Cust Delay; Contract Date:
                                      09/20/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                     ADDITION
 2.193     State what the contract    Consumer Const. Contract: Shimaura, Stan Shimaura, Stan
           or lease is for and the    & PD Hawaii; Trans Type: Financed by Svc 94-174 Hokuala Pl
           nature of the debtor’s     Fin Co; Payments Rec'd: $32,488.74;          Mililani, HI 96789
           interest                   Billed: $32,488.74; Bal Due to PD:
                                      $1,468.66; Proj. Status: Pre-Permitting / On
                                      Hold; Contract Date: 06/21/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

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      List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired lease


                                                                    ADDITION
 2.194     State what the contract    Consumer Const. Contract: Shiraishi,         Shiraishi, Barney
           or lease is for and the    Barney & PD Hawaii; Trans Type: Cash;        94-1015 Koliana Street
           nature of the debtor’s     Payments Rec'd: $17,817.38; Billed:          Waipahu, HI 96797
           interest                   $34,634.76; Bal Due to PD: $16,817.38;
                                      Proj. Status: Scheduling / On Hold; Contract
                                      Date: 10/31/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                    ADDITION
 2.195     State what the contract    Consumer Const. Contract: Smith, James & Smith, James
           or lease is for and the    PD Hawaii; Trans Type: Financed by Svc        91-1143 Waikapoo Street
           nature of the debtor’s     Fin Co; Payments Rec'd: $1,000.00;            Ewa Beach, HI 96706
           interest                   Billed: $38,103.98; Bal Due to PD:
                                      $74,207.96; Proj. Status: Pre-Permitting / In
                                      Progress; Contract Date: 04/24/2020
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                    ADDITION
 2.196     State what the contract    Consumer Const. Contract: Smith, Karen &       Smith, Karen
           or lease is for and the    PD Hawaii; Trans Type: Unknown;                68-126 Au Street
           nature of the debtor’s     Payments Rec'd: $16,626.34; Billed:            Waialua, HI 96791
           interest                   $17,626.34; Bal Due to PD: $17,626.34;
                                      Proj. Status: Pre-Permitting / ReroofDelay;
                                      Contract Date: 04/08/2020
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                    ADDITION
 2.197     State what the contract    Consumer Const. Contract: Souza, Alfred & Souza, Alfred
           or lease is for and the    PD Hawaii; Trans Type: Financed by Svc    45-024 Mahalani Circle
           nature of the debtor’s     Fin Co; Payments Rec'd: $0.00; Billed:    Kaneohe, HI 96744
           interest                   $24,025.50; Bal Due to PD: $48,051.00;
                                      Proj. Status: CAP Req / On Hold; Contract
                                      Date: 11/15/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                    ADDITION
 2.198     State what the contract    Consumer Const. Contract: Spence, Rick &       Spence, Rick
           or lease is for and the    PD Hawaii; Trans Type: Cash; Payments          91-1061 Makahaiaku Street
           nature of the debtor’s     Rec'd: $7,303.66; Billed: $7,303.66; Bal       Kapolei, HI 96707
           interest                   Due to PD: $0.00; Proj. Status: Final
                                      Inspection / In Progress; Contract Date:
                                      01/31/2020
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract


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           (Name)


      List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired lease

                                                                     ADDITION
 2.199     State what the contract    Consumer Const. Contract: Stangeland,         Stangeland, Ronald
           or lease is for and the    Ronald & PD Hawaii; Trans Type: Financed 91-1022 Kaiko Street
           nature of the debtor’s     by Svc Fin Co; Payments Rec'd: $0.00;         Haiku, HI 96706
           interest                   Billed: $21,084.50; Bal Due to PD:
                                      $42,169.00; Proj. Status: Pre-Permitting / In
                                      Progress; Contract Date: 11/11/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                     ADDITION
 2.200     State what the contract    Consumer Const. Contract: Stewart, Diane Stewart, Diane
           or lease is for and the    & PD Hawaii; Trans Type: Cash; Payments 91-115 Haloko Place
           nature of the debtor’s     Rec'd: $1,000.00; Billed: $1,000.00; Bal Ewa Beach, HI 96706
           interest                   Due to PD: $12,433.40; Proj. Status:
                                      Design / In Progress; Contract Date:
                                      05/22/2020
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                     ADDITION
 2.201     State what the contract    Consumer Const. Contract: Stritmatter,        Stritmatter, Paul
           or lease is for and the    Paul & PD Hawaii; Trans Type: Cash;           77 Iliahi Way Unit A
           nature of the debtor’s     Payments Rec'd: $37,941.60; Billed:           Lahaina, HI 96761
           interest                   $37,941.60; Bal Due to PD: $36,941.60;
                                      Proj. Status: Pre-Permitting / Util Delay;
                                      Contract Date: 02/07/2020
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                     ADDITION
 2.202     State what the contract    Consumer Const. Contract: Suyama, Ken & Suyama, Ken
           or lease is for and the    PD Hawaii; Trans Type: Cash; Payments      1741 Maoi Place
           nature of the debtor’s     Rec'd: $18,659.50; Billed: $18,659.50; Bal Honolulu, HI 96816
           interest                   Due to PD: $17,659.50; Proj. Status:
                                      Permitting / In Progress; Contract Date:
                                      04/08/2020
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                     ADDITION
 2.203     State what the contract    Consumer Const. Contract: Szakacs,          Szakacs, Robert
           or lease is for and the    Robert & PD Hawaii; Trans Type: Cash;       105 Molehulehu Loop
           nature of the debtor’s     Payments Rec'd: $1,000.00; Billed:          Kahului, HI 96732
           interest                   $1,000.00; Bal Due to PD: $15,667.82; Proj.
                                      Status: CAP NReq / In Progress; Contract
                                      Date: 05/29/2020
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract



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                                                                                                            20-12823-mkn
           (Name)


      List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired lease

                                                                   ADDITION
 2.204     State what the contract    Consumer Const. Contract: Szymanski,        Szymanski, Tytus
           or lease is for and the    Tytus & PD Hawaii; Trans Type: Cash;        4317 Kaikoo Place
           nature of the debtor’s     Payments Rec'd: $86,674.60; Billed:         Honolulu, HI 96816
           interest                   $96,194.00; Bal Due to PD: $9,519.40; Proj.
                                      Status: Final Inspection / Cust Delay;
                                      Contract Date: 08/01/2018
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                   ADDITION
 2.205     State what the contract    Consumer Const. Contract: Tabin, Ben &        Tabin, Ben & Milagros
           or lease is for and the    Milagros & PD Hawaii; Trans Type:             91-1003 Alepa Street
           nature of the debtor’s     Financed by Svc Fin Co; Payments Rec'd:       Kapolei, HI 96707
           interest                   $1,000.00; Billed: $20,280.00; Bal Due to
                                      PD: $38,560.00; Proj. Status: Permitting /
                                      HOA Delay; Contract Date: 11/26/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                   ADDITION
 2.206     State what the contract    Consumer Const. Contract: Takahashi, Tod      Takahashi, Tod
           or lease is for and the    & PD Hawaii; Trans Type: Financed by Svc      905 Kapoho Place
           nature of the debtor’s     Fin Co; Payments Rec'd: $46,711.41;           Honolulu, HI 96825
           interest                   Billed: $46,711.41; Bal Due to PD:
                                      $2,111.59; Proj. Status: Pre-Permitting /
                                      MPU Delay; Contract Date: 03/02/2020
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                   ADDITION
 2.207     State what the contract    Consumer Const. Contract: Takara, Brent & Takara, Brent
           or lease is for and the    PD Hawaii; Trans Type: Financed by -       91-1001 Keanui Drive #409
           nature of the debtor’s     Greensky Reg; Payments Rec'd:              Ewa Beach, HI 96706
           interest                   $36,515.15; Billed: $42,959.00; Bal Due to
                                      PD: $6,443.85; Proj. Status: PTO / In
                                      Progress; Contract Date: 11/21/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                   ADDITION
 2.208     State what the contract    Consumer Const. Contract: Takenaka,           Takenaka, Steven
           or lease is for and the    Steven & PD Hawaii; Trans Type: Financed      2821 Kihei Place
           nature of the debtor’s     by Svc Fin Co; Payments Rec'd:                Honolulu, HI 96816
           interest                   $53,593.75; Billed: $59,733.00; Bal Due to
                                      PD: $6,139.25; Proj. Status: PTO / In
                                      Progress; Contract Date: 11/20/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract



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           (Name)


      List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired lease

                                                                   ADDITION
 2.209     State what the contract    Consumer Const. Contract: Tapec, James & Tapec, James
           or lease is for and the    PD Hawaii; Trans Type: Financed by Svc   91-1012 Huluhulu St
           nature of the debtor’s     Fin Co; Payments Rec'd: $0.00; Billed:   Ewa Beach, HI 96706
           interest                   $0.00; Bal Due to PD: $42,959.00; Proj.
                                      Status: CAP Req / Cust Delay; Contract
                                      Date: 09/18/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.210     State what the contract    EXTENDED TRADE PAYABLES                       TARGRAY TECHNOLOGY INTERNATIONAL
           or lease is for and the    AGREEMENT TO ALLOW PDI/PDS/PDH                8105 TRANSCANADIENNE
           nature of the debtor’s     TO VENDOR BALANCE THROUGH                     KIRKLAND, QC H9J3Z4
           interest                   DECEMBER 18, 2020.                            CANADA

           State the term remaining   1/14/2020

           List the contract number
           of any government
           contract

                                                                   ADDITION
 2.211     State what the contract    Consumer Const. Contract: Todd, John &        Todd, John
           or lease is for and the    PD Hawaii; Trans Type: Cash; Payments         140 Uwapo Road
           nature of the debtor’s     Rec'd: $1,000.00; Billed: $1,000.00; Bal      Kihei, HI 96753
           interest                   Due to PD: $11,947.04; Proj. Status: CAP
                                      Req / In Progress; Contract Date:
                                      05/18/2020
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                   ADDITION
 2.212     State what the contract    Consumer Const. Contract: Toma, Sharon     Toma, Sharon
           or lease is for and the    & PD Hawaii; Trans Type: Cash; Payments 95-208 Ikaika Place
           nature of the debtor’s     Rec'd: $48,835.10; Billed: $68,670.20; Bal Mililani, HI 96789
           interest                   Due to PD: $19,835.10; Proj. Status: PTO /
                                      In Progress; Contract Date: 11/01/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                   ADDITION
 2.213     State what the contract    Consumer Const. Contract: Tonkel, Jeff &      Tonkel, Jeff
           or lease is for and the    PD Hawaii; Trans Type: Cash; Payments         92-1134 Olani Street #1
           nature of the debtor’s     Rec'd: $15,440.00; Billed: $29,880.00; Bal    Kapolei, HI 96707
           interest                   Due to PD: $14,440.00; Proj. Status:
                                      Permitting / In Progress; Contract Date:
                                      07/30/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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      List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired lease

                                                                  ADDITION
 2.214     State what the contract    Consumer Const. Contract: Torrecer, Lillian Torrecer, Lillian
           or lease is for and the    & PD Hawaii; Trans Type: Cash; Payments 314 Palama Drive
           nature of the debtor’s     Rec'd: $2,488.29; Billed: $2,488.29; Bal    Kahului, HI 96732
           interest                   Due to PD: $3,988.29; Proj. Status: Design
                                      / In Progress; Contract Date: 06/15/2020
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                  ADDITION
 2.215     State what the contract    Consumer Const. Contract: Trafford, Clark    Trafford, Clark
           or lease is for and the    & PD Hawaii; Trans Type: Cash; Payments 67-312 Kanalu Street
           nature of the debtor’s     Rec'd: $0.00; Billed: $29,975.15; Bal Due    Waialua, HI 96791
           interest                   to PD: $59,950.30; Proj. Status:
                                      Pre-Permitting / In Progress; Contract Date:
                                      04/03/2020
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                  ADDITION
 2.216     State what the contract    Consumer Const. Contract: Trinacty, Matt & Trinacty, Matt
           or lease is for and the    PD Hawaii; Trans Type: Cash; Payments      1492 Akeakamai Street
           nature of the debtor’s     Rec'd: $1,000.00; Billed: $1,000.00; Bal   Honolulu, HI 96816
           interest                   Due to PD: $16,357.18; Proj. Status:
                                      Redesign / MPU Delay; Contract Date:
                                      01/28/2020
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                  ADDITION
 2.217     State what the contract    Consumer Const. Contract: Ulcak, Chris &    Ulcak, Chris
           or lease is for and the    PD Hawaii; Trans Type: Cash; Payments       356 Lapa Place
           nature of the debtor’s     Rec'd: $1,000.00; Billed: $1,000.00; Bal    Kailua, HI 96734
           interest                   Due to PD: $31,446.80; Proj. Status:
                                      Redesign / In Progress; Contract Date:
                                      02/10/2020
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                  ADDITION
 2.218     State what the contract    Consumer Const. Contract: Uyematsu,         Uyematsu, Debbie
           or lease is for and the    Debbie & PD Hawaii; Trans Type: Financed    360C Haleloa PL
           nature of the debtor’s     by Svc Fin Co; Payments Rec'd: $0.00;       Honolulu, HI 96821
           interest                   Billed: $34,935.61; Bal Due to PD:
                                      $41,100.72; Proj. Status: Redesign / On
                                      Hold; Contract Date: 07/23/2018
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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           (Name)


      List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired lease

                                                                    ADDITION
 2.219     State what the contract    Consumer Const. Contract: Van Hooser,           Van Hooser, Natalie
           or lease is for and the    Natalie & PD Hawaii; Trans Type: Financed       95-728 Kaululena Street
           nature of the debtor’s     by Svc Fin Co; Payments Rec'd: $0.00;           Mililani, HI 96789
           interest                   Billed: $0.00; Bal Due to PD: $61,267.64;
                                      Proj. Status: Design / In Progress; Contract
                                      Date: 05/18/2020
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                    ADDITION
 2.220     State what the contract    Consumer Const. Contract: Van Hooser,           Van Hooser, Natalie
           or lease is for and the    Natalie & PD Hawaii; Trans Type: Financed       95-728 Kaululena Street
           nature of the debtor’s     by Svc Fin Co; Payments Rec'd: $0.00;           Mililani, HI 96789
           interest                   Billed: $0.00; Bal Due to PD: $8,721.00;
                                      Proj. Status: Design / In Progress; Contract
                                      Date: 05/27/2020
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                    ADDITION
 2.221     State what the contract    Consumer Const. Contract: Velez, Shanika        Velez, Shanika
           or lease is for and the    & PD Hawaii; Trans Type: Financed by Svc        94-497 Holaniku Street
           nature of the debtor’s     Fin Co; Payments Rec'd: $1,000.00;              Mililani, HI 96789
           interest                   Billed: $56,739.00; Bal Due to PD:
                                      $55,739.00; Proj. Status: Permitting / MPU
                                      Delay; Contract Date: 10/01/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.222     State what the contract    BUILDER AGREEMENT RE: KOKO                      VOLTA CHARGING LLC
           or lease is for and the    MARINA CENTER PHASE 2 -INSTALL                  155 DE HARO STREET
           nature of the debtor’s     DATED 5/24/2019                                 SAN FRANCISCO, CA 94103
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.223     State what the contract    BUILDER AGREEMENT RE: HAUIKI                    WATERS, CHAD
           or lease is for and the    GUARD HOUSE DATED 9/24/2018                     1050 BISHOP STREET
           nature of the debtor’s                                                     HONOLULU, HI 96813
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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      List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired lease

                                                                      ADDITION
 2.224     State what the contract    Consumer Const. Contract: Wilson, Guy &          Wilson, Guy
           or lease is for and the    PD Hawaii; Trans Type: Cash; Payments            351 Kama Street
           nature of the debtor’s     Rec'd: $1,000.00; Billed: $1,000.00; Bal         Wailuku, HI 96793
           interest                   Due to PD: $39,677.47; Proj. Status: CAP
                                      NReq / In Progress; Contract Date:
                                      05/14/2020
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                      ADDITION
 2.225     State what the contract    Consumer Const. Contract: Wong, Raleigh Wong, Raleigh
           or lease is for and the    & PD Hawaii; Trans Type: Cash; Payments 7525 Nakalele Street
           nature of the debtor’s     Rec'd: $37,119.56; Billed: $43,493.60; Bal Honolulu, HI 96825
           interest                   Due to PD: $6,374.04; Proj. Status: Install /
                                      Mat'l Delay; Contract Date: 02/04/2020
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                      ADDITION
 2.226     State what the contract    Consumer Const. Contract: Wood, Bob &            Wood, Bob
           or lease is for and the    PD Hawaii; Trans Type: Cash; Payments            129 Hoolaau Street
           nature of the debtor’s     Rec'd: $1,000.00; Billed: $8,284.24; Bal         Wailuku, HI 96793
           interest                   Due to PD: $14,568.48; Proj. Status:
                                      Pre-Permitting / Util Delay; Contract Date:
                                      04/28/2020
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                      ADDITION
 2.227     State what the contract    Consumer Const. Contract: Yonahara, Bob Yonahara, Bob
           or lease is for and the    & PD Hawaii; Trans Type: Cash; Payments 1877 Koae Place
           nature of the debtor’s     Rec'd: $2,581.57; Billed: $2,581.57; Bal   Wailuku, HI 96793
           interest                   Due to PD: $4,081.57; Proj. Status: Design
                                      / In Progress; Contract Date: 06/10/2020
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                      ADDITION
 2.228     State what the contract    Consumer Const. Contract: Yoshinaga,             Yoshinaga, Gene
           or lease is for and the    Gene & PD Hawaii; Trans Type: Cash;              44-174 Nanamoana Street
           nature of the debtor’s     Payments Rec'd: $24,797.22; Billed:              Kaneohe, HI 96744
           interest                   $48,594.44; Bal Due to PD: $23,797.22;
                                      Proj. Status: Install / In Progress; Contract
                                      Date: 01/03/2020
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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           (Name)


      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                                                 ADDITION
 2.229     State what the contract    Consumer Const. Contract: Young, Anthony Young, Anthony
           or lease is for and the    & PD Hawaii; Trans Type: Cash; Payments 2204 Apaakuma Street
           nature of the debtor’s     Rec'd: $19,313.74; Billed: $19,313.74; Bal Pearl City, HI 96782
           interest                   Due to PD: $19,092.30; Proj. Status:
                                      Pre-Permitting / In Progress; Contract Date:
                                      11/20/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

                                                                 ADDITION
 2.230     State what the contract    Consumer Const. Contract: Young, Anthony Young, Anthony
           or lease is for and the    & PD Hawaii; Trans Type: Financed by Svc 2204 Apaakuma Street
           nature of the debtor’s     Fin Co; Payments Rec'd: $389.28; Billed: Pearl City, HI 96782
           interest                   $3,776.96; Bal Due to PD: $7,164.64; Proj.
                                      Status: Permitting / In Progress; Contract
                                      Date: 10/22/2019
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                  Page 47 of 47
                       Case 20-12814-mkn               Doc 551           Entered 07/28/20 16:38:53                    Page 140 of 142
  Fill in this information to identify the case:

 Debtor        PetersenDean Hawaii LLC


 United States Bankruptcy Court for the: Nevada


 Case number         20-12823-mkn
  (if known)
                                                                                                                                         ¨ Check if this is an
                                                                                                                                            amended filing

 Official Form 206H
 Schedule H: Codebtors                                                                                                                                        4/19

 Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
 Additional Page to this page.


 1.     Does the debtor have any codebtors?
        ¨ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        þ Yes.

 2.     In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
        creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
        schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                           Column 2: Creditor
                                                                                                                                            Check all schedules
                Name                          Mailing Address                                          Name                                 that apply

 2.1            CALIFORNIA EQUIPMENT          39300 CIVIC CENTER DRIVE, SUITE 300                      ACF FINCO I LP                       þ D
                LEASING ASSOCIATION,          FREMONT, CA 94538                                                                             ¨ E/F
                INC.                                                                                                                        ¨ G

 2.2            FENCES4AMERICA, INC.          2201 WALNUT AVE, SUITE 300                               ACF FINCO I LP                       þ D
                                              FREMONT, CA 94538                                                                             ¨ E/F
                                                                                                                                            ¨ G

                                                                           ADDITION
 2.3            JAMES P. PETERSEN             39300 CIVIC CENTER DRIVE                                 BEACON ROOFING SUPPLY    ¨ D
                                              SUITE 300                                                FKA ROOFING SUPPLY GROUP þ E/F
                                              FREMONT, CA 94538                                        LLC                      þ G

                                                                           ADDITION
 2.4            JAMES P. PETERSEN             39300 CIVIC CENTER DRIVE                                 INDEPENDENT ELECTRIC                 ¨ D
                                              SUITE 300                                                SUPPLY, INC., INC. AND               þ E/F
                                              FREMONT, CA 94538                                        ONESOURCE DISTRIBUTORS,              þ G
                                                                                                       LLC
 2.5            PACIFIC COAST ROOFING & 39300 CIVIC CENTER DRIVE, SUITE 300                            ACF FINCO I LP                       þ D
                CONSTRUCTION, INC.      FREMONT, CA 94538                                                                                   ¨ E/F
                                                                                                                                            ¨ G

 2.6            PD SOLAR, INC.                39300 CIVIC CENTER DRIVE, SUITE 300                      ACF FINCO I LP                       þ D
                                              FREMONT, CA 94538                                                                             ¨ E/F
                                                                                                                                            ¨ G

 2.7            PD SOLAR, INC.                39300 CIVIC CENTER DRIVE, SUITE 300                      TARGRAY TECHNOLOGY                   ¨ D
                                              FREMONT, CA 94538                                        INTERNATIONAL, INC.                  þ E/F
                                                                                                                                            ¨ G

 2.8            PETERSENDEAN BUILDER          39300 CIVIC CENTER DRIVE, SUITE 300                      ACF FINCO I LP                       þ D
                GROUP, INC.                   FREMONT, CA 94538                                                                             ¨ E/F
                                                                                                                                            ¨ G

 2.9            PETERSEN-DEAN                 39300 CIVIC CENTER DRIVE, SUITE 300                      ACF FINCO I LP                       þ D
                COMMERCIAL, INC.              FREMONT, CA 94538                                                                             ¨ E/F
                                                                                                                                            ¨ G

 2.10           PETERSENDEAN ROOFING 7517 CURRENCY DRIVE                                               ACF FINCO I LP                       þ D
                AND SOLAR SYSTEMS, INC. ORLANDO, FL 32809                                                                                   ¨ E/F
                                                                                                                                            ¨ G


Official Form 206H                                                 Schedule H: Codebtors                                                              Page 1 of 2
 Debtor              Case 20-12814-mkn
            PetersenDean Hawaii LLC             Doc 551       Entered 07/28/20   16:38:53
                                                                          Case number (if known)     Page 141 of 142
                                                                                                   20-12823-mkn
            (Name)


        Additional Page if Debtor Has More Codebtors

        Column 1: Codebtor                                                           Column 2: Creditor
                                                                                                                   Check all schedules
            Name                        Mailing Address                               Name                         that apply

 2.11       PETERSENDEAN TEXAS,         14713 JERSEY SHORE DRIVE                      ACF FINCO I LP              þ D
            INC.                        HOUSTON, TX 77047                                                         ¨ E/F
                                                                                                                  ¨ G

 2.12       PETERSEN-DEAN, INC.         39300 CIVIC CENTER DRIVE, SUITE 300           ACF FINCO I LP              þ D
                                        FREMONT, CA 94538                                                         ¨ E/F
                                                                                                                  ¨ G

 2.13       PETERSEN-DEAN, INC.         39300 CIVIC CENTER DRIVE, SUITE 300           TARGRAY TECHNOLOGY          ¨ D
                                        FREMONT, CA 94538                             INTERNATIONAL, INC.         þ E/F
                                                                                                                  ¨ G

 2.14       RED ROSE, INC.              4530 NORTH WALNUT ROAD                        ACF FINCO I LP              þ D
                                        LAS VEGAS, NV 89081                                                       ¨ E/F
                                                                                                                  ¨ G

 2.15       ROOFS 4 AMERICA, INC.       2201 WALNUT AVE, SUITE 300                    ACF FINCO I LP              þ D
                                        FREMONT, CA 94538                                                         ¨ E/F
                                                                                                                  ¨ G

 2.16       SOLAR 4 AMERICA, INC.       39300 CIVIC CENTER DRIVE, SUITE 300           ACF FINCO I LP              þ D
                                        FREMONT, CA 94538                                                         ¨ E/F
                                                                                                                  ¨ G

 2.17       SONOMA ROOFING              39300 CIVIC CENTER DRIVE, SUITE 300           ACF FINCO I LP              þ D
            SERVICES, INC.              FREMONT, CA 94538                                                         ¨ E/F
                                                                                                                  ¨ G

 2.18       TRI VALLEY SUPPLY, INC.     39300 CIVIC CENTER DRIVE, SUITE 300           ACF FINCO I LP              þ D
                                        FREMONT, CA 94538                                                         ¨ E/F
                                                                                                                  ¨ G




Official Form 206H                                        Schedule H: Codebtors                                           Page 2 of 2
                     Caseto20-12814-mkn
  Fill in this information identify the case:            Doc 551           Entered 07/28/20 16:38:53                   Page 142 of 142
 Debtor        PetersenDean Hawaii LLC


 United States Bankruptcy Court for the: Nevada


 Case number         20-12823-mkn
  (if known)




 Official Form 202
 Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    04/19
 An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
 form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
 amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
 and the date. Bankruptcy Rules 1008 and 9011.

 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
 connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
 and 3571.

                Delcaration and signature


          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
          another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

          þ Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

          þ Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

          þ Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

          þ Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

          þ Schedule H: Codebtors (Official Form 206H)

          þ Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

          ¨ Amended Schedule

          ¨ Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

          ¨ Other document that requires a declaration

          I declare under penalty of perjury that the foregoing is true and correct.


          Executed on 7/28/2020
                           MM / DD / YYYY
                                                           û     /s/ Stephen Nerheim
                                                                 Signature of individual signing on behalf of debtor


                                                                 Stephen Nerheim
                                                                 Printed name


                                                                 CFO
                                                                 Position or relationship to debtor




Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
